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          EXHIBIT 10
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          Case 1:17-cv-02989-AT Document 1220-9 Filed 11/15/21 Page 2 of 27
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(12) United
(12)         States Patent
         Gilbert
     Gilbert
                                                                                      (10)

                                                                                      (45 ) Date
                                                                                      (45)
                                                                                                    No .: US
                                                                                             Patent No.:
                                                                                      ( 10 ) Patent
                                                                                                     Patent::
                                                                                             Date of Patent
                                                                                                              US 11,036,442
                                                                                                                 11,036,442 B2
                                                                                                                    Jun.
                                                                                                                    Jun . 15,
                                                                                                                                B2
                                                                                                                          15 , 2021

(54)
( 54 ) TRANSPARENT
       TRANSPARENT INTERACTIVE
                   INTERACTIVE PRINTING
                               PRINTING                                          (58)
                                                                                  ( 58 ) Field
                                                                                         Field of
                                                                                               of Classification
                                                                                                  Classification Search
                                                                                                                 Search
         INTERFACE                                                                          CPC combination set(s) only.
                                                                                            CPC combination set ( s ) only.
                                                                                            See application
                                                                                            See application file
                                                                                                            file for
                                                                                                                 for complete
                                                                                                                     complete search history .
                                                                                                                              search history.
(71)  Applicant:: UNIVERSITY
(71 ) Applicant   UNIVERSITY OF
                             OF FLORIDA
                                FLORIDA
                        RESEARCH FOUNDATION,
                        RESEARCH FOUNDATION ,                                    (56)
                                                                                  (56 )                      References Cited
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                        INCORPORATED , Gainesville , FL
                        (US)
                        ( US )                                                                      U.S. PATENT DOCUMENTS

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                                                                                   2005/0218225 Al
                                                                                                A1       * 10/2005
                                                                                                         * 10/2005 Johnson
                                                                                                                   Johnson                      G07C
                                                                                                                                                G07C 13/00
                                                                                                                                                     13/00
((72)  Inventor::
  72) Inventor            Gilbert,, Gainesville,
                  Juan E. Gilbert   Gainesville , FL ((US)
                                                       US )                                                                                        235/386
                                                                                                                                                   235/386
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                                                                                   2014/0231513 A1       *
                                                                                                         *    8/2014
                                                                                                              8/2014    Brockhouse
                                                                                                                        Brockhouse              G07C
                                                                                                                                                G07C 13/02
                                                                                                                                                     13/02
 (73)  Assignee:: UNIVERSITY
 (73 ) Assignee   UNIVERSITY OF  OF FLORIDA
                                      FLORIDA
                                                                                                                                                   235/386
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                        RESEARCH FOUNDATION ,                                      2015/0302247
                                                                                   2015/0302247 Al
                                                                                                A1       * 10/2015
                                                                                                         * 10/2015 Mohanakrishnan
                                                                                                                   Mohanakrishnan
                        INCORPORATED,, Gainesville
                        INCORPORATED   Gainesville,, FL
                                                     FL                                                                                        GO6K
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                                                                                                      Al*  12/2015 Kim
                                                                                                                   Kim                          G06T11/40
                                                                                                                                                G06T 11/40
((*)  Notice::
  * ) Notice         Subject
                     Subject toto any
                                  any disclaimer
                                         disclaimer,, the
                                                      the term
                                                          term of
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                                                                  this
                                                                                   2019/0208887
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                     patent
                     patent isis extended or adjusted under 35
                     U.S.C.
                     U.S.C. 154(b)
                               154 ( b ) by 00 days
                                               days..                                               ((Continued)
                                                                                                      Continued )
 (21)  Appl.. No
 (21 ) Appl    No.:  16/849,785
                  .: 16 /849,785                                                 Primary Examiner Helen   Zong
                                                                                                   Helen Zong

                                                                                  (74 ) Attorney, Agent, or Firm — Alston
                                                                                 (74) Attorney, Agent, or Firm     Alston & Bird
                                                                                                                            Bird LLP
                                                                                                                                 LLP
((22)  Filed::
  22) Filed                15,, 2020
                     Apr. 15                                                     (57)
                                                                                  ( 57 )                       ABSTRACT
(65)
( 65 )                     Prior Publication Data                                Described generally herein are systems, apparatuses, meth-
                                                                                 Described generally herein are systems , apparatuses, meth
         US 2020/0356315 A1
                         Al              Nov. 12, 2020                           ods, and computer programs to assist a user in marking a
                                                                                 ods , and computer programs to assist a user in marking a
                                         Nov. 12 , 2020
                                                                                 document
                                                                                 document in   in response
                                                                                                   response toto the
                                                                                                                  the user
                                                                                                                       user engaging
                                                                                                                            engaging an an intuitive,
                                                                                                                                             intuitive,
                 Related U.S.
                 Related U.S. Application
                              Application Data
                                          Data                                   transparent
                                                                                 transparent interface.
                                                                                                 interface. The
                                                                                                             The apparatus
                                                                                                                    apparatus can
                                                                                                                                can bebe caused
                                                                                                                                           caused to to
                                                                                 receive,
                                                                                 receive , in
                                                                                            in response
                                                                                                response toto aa gesture
                                                                                                                  gesture by
                                                                                                                          by aa user,
                                                                                                                                user , an
                                                                                                                                       an indication
                                                                                                                                            indication
(60)
( 60 ) Provisional
       Provisional application No. 62/846,118,
                               No. 62 / 846,118 , filed on
                                                        on May
                                                           May                   related
                                                                                 related to
                                                                                          to aa region
                                                                                                 region of
                                                                                                         of a
                                                                                                            a transparent
                                                                                                               transparent interactive
                                                                                                                            interactive display,
                                                                                                                                         display, the
                                                                                                                                                   the
         10, 2019.
         10 , 2019 .                                                             region
                                                                                 region ofof the
                                                                                             the transparent
                                                                                                   transparent interactive
                                                                                                                 interactive display
                                                                                                                             display corresponding
(51)   Int.. Cl
             Cl..                                                                to
                                                                                 to a
                                                                                    a region
                                                                                      region of of a
                                                                                                   a document
                                                                                                     document viewable
                                                                                                                 viewable byby the
                                                                                                                               the user
                                                                                                                                   user through
                                                                                                                                         through the
                                                                                                                                                   the
( 51 ) Int
         G06F                        (2006.01)                                   transparent
                                                                                 transparent interactive
                                                                                                 interactive display.
                                                                                                              display. Apparatus
                                                                                                                        Apparatus cancan determine,
                                                                                                                                           determine,
         G06F 3/12                   ( 2006.01 )
         G06F
         G06F 3/0488                 (2013.01)                                   based
                                                                                 based atat least
                                                                                            least upon
                                                                                                   upon the
                                                                                                         the indication,
                                                                                                             indication , one
                                                                                                                          one or
                                                                                                                               or more
                                                                                                                                  more fields
                                                                                                                                         fields of
                                                                                                                                                of the
                                                                                                                                                   the
              3/0488                 ( 2013.01 )
         G06F                        (2006.01)                                   document associated with the indication and input informa-
                                                                                 document associated with the indication and input informa
         GO6F 3/01                   (2006.01 )
         G07C 13/00                  (2006.01)
                                     ( 2006.01 )                                 tion associated with the one or more fields of the document.
                                                                                                                                    document.
((52)      Cl..
  52) U.S. CI                                                                    Apparatus can transmit asignal indicative of the one or more
                                                                                 Apparatus can transmit a signal indicative of the one or more
         CPC
         ???                G06F 3/1204 (2013.01); G06F 3/012
                            G06F 3/1204 ( 2013.01 ) ; G06F 37012                 fields of the document and the input information to aprinting
                                                                                 fields of the document and the input information to a printing
                       ((2013.01);
                         2013.01 ) ; G06F  3/013 ((2013.01);
                                     G06F 37013    2013.01 ) ; G06F
                                                               GO6F              device, the printing device configured to print the input
                                                                                 device , the printing device configured to print the input
                    3/04883
                    3704883 ((2013.01);   G06F 3/1208
                              2013.01 ) ; G06F   3/1208 (2013.01);
                                                          ( 2013.01 ) ;          information in the fields of the document.
                                                                                                                  document.
                           G06F 3/1256
                           G06F     3/1256 ((2013.01);
                                             2013.01 ) ; G07C   13/00
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                                                           (2013.01)
                                                           (2013.01 )                               21 Claims, 8 Drawing Sheets
                                                                                                    21 Claims , 8 Drawing Sheets
                                                                                                                             10



                                                               EXTERNAL NETWORK
                                                               EXTERNAL NETWORK 110
                                                                                110




                                    TRANSPARENT
                                     INTERFACE                            PROCESSOR                      MEMORY
                                                                                                         MEMORY
                                     INTERFACE
                                        AOSA
                                        108A                                    103                          104
                                                                                                             104

                                    ENGAGEMENT
                                    ENGAGEMENT                             COMPUTER
                                                                           COMPUTER
                                      ELEMENT                                                             DISPLAY
                                                                                                          DISPLAY
                                      ELEMENT                           PROGRAM CODE
                                                                        PROGRAM CODE                         106
                                                                                                             106
                                        1088                                    105
                                 DOCUMENT RETENTION
                                 DOCUMENT RETENTION
                                      DEVICE 107                                      COMPUTING ENTITY 102
                                                                                      COMPUTING ENTITY 102


                                                                PRINTING DEVICE
                                                                PRINTING        109
                                                                         DEVICE 109

                                                           A5SISTIVE-SELECT
                                                           ASSISTIVE         ION SYSTEM
                                                                     - SELECTION SYSTEM 101
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                                              G06K 9/00624
                                                   9/00624
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                           2/2021 Adamec       H04L 9/0643
                                               HO4L 9/0643

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                                           MEORY 104 DISPLAY 106
                                                                                                    CE1ONMPT0UI2NYG
           EXTERNAL NETWORK 110




            1ENXTWRON0AKL                  PROCES   103       PCOMPUTER CROGDAEM 105                                  PD1REIV0NT9CEG S1A-EYL0ICSTE1OVMN   FIG
                                                                                                                                                          .
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                                        TRANSPE INTERFAC ENGAMT ELMNT
                                                    108A                               RDEOTCUNMI
                                                                           108B D1EV0IC7E
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                                                    Sheet 2
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                                                                        [   20
                                                                            20




     receive, in response to agesture by auser, an indication related to aregion of a
     receive , in response to a gesture by a user, an indication related to a region of a
        transparent interactive display, said region of said transparent interactive
        transparent interactive display, said region of said transparent interactive        m       21
         display corresponding to a region of a document viewable by said user
         display corresponding to aregion of adocument viewable by said user
                     throughout said transparent interactive display
                      throughout said transparent interactive display




                                                V

       determine, based at least upon said indication, one or more fields from said
       determine, based at least upon said indication , one or more fields from said
       document associated with said indication and input information associated
       document associated with said indication and input information associated                     22
                                                                                                     22
                     with
                     with said one or more
                                      more fields
                                             fields of said document
                                                            document



                                                V

      transmit asignal indicative of said one or more fields of said document and
      transmit a signal indicative of said one or more fields of said document and
     said input information to aprinting device, said printing device configured to
     said input information to a printing device , said printing device configured to                23
                                                                                                     23
        print said input information in said one or more fields of said document
        print said input information in said one or more fields of said document



                                                V
FT
      cause said printing device to print said input information in said one or more
      cause said printing device to print said input information in said one or more                 24
1                                                                                               h   24
1                                fields
                                 fields of
                                        of said document
                                                document                                    {
                    w   wyn                                  MY     A




                                           FIG.. 2
                                           FIG   2
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                                                               107
                                                               107




                  FIG.. 3A
                  FIG
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                  FIG.  3B
                  FIG . 3B
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                                                                 107




                       FIG.. 3C
                       FIG
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                                                                         30
                                                                         30




      voter isis escorted to an assistive selection system
                                                    system atat a
                                                                a polling
                                                                  polling location
                                                                          location                31
                                                                                                  31


                                           V

  poll worker
       worker or
              or voter
                 voter initiates aaballot process on
                                                  on the
                                                     the assistive selection system
                                                                             system               32
                                                                                                  32


                                           V


       voter
       voter selects context
                     context and
                             and then selects
                                      selects one or
                                                  or more
                                                     more candidates
                                                          candidates on
              engagement element of the assistive selection system
              engagement element of the assistive selection system
                                                                     on an
                                                                        an
                                                                                      h           33
                                                                                                  33




    printing device
             device caused
                    caused to
                           to print selected contest
                                             contest and
                                 candidates on
                                 candidates

                                           V
                                               ballot
                                            on ballot
                                                     and selected one
                                                                  one or
                                                                      or more
                                                                         more
                                                                                      h?
                                                                                       -___\__-   34
                                                                                                  34



  voter visually confirms contest and candidate printed on the ballot correspond
  voter visually confirms contest and candidate printed on the ballot correspond                  35
                                                                                                  35
                      with
                      with the
                           the contest and candidate selected
                                                     selected

                                           1.
      voter or poll worker removes printed ballot once voter is done at poll           -\- 36
      voter or poll worker removes printed ballot once voter is done at poll




                                       FIGe. 4
                                       FIG   4
        Case 1:17-cv-02989-AT Document 1220-9 Filed 11/15/21 Page 10 of 27


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                   r'J




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                                                                            FIG
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  214                                                                       L1




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      Case 1:17-cv-02989-AT Document 1220-9 Filed 11/15/21 Page 11 of 27


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                                                                         40
                                                                         40



      receiving, in response to one or more gestures made by auser, one or more
      receiving, in response to one or more gestures made by a user, one or more
    indications related to aregion of atransparent interactive display, the region of
    indications related to a region of a transparent interactive display, the region of
                                                                                      —b-- 41
                                                                                           41
       the transparent interactive display corresponding to aregion of aphysical
       the transparent interactive display corresponding to a region of a physical
        document disposed within or behind the transparent interactive display
        document disposed within or behind the transparent interactive display

                                             V

       determining,, based
       determining   based at
                           at least upon the
                              least upon     indication,, one
                                         the indication   one or
                                                              or more
                                                                 more fields
                                                                      fields of
                                                                             of the
                                                                                the
    document associated with the indication and input information associated with   42
    document associated with the indication and input information associated with h 42    -\._--


                      the one or more fields of the document

                                             V

    transmitting asignal indicative of the one or more fields of the document and
    transmitting a signal indicative of the one or more fields of the document and
     the input information to aprinting device, the printing device configured to
     the input information to a printing device , the printing device configured to                43
         print the input information in the one or more fields of the document
         print the input information in the one or more fields of the document

r

     causing the
                                             4
     causing the printing
                 printing device
                          device to
                                 to print
                                    print the
                                          the input
                                              input information
                                                    information inin the
                                                                     the one or more
                                                                         one or more
1                                fields
                                 fields of
                                        of the
                                           the document
                                               document                                   h- 44
                                                                                             44




1   determining
    determining,, using aagaze tracking system
                                        system,, whether the
                                                         the user
                                                             user has
                                                                  has reviewed
                                                                      reviewed the
                                                                               the        h        45
                                                                                                   45
         printed input
         printed input information
                       information in
                                   in the
                                      the one
                                          one or
                                              or more
                                                 more fields
                                                      fields of
                                                             of the
                                                                the document
                                                                    document              {

                                             T
    in an instance in which it is determined that the user has reviewed the printed
                                                                                          7

    in an instance in which it is determined that the user has reviewed the printed
I   input, approving the input information printed in the one or more fields of the
    input , approving the input information printed in the one or more fields of the               46
                                                                                          {
                                       documen t
                                       document                                           }
                                                                                          4
                                                                                          3




1     in an instance in which it is determined that the user has not reviewed the
                                                                                                   47
                                                                                                   47
             printed input, causing areminder to be provided to the user
              printed input , causing a reminder to be provided to the user               {




                                         FIG.. 6
                                         FIG   6
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                                11                                                                        2
                                                                                                          2
     TRANSPARENT INTERACTIVE
     TRANSPARENT INTERACTIVE PRINTING
                             PRINTING                                         In accordance with another aspect, a computer program
                                                                             In accordance with another aspect , a computer program
                INTERFACE
                INTERFACE                                                  product is provided . The computer program product may
                                                                           product is provided. The computer program product may
                                                                           comprise at least one computer-readable storage medium
                                                                           comprise at least one computer - readable storage medium
           CROSS-REFERENCE   TO RELATED
           CROSS - REFERENCE TO RELATED                                    having computer-readable program code portions stored
                                                                           having computer -readable program code portions stored
                    APPLICATIONS
                    APPLICATIONS                                      5    therein, the computer-readable program code portions com-
                                                                      5 therein , the computer - readable program code portions com
                                                                        prising executable portions configured to carry out a pro
                                                                           prising executable portions configured to carry out a pro-
                                                                           cess, such as a computer-implemented method. In some
                                                                           cess , such as a computer-implemented method . In some
  This application claims priority to , and the benefit of,U.S.
  This application claims priority to, and the benefit of, U.S.
                                                                           embodiments, the computer program product can comprise
                                                                           embodiments, the computer program product can comprise
Provisional Patent Application Ser. No. 62/846,118, filed
Provisional Patent Application Ser. No. 62 / 846,118 , filed               a non-transitory computer storage medium comprising
                                                                           a non -transitory computer storage medium comprising
May 1010,, 2019,
           2019 , entitled
                  entitled "Transparent
                           “ Transparent Interactive
                                         Interactive Printing              instructions configured to cause one or more processors to at
Interface,” the entire disclosures of which are herebyincor- 10 instructions
Interface," the entire disclosures of which are hereby incor-
porated herein by reference in their entirety for all purposes. least performconfigured
                                                                      10

                                                                               receivingto, incause one ortomore processors to at,
                                                                           least perform receiving, in response to agesture by auser,
                                                                                                response     a gesture by a user
porated herein by reference in their entirety for all purposes .           an indication related to aregion of atransparent interactive
                                                                           an indication related to a region of a transparent interactive
                                                                           display, the region of the transparent interactive display
                                                                           display, the region of the transparent interactive display
                FIELD OF
                FIELD OF THE
                         THE INVENTION
                             INVENTION
                                                                           corresponding to a region of a document viewable by the
                                                                           corresponding to aregion of a document viewable by the
                                                                           user through the transparent interactive display. In some
   Example embodiments described herein relate generally 15 user
   Example embodiments described herein relate generally
                                                                   through the transparent interactive display. In some
                                                                           embodiments, the computer program product can comprise
                                                               embodiments, the computer program product can comprise
to the field of displays, and in particular transparent, inter a non - transitory computer storage medium comprising
to the field of displays, and in particular transparent, inter-
                                                                           a non-transitory computer storage medium comprising
active
active interfaces.
       interfaces.                                                         instructions configured to cause one or more processors to at
                                                                           instructions configured to cause one or more processors to at
                       BACKGROUND
                       BACKGROUND
                                                                           least perform determining, based at least upon the indica
                                                                           least perform determining, based at least upon the indica-
                                                                           tion, one or more fields of the document associated with the
                                                                      20 tion , one or more fields of the document associated with the
                                                                           indication and input information associated with the one or
                                                                         indication and input information associated with the one or
  Ballot-marking
  Ballot-marking devices ((BMDs)
                           BMDs ) such as electronic
                                            electronic ballot
                                                       ballot              more
                                                                           more fields
                                                                                  fields of
                                                                                         of the
                                                                                            the document.
                                                                                                 document. In
                                                                                                            In some
                                                                                                                some embodiments,
                                                                                                                        embodiments, the
                                                                                                                                      the
markers (EBMs), electronically-assisted ballot markers, and
markers (EBM ), electronically -assisted ballot markers, and               computer program product can comprise a non - transitory
                                                                           computer program product can comprise a non-transitory
voting machines
       machines are often non-transparent,
                           non - transparent, hackable,
                                              hackable, and
                                                         and               computer storage medium comprising instructions config
                                                                           computer storage medium comprising instructions config-
overly complex. Such conventional devices often result in a
overly complex. Such conventional devices often result in a 25 ured to cause one or more processors to at least perform
trade-off between consistency and transparency, for instance
                                                                      25   ured to cause one or more processors to at least perform
                                                                           transmitting asignal indicative of the one or more fields of
trade - off between consistency and transparency, for instance             transmitting a signal indicative of the one or more fields of
because using
           using paper ballots typically results
                                         results in
                                                 in a
                                                    a relatively
                                                      relatively           the document and the input information to aprinting device,
                                                                           the document and the input information to a printing device,
large  amount of
large amount     of human  error and
                    human error  and erroneous    ballots being
                                      erroneous ballots   being            the printing device configured to print the input information
                                                                           the printing device configured to print the input information
discarded,, however it is typically difficult or impossible to
discarded                                                                  in the one or more fields of the document. In some embodi-
                                                                           in the one or more fields of the document. In some embodi
fully examine and
      examine   and trace
                    trace the process
                              process and result
                                          result of entering
                                                    entering 30 ments, the document is one of a voting ballot, a survey , an
selections for aballot using conventional BMDs and EMBs.
                                                                      30   ments, the document is one of avoting ballot, asurvey, an
                                                                           application, apoll, acanvass, an assessment, adeclaration,
selections for a ballot using conventional BMDs and EMBs .                 application, a poll , a canvass , an assessment, a declaration ,
                                                                           awritten oath, aform, abill, acheck, astatement, adeed,
                                                                           a written oath , a form , a bill , a check, a statement, a deed ,
                      BRIEF
                      BRIEF SUMMARY
                            SUMMARY                                        amanuscript, and a certificate. In some embodiments, the
                                                                           a manuscript, and a certificate . In some embodiments, the
                                                                           computer program product can comprise a non-transitory
                                                                           computer program product can comprise a non - transitory
  InIn general, embodiments of
       general, embodiments of the present invention
                               the present           provide 35 computer storage medium comprising instructions config
                                           invention provide
methods, apparatus, systems, computing devices, computing
                                                                      35   computer storage medium comprising instructions config-
                                                                           ured to cause one or more processors to at least perform
methods, apparatus, systems , computing devices, computing               ured to cause one or more processors to at least perform
entities,
entities, and/or
           and / or the
                    the like
                         like for transparent,
                                  transparent, interactive
                                                interactive printing       causing the printing device to print the input information in
                                                                         causing the printing device to print the input information in
interfaces for
interfaces   for ballot-processing.     Certain embodiments
                   ballot -processing. Certain   embodiments uti-          the one or more fields of the document.
                                                                  uti- the one or more fields of the document.
      systems,, methods
lize systems     methods,, and
                             and computer program
                                            program products thatthat       In accordance with another aspect , an apparatus compris
                                                                              In accordance with another aspect, an apparatus compris-
enable
enable aauser
           user to
                 to select
                     select aaballot
                              ballot decision  for a
                                     decision for  a particular
                                                     particular field
                                                                field 40   ing atransparent, interactive interface operably coupled to a
                                                                      40 ing a transparent, interactive interface operably coupled to a

on
on the transparent interactive printing      interface,, resulting in
                                    printing interface                     printing device and configured to retain aprinting substrate
                                                                         printing device and configured to retain a printing substrate
real-time
real - time printing
            printing on on a  paper ballot
                            a paper         or the
                                     ballot or  the like  positioned
                                                    like positioned        within or behind the transparent, interactive interface is
                                                                         within or behind the transparent, interactive interface is
behind
behind thethe transparent interactive
                             interactive printing  interface..
                                         printing interface                provided. In one embodiment, the apparatus may be con-
                                                                         provided. In one embodiment, the apparatus may be con
   In accordance with one aspect, amethod is provided. In
   In accordance with one aspect, a method is provided . In                figured to carry out a computer-implemented method. In
                                                                           figured to carry out a computer - implemented method . In
one embodiment, the method can be a computer-imple-
one embodiment, the method can be a computer -imple- 45                    some embodiments, the apparatus can be configured to carry
                                                     45 some embodiments, the apparatus can be configured to carry

mented method comprising receiving , in response to a
mented method comprising receiving, in response to a                       out a computer - implemented method comprising receiving,
                                                                           out acomputer-implemented method comprising receiving,
gesture by a user, an indication related to a region of a
gesture by a user, an indication related to a region of a                  in response to agesture by auser, an indication related to a
                                                                           in response to a gesture by a user, an indication related to a
transparent interactive display, the region of the transparent
transparent interactive display, the region of the transparent             region of atransparent interactive display, the region of the
                                                                  region of a transparent interactive display, the region of the
interactive display corresponding to aregion of adocument
interactive display corresponding to a region of a document                transparent interactive display corresponding to aregion of
                                                                  transparent interactive display corresponding to a region of
viewable by the user through the transparent interactive
viewable by the user through the transparent interactive 50                a document viewable by the user through the transparent
                                                               50 a document viewable by the user through the transparent
display. In some embodiments, the computer-implemented
display. In some embodiments, the computer- implemented                    interactive display. In some embodiments, the apparatus can
                                                                           interactive display. In some embodiments , the apparatus can
method can further comprise determining, based at least
method can further comprise determining, based at least                    be configured to carry out acomputer-implemented method
                                                                           be configured to carry out a computer -implemented method
upon the indication, one or more fields of the document
upon the indication , one or more fields of the document                   further comprising determining, based at least upon the
                                                                           further comprising determining, based at least upon the
associated with the indication and input information asso-
associated with the indication and input information asso-                 indication, one or more fields of the document associated
                                                                           indication , one or more fields of the document associated
ciated with the one or more fields of the document. In some
ciated with the one or more fields of the document. In some 55             with the indication and input information associated with the
                                                            55 with the indication and input information associated with the
embodiments, the computer-implemented method can fur-
embodiments, the computer- implemented method can fur-                     one or more fields of the document. In some embodiments,
                                                                           one or more fields of the document. In some embodiments ,
ther comprise transmitting asignal indicative of the one or
ther comprise transmitting a signal indicative of the one or               the apparatus can be configured to carry out a computer-
                                                                           the apparatus can be configured to carry out a computer
more fields of the document and the input information to a
more fields of the document and the input information to a                 implemented method further comprising transmitting asig-
                                                                           implemented method further comprising transmitting a sig
         device,, the printing device
printing device                device configured
                                       configured to print the
                                                           the             nal
                                                                           nal indicative
                                                                               indicative of
                                                                                          of the
                                                                                             the one
                                                                                                 one or
                                                                                                     or more
                                                                                                        more fields
                                                                                                              fields of
                                                                                                                     of the
                                                                                                                        the document
                                                                                                                            document and
                                                                                                                                     and
input information in the one or more fields of the document.
input information in the one or more fields of the document. 60            the input information to a printing device, the printing
                                                             60 the input information to a printing device, the printing
IN some embodiments, the document can be one of avoting
IN some embodiments, the document can be one of a voting                   device configured to print the input information in the one or
                                                                device configured to print the input information in the one or
ballot, asurvey, an application, apoll, acanvass, an assess-
ballot , a survey, an application , a poll , a canvass , an assess-        more fields of the document. In some embodiments, the
                                                                           more fields of the document. In some embodiments, the
ment, adeclaration, awritten oath, aform, abill, acheck, a
ment, a declaration , a written oath , a form , a bill , a check , a       document can be one of a voting ballot, a survey, an
                                                                        document can be one of a voting ballot , a survey, an
statement, adeed, amanuscript, and acertificate. In some
statement, a deed , a manuscript, and a certificate . In some              application, apoll, acanvass, an assessment, adeclaration,
                                                                        application, a poll , a canvass, an assessment, a declaration ,
embodiments, the computer-implemented method can fur-
embodiments, the computer - implemented method can fur- 65                 awritten oath, aform, abill, acheck, astatement, adeed,
                                                                     65 a written oath , a form , a bill , a check , a statement, a deed ,
ther comprise causing the printing device to print the input
ther comprise causing the printing device to print the input               amanuscript, and a certificate. In some embodiments, the
                                                                        a manuscript, and a certificate. In some embodiments, the
information in the one or more fields of the document.
information in the one or more fields of the document.                     apparatus can be further configured to carry out acomputer-
                                                                        apparatus can be further configured to carry out a computer
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                                33                                                                           4
                                                                                                             4
implemented method further comprising causing the print-
implemented method further comprising causing the print-                    tap, aswipe, or atranslational motion by afinger of the user
                                                                            tap , a swipe , or a translational motion by a finger of the user
ing device to print the input information in the one or more
ing device to print the input information in the one or more                on the touch-sensitive display. In some embodiments, the
                                                                            on the touch - sensitive display. In some embodiments , the
fields of     document..
       of the document                                                      method can further comprise: determining, using a gaze
                                                                            method can further comprise: determining, using a gaze
   In accordance with yet another aspect, an apparatus can
  In accordance with yet another aspect , an apparatus can                  tracking system, whether the user has reviewed the printed
                                                                tracking system , whether the user has reviewed the printed
comprise means, such as at least one processor and at least                 input information in the one or more fields of the document;
comprise means , such as at least one processor and at least 55 input information in the one or more fields of the document;
one memory including computer program code     code,, for carrying          in an instance in which it is determined that the user has
out a computer-implemented method. In some embodi-
out a computer - implemented method . In some embodi-                       reviewed the printed input, approving the input information
                                                                            reviewed the printed input, approving the input information
ments, the apparatus can comprise means for receiving, in
ments, the apparatus can comprise means for receiving, in                   printed in the one or more fields of the document; and/or, in
                                                                            printed in the one or more fields of the document; and /or, in
response to aagesture by aauser
                              user,, an indication related to  to aa        an instance in which it is determined that the user has not
region of a transparent interactive display , the region of the 10 reviewed the printed input, causing a reminder to be pro
region of atransparent interactive display, the region of the          10   reviewed the printed input, causing areminder to be pro-
transparent interactive display corresponding to a      a region of         vided to the user.                      tracking
                                                                                            user. In some embodiments,
                                                                                                            embodiments, the gaze tracking
a document viewable by the user through the transparent
a document viewable by the user through the transparent                     system comprises one or more cameras configured to cap-
                                                                            system comprises one or more cameras configured to cap
interactive display. In some embodiments, the apparatus can
interactive display. In some embodiments , the apparatus can                ture images of the user's face, and one or more processors
                                                                            ture images of the user's face, and one or more processors
further comprise means for determining, based at least upon
further comprise means for determining, based at least upon                 configured to determine adirection of viewing based at least
                                                                            configured to determine a direction of viewing based at least
the indication, one or more fields of the document associated               upon the images of the user's face and determine if the
the indication, one or more fields of the document associated 15 upon the images of the user's face and determine if the
                                                                       15
with the indication and input information associated with the
with the indication and input information associated with the               direction of viewing corresponds to the one or more fields of
                                                                            direction of viewing corresponds to the one or more fields of
one
one or more
        more fields         document.. In
              fields of the document                embodiments,,
                                         In some embodiments                the
                                                                            the document.
                                                                                 document.
the apparatus can further comprise means for transmitting a
the apparatus can further comprise means for transmitting a                    According to yet another embodiment, an apparatus can
                                                                              According to yet another embodiment, an apparatus can
signal indicative of the one or more fields of the document
signal indicative of the one or more fields of the document                 be provided that comprises: at least one processor; and at
                                                                            be provided that comprises: at least one processor; and at
and the input information to a printing device, the printing 20 least one non - transitory memory comprising program code,
and the input information to aprinting device, the printing
device configured to print the input information in the one or
                                                                       20   least one non-transitory memory comprising program code,
                                                                            wherein the at least one non-transitory memory and the
device configured to print the input information in the one or wherein the at least one non -transitory memory and the
more fields of the document. In some embodiments, the
more fields of the document. In some embodiments, the                       program code are configured to, with the at least one
                                                                      program code are configured to , with the at least one
document can be one of a voting ballot, a survey,
document can be one of a voting ballot , a               urvey, an          processor, cause the apparatus to: receive, in response to a
                                                                      processor, cause the apparatus to : receive , in response to a
application, apoll, acanvass, an assessment, adeclaration,
application, a poll , a canvass , an assessment, a declaration ,            gesture by a user, an indication related to a region of a
                                                                      gesture by a user, an indication related to a region of a
awritten oath, aform, abill, acheck, astatement, adeed,                     transparent interactive display, the region of the transparent
a written oath , a form , a bill , a check , a statement, a deed , 25 transparent interactive display, the region of the transparent
amanuscript, and a certificate. In some embodiments, the
a manuscript, and a certificate . In some embodiments, the                  interactive display corresponding to aregion of adocument
                                                                      interactive display corresponding to a region of a document
apparatus can further comprise means for causing the print-
apparatus can further comprise means for causing the print-                 viewable by the user through the transparent interactive
                                                                            viewable by the user through the transparent interactive
ing device to print the input information in the one or more
ing device to print the input information in the one or more                display; determine, based at least upon the indication, one or
                                                                            display ; determine, based at least upon the indication, one or
fields of     document..
       of the document                                                      more
                                                                            more fields
                                                                                   fields of
                                                                                           of the
                                                                                              the document
                                                                                                   document associated
                                                                                                              associated with
                                                                                                                          with the
                                                                                                                               the indication
                                                                                                                                   indication
   In accordance with still another embodiment, amethod
  In accordance with still another embodiment, a method 30                  and input information associated with the one or more fields
                                                        30 and input information associated with the one or more fields
can be carried out that comprises: receiving, in response to
can be carried out that comprises: receiving , in response to               of the document; and transmit asignal indicative of the one
                                                                            of the document; and transmit a signal indicative of the one
one or more gestures made by auser, one or more indica-
one or more gestures made by a user, one or more indica-                    or more fields of the document and the input information to
                                                                            or more fields of the document and the input information to
tions related to aregion of atransparent interactive display,
tions related    a region of a transparent interactive display,             aprinting device, the printing device configured to print the
                                                                            a printing device, the printing device configured to print the
the region of the transparent interactive display correspond-
the region of the transparent interactive display correspond-               input information in the one or more fields of the document.
                                                                            input information in the one or more fields of the document.
ing to aregion of aphysical document disposed within or
ing to a region of a physical document disposed within or 35                In some embodiments, the document is one of: a voting
                                                          35 In some embodiments , the document is one of: a voting

behind the transparent interactive display; determining,
behind the transparent interactive display ; determining,                   ballot, asurvey, an application, apoll, acanvass, an assess-
                                                                            ballot , a survey, an application , a poll , a canvass, an assess
based at least upon the indication, one or more fields of the
based at least upon the indication , one or more fields of the              ment, adeclaration, awritten oath, aform, abill, acheck, a
                                                                            ment, a declaration , a written oath , a form , a bill , a check , a
document associated with the indication and input informa-
document associated with the indication and input informa-                  statement, a deed, a manuscript, or a certificate. In some
                                                                            statement, a deed, a manuscript, or a certificate. In some
tion associated with the one or more fields of the document;
tion associated with the one or more fields of the document;                embodiments, the region of the physical document is view-
                                                                            embodiments, the region of the physical document is view
and transmitting asignal indicative of the one or more fields
and transmitting a signal indicative of the one or more fields 40           able by the user through the transparent interactive display.
                                                               40 able by the user through the transparent interactive display .

of the document and the input information to a printing
of the document and the input information to a printing                     In some embodiments, the at least one non-transitory
                                                                  In some embodiments, the at least one non -transitory
device, the printing device configured to print the input                   memory and the program code are further configured to,
device, the printing device configured to print the input memory and the program code are further configured to ,
information inin the one
                     one or more fields of  of the   document.. In
                                               the document      In         with
                                                                            with the
                                                                                  the at
                                                                                      at least
                                                                                         least one
                                                                                               one processor,
                                                                                                    processor, cause
                                                                                                               cause the
                                                                                                                      the apparatus
                                                                                                                          apparatus to:
                                                                                                                                     to : cause
                                                                                                                                          cause
some embodiments, the document is one of avoting ballot,
some embodiments, the document is one of a voting ballot ,                  the printing device to print the input information in the one
                                                                    the printing device to print the input information in the one
asurvey, an application, apoll, acanvass, an assessment, a
a survey, an application , a poll , a canvass , an assessment, a 45         or more fields of the document. In some embodiments, the
                                                                 45 or more fields of the document. In some embodiments, the

declaration,, a
declaration    a written
                 written oath,
                          oath , a
                                 a form,
                                     form , aa bill,
                                                bill , aa check
                                                          check,, aa        at
                                                                            at least
                                                                               least one
                                                                                     one non-transitory
                                                                                          non - transitory memory
                                                                                                           memory and
                                                                                                                    and the program code are
                                                                                                                         code are
                                                                                                                        theprogram
statement, adeed, amanuscript, and acertificate. In some
statement, a deed , a manuscript, and a certificate . In some               further configured to, with the at least one processor, cause
                                                                    further configured to , with the at least one processor, cause
embodiments, the region of the physical document is view-
embodiments, the region of the physical document is view-                   the apparatus to: receive, in response to a second gesture
                                                                            the apparatus to : receive , in response to a second gesture
able by the user through the transparent interactive display.
able by the user through the transparent interactive display.               made by the user, a second indication related to a second
                                                                 made by the user , a second indication related to a second
In some embodiments, the method can further comprise:
In some embodiments, the method can further comprise: 50                    region of the transparent interactive display; determine,
                                                              50 region of the transparent interactive display; determine ,
causing the printing device to print the input information in
causing the printing device to print the input information in               based at least upon the second indication, one or more
                                                                 based at least upon the second indication , one or more
the one or more fields of the document
                                 document.. In some embodi-embodi-          second fields of the document associated with the second
ments, the method can further comprise: receiving, in
ments, the method can further comprise: receiving , in                      indication and second input information associated with the
                                                            indication and second input information associated with the
response to a second gesture made by the user, a second
response to a second gesture made by the user, a second                     one or more second fields of the document; and transmit a
                                                            one or more second fields of the document; and transmit a
indication related to a second region of the transparent
indication related to a second region of the transparent 55                 second signal indicative of the one or more second fields of
                                                         55 second signal indicative of the one or more second fields of
interactive display; determining, based at least upon the
interactive display ; determining, based at least upon the                  the document and the second input information to the
                                                                            the document and the second input information to the
second indication, one or more second fields of the docu-
second indication, one or more second fields of the docu-                   printing device, thereby causing the printing device to print
                                                                            printing device, thereby causing the printing device to print
ment associated with the second indication and second input
ment associated with the second indication and second input                 the second input information in the one or more second
                                                                            the second input information in the one or more second
information associated with the one or more second fields of
information associated with the one or more second fields of                fields of the document. In some embodiments, the transpar-
                                                                            fields of the document. In some embodiments, the transpar
the document; and transmitting asecond signal indicative of                 ent interactive display comprises atouch-sensitive display.
the document; and transmitting a second signal indicative of 60 ent interactive display comprises a touch - sensitive display.
the one or more second fields of the document and the
                                                                       60
                                                                            In some embodiments, the one or more gestures made by the
                                                                            In some embodiments, the one or more gestures made by the
second input information to the printing device, thereby
second input information to the printing device, thereby                    user comprise a touch, a tap, a swipe, or a translational
                                                                            user comprise a touch , a tap , a swipe , or a translational
causing the printing device to print the second input infor-
causing the printing device to print the second input infor-                motion by afinger of the user on the touch-sensitive display.
                                                                            motion by a finger of the user on the touch - sensitive display.
mation in
mation     the one
        in the      or more
               one or  more second    fields of
                             second fields      the document.
                                             of the   document. In
                                                                 In         In
                                                                            In some
                                                                                 some embodiments,
                                                                                         embodiments, the  the at
                                                                                                               at least
                                                                                                                   least one
                                                                                                                          one non-transitory
                                                                                                                               non -transitory
some embodiments, the transparent interactive display com-                  memory and the program code are further configured to,
some embodiments, the transparent interactive display com- 65 memory and the program code are further configured to ,
prises atouch-sensitive display. In some embodiments, the                   with the at least one processor, cause the apparatus to:
prises a touch - sensitive display. In some embodiments , the with the at least one processor, cause the apparatus to :
one or more gestures made by the user comprise atouch, a
one or more gestures made by the user comprise a touch , a                  determine, using agaze tracking system, whether the user
                                                              determine, using a gaze tracking system , whether the user
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                               55                                                                       6
                                                                                                        6
has reviewed the printed input information in the one or
has reviewed the printed input information in the one or                 print the second input information in the one or more second
                                                                         print the second input information in the one or more second
more fields of the document; in an instance in which it is
more fields of the document; in an instance in which it is               fields of the document. In some embodiments, the transpar-
                                                                         fields of the document. In some embodiments, the transpar
determined that the user has reviewed the printed input,
determined that the user has reviewed the printed input,                 ent interactive display comprises a
                                                                                                           atouch-sensitive
                                                                                                             touch - sensitive display.
                                                                                                                               display .
approving the input information printed in the one or more
approving the input information printed in the one or more               In some embodiments, the one or more gestures made by the
                                                                         In some embodiments, the one or more gestures made by the
fields of
fields of the
           the document;   and,, in
                document; and    in an
                                    an instance
                                        instance in
                                                 in which
                                                    which itit is
                                                               is   55 user
                                                                       user comprise
                                                                            comprise a
                                                                                     a touch,
                                                                                       touch , a
                                                                                               a tap,
                                                                                                 tap , a
                                                                                                       a swipe,
                                                                                                         swipe , or
                                                                                                                 or a
                                                                                                                    a translational
                                                                                                                      translational
determined that the user has not reviewed the printed input,
determined that the user has not reviewed the printed input,             motion by afinger of the user on the touch-sensitive display.
causing a reminder to be provided to the user. In some
                                                                         motion by a finger of the user on the touch - sensitive display.
causing reminder to be provided to the user . In some                    In some embodiments, the non-transitory computer storage
                                                                         In some embodiments, the non -transitory computer storage
embodiments, the gaze tracking system comprises one or
embodiments, the gaze tracking system comprises one or                   medium can further comprise instructions configured to
more cameras configured to capture images of the user's
                                                                medium can further comprise instructions configured to
more cameras configured to capture images of the user's         cause
                                                                cause the
                                                                       the one
                                                                             one oror more
                                                                                        more processors
                                                                                              processors to  to atat least
                                                                                                                     least perform:
                                                                                                                           perform :
face, and one or more processors configured to determine a
face, and one or more processors configured to determine a 1010 determine,
                                                                determine ,  using
                                                                             using   a
                                                                                     a gaze
                                                                                       gaze  tracking
                                                                                             tracking   system,
                                                                                                        system  ,  whether
                                                                                                                   whether  the
                                                                                                                            the user
                                                                                                                                 user
direction of viewing based at least upon the images of the
direction of viewing based at least upon the images of the      has
                                                                has reviewed
                                                                    reviewed    the
                                                                                 the  printed
                                                                                      printed  input
                                                                                               input  information
                                                                                                      information     in
                                                                                                                      in the
                                                                                                                         the  one
                                                                                                                              one   or
                                                                                                                                    or
user's face and determine if the direction of viewing corre-
user's face and determine if the direction of viewing corre moremore  fields
                                                                      fields  of
                                                                              of  the
                                                                                  the  document;
                                                                                       document  ; in
                                                                                                   in  an
                                                                                                       an instance
                                                                                                           instance   in
                                                                                                                      in which
                                                                                                                         which   it
                                                                                                                                 it is
                                                                                                                                    is
sponds to the one or more fields of the document.
sponds to the one or more fields of the document.               determined    that  the  user  has  reviewed     the  printed  input,
   According to still another embodiment, a non - transitory 15 approving the input information printed in the one or more,
   According to still another embodiment, anon-transitory       determined    that  the  user  has  reviewed     the  printed  input
computer storage medium can be provided that comprises 15 fields
computer storage medium can be provided that comprises    approving
instructions configured to cause one or more processors to at
                                                                     the input information printed in the one or more
                                                                         fields of the document; and, in an instance in which it is
                                                                 of the document; and, in an instance in which it is
instructions configured to cause one or more processors to at            determined that the user has not reviewed the printed input,
least at least perform: receiving, in response to one or more
least at least perform : receiving, in response to one or more           determined that the user has not reviewed the printed input,
gestures made by auser, one or more indications related to
gestures made by a user, one or more indications related to              causing a reminder to be provided to the user. In some
                                                                         causing a reminder to be provided to the user . In some
aregion of atransparent interactive display, the region of the
a region of a transparent interactive display, the region of the         embodiments, the gaze tracking system comprises one or
                                                                         embodiments, the gaze tracking system comprises one or
transparent interactive display corresponding to a region of 20 more
transparent interactive display corresponding to aregion of
a physical document disposed within or behind the trans-
                                                                more20
                                                                       cameras configured
                                                                       cameras configured toto capture
                                                                                               capture images of the
                                                                                                       images of the user's
                                                                                                                     user's
                                                                face, and one or more processors configured to determine a
a physical document disposed within or behind the trans-                 face, and one or more processors configured to determine a
parent interactive display; determining, based at least upon
parent interactive display ; determining, based at least upon            direction of viewing based at least upon the images of the
                                                                         direction of viewing based at least upon the images of the
the indication, one or more fields of the document associated
the indication , one or more fields of the document associated           user's face and determine if the direction of viewing corre-
                                                                         user's face and determine if the direction of viewing corre
with the indication and input information associated with the
with the indication and input information associated with the            sponds to the one or more fields of the document.
                                                                 sponds to the one or more fields of the document.
one or more fields of the document; and transmitting asignal
one or more fields of the document; and transmitting a signal 25
indicative  of the
indicative of  the one
                   one or
                       or more  fields of
                          more fields  of the
                                          the document
                                              document and
                                                       and the
                                                             the               BRIEF
                                                                               BRIEF DESCRIPTION
                                                                                     DESCRIPTION OF
                                                                                                 OF THE
                                                                                                    THE DRAWINGS
                                                                                                        DRAWINGS
input information to aprinting device, the printing device
input information to a printing device, the printing device
configured to print the input information in the one or more
configured to print the input information in the one or more                Having thus described the invention in general terms,
                                                                           Having thus described the invention in general terms,
fields of the document. In some embodiments, the non-
fields of the document. In some embodiments , the non-                   reference will now be made to the accompanying drawings,
                                                                         reference will now be made to the accompanying drawings,
transitory computer storage medium can further comprise 30 which
transitory computer storage medium can further comprise
instructions configured to cause the one or more processors
instructions configured to cause the one or more processors
                                                                  are not necessarily drawn to scale, and wherein:
                                                                    30   which are not necessarily drawn to scale, and wherein:
                                                                            FIG. 1provides an example of an architecture that can be
                                                             FIG . 1 provides an example of an architecture that can be
to at least perform: causing the printing device to print the
to at least perform : causing the printing device to print the           used to practice embodiments of the present invention;
                                                                         used to practice embodiments of the present invention;
input information in the one or more fields of the document.
input information in the one or more fields of the document.                FIG. 2provides aflow diagram of an example computer-
                                                               FIG . 2 provides a flow diagram of an example computer
In some embodiments, the non-transitory computer storage
In some embodiments, the non - transitory computer storage               implemented process for assisting a user in transparently
                                                             implemented process for assisting a user in transparently
medium can further comprise instructions configured to                   printing selections and/or information onto adocument, in
medium can further comprise instructions configured to 35 printing selections and /or information onto a document, in
                                                                    35
cause the one or more processors to at least perform:
cause the one or more processors to at least perform :                   accordance with some embodiments discussed herein;
                                                                         accordance with some embodiments discussed herein ;
determine, using agaze tracking system, whether the user
determine, using a gaze tracking system , whether the user                  FIGS. 3A-3C provide an illustration of an approach for
                                                                           FIGS . 3A - 3C provide an illustration of an approach for
has reviewed the printed input information in the one or
has reviewed the printed input information in the one or                 using a document retention device as part of an assistive-
                                                                         using a document retention device as part of an assistive
more fields of the document; in an instance in which it is
more fields of the document; in an instance in which it is               selection system, in accordance with some embodiments
                                                                         selection system , in accordance with some embodiments
determined that the user has reviewed the printed input,                 discussed herein;
determined that the user has reviewed the printed input, 40 discussed herein ;
approve the input information printed in the one or more
approve the input information printed in the one or more                    FIG. 4provides aflow diagram of an example process for
                                                                  FIG . 4 provides a flow diagram of an example process for
fields of the document; and, in an instance in which it is               assisting avoter with filling out aballot using an assistive-
fields of the document; and, in an instance in which it is assisting a voter with filling out a ballot using an assistive
determined that the user has not reviewed the printed input,
determined that the user has not reviewed the printed input,             selection system, in accordance with some embodiments
                                                                selection system , in accordance with some embodiments
cause a reminder to be provided to the user. In some
cause a reminder to be provided to the user. In some                     discussed herein;
                                                                discussed herein ;
embodiments, the document is one of: a voting ballot, a                     FIG. Sprovides an example of an architecture that can be
embodiments, the document is one of: a voting ballot , a 45 FIG . 5 provides an example of an architecture that can be
survey, an application, apoll, a canvass, an assessment, a
survey , an application , a poll , a canvass , an assessment, a          used to practice embodiments of the present invention; and
                                                                used to practice embodiments of the present invention; and
declaration, a written oath, a form, a bill, a check, a
declaration , a written oath , a form , a bill , a check , a                FIG. 6provides aflow diagram of an example process for
                                                                            FIG . 6 provides a flow diagram of an example process for
statement, a deed, a manuscript, or a certificate. In some
statement, a deed , a manuscript, or a certificate . In some             assisting a user with filling out one or more fields of a
                                                                         assisting a user with filling out one or more fields of a
embodiments, the region of the physical document is view-                document using an as si stive- selection system, in accordance
embodiments, the region of the physical document is view- document using an assistive - selection system , in accordance
able by the user through the transparent interactive display.
able by the user through the transparent interactive display. 50 with some embodiments discussed herein .
                                                                    50   with some embodiments discussed herein.
In some embodiments, the non-transitory computer storage
In some embodiments, the non - transitory computer storage
medium can further comprise instructions configured to
medium can further comprise instructions configured to                         DETAILED
                                                                               DETAILED DESCRIPTION
                                                                                            DESCRIPTION
cause the one or more processors to at least perform: cause
cause the one or more processors to at least perform : cause
the printing device to print the input information in the one
the printing device to print the input information in the one      Various
                                                                   Various embodiments
                                                                           embodiments of
                                                                                        of the
                                                                                           the present
                                                                                               present invention
                                                                                                       invention now
                                                                                                                 now will
                                                                                                                     will be
                                                                                                                           be
or more fields of the document. In some embodiments, the
or more fields of the document. In some embodiments, the 55   55 described
                                                                 described more
                                                                           more fully
                                                                                 fully hereinafter
                                                                                       hereinafter with
                                                                                                     with reference
                                                                                                           reference to
                                                                                                                     to the
                                                                                                                          the
non-transitory computer storage medium can further com-
non - transitory computer storage medium can further com-                accompanying drawings, in which some, but not all embodi-
                                                                         accompanying drawings, in which some , but not all embodi
prise instructions configured to cause the one or more
prise instructions configured to cause the one or more                   ments of the invention are shown. Indeed, the invention may
                                                                         ments of the invention are shown. Indeed, the invention may
processors to at least perform: receive, in response to a
processors to at least perform : receive , in response to a              be embodied in many different forms and should not be
                                                                         be embodied in many different forms and should not be
second gesture made by the user, asecond indication related
second gesture made by the user , a second indication related            construed as limited to the embodiments set forth herein;
                                                                         construed as limited to the embodiments set forth herein ;
to a second region of the transparent interactive display;               rather, these embodiments are provided so that this disclo-
to a second region of the transparent interactive display; 60 rather, these embodiments are provided so that this disclo
                                                                    60
determine, based at least upon the second indication, one or
determine, based at least upon the second indication , one or            sure will satisfy applicable legal requirements. The term
                                                                         sure will satisfy applicable legal requirements. The term
more second fields of the document associated with the
more second fields of the document associated with the                   "or" is used herein in both the alternative and conjunctive
                                                                         “ or ” is used herein in both the alternative and conjunctive
second indication and second input information associated
second indication and second input information associated                sense, unless otherwise indicated. The terms "illustrative"
                                                                         sense , unless otherwise indicated . The terms “ illustrative”
with the one or more second fields of the document; and
with the one or more second fields of the document; and                  and "exemplary" are used to be examples with no indication
                                                                 and “ exemplary ” are used to be examples with no indication
transmit asecond signal indicative of the one or more second
transmit a second signal indicative of the one or more second 65         of quality level. Like numbers refer to like elements
                                                              65 of quality level . Like numbers refer to like elements
fields of the document and the second input information to
fields of the document and the second input information to               throughout. Moreover, while certain embodiments of the
                                                                 throughout. Moreover, while certain embodiments of the
the printing device, thereby causing the printing device to
the printing device, thereby causing the printing device to              present invention are described with reference to predictive
                                                                 present invention are described with reference to predictive
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                                                                    B2
                                7
                                7                                                                        8
                                                                                                         8
     analysis,, one of ordinary skill in the art will recognize
data analysis                                                             memory (CBRAM), phase-change random access memory
                                                                          memory (CBRAM ), phase - change random access memory
that the disclosed concepts can be used to perform other
that the disclosed concepts can be used to perform other                  (PRAM), ferroelectric random-access memory (FeRAM),
                                                                          ( PRAM ), ferroelectric random - access memory ( FeRAM ),
              analysis..
types of data analysis                                                    non - volatile random -access memory (NVRAM ), magne
                                                                          non-volatile random-access memory (NVRAM), magne-
  Embodiments of
  Embodiments        the
                     the present
                 ofways,   present invention may
                                   invention may be
                                                  beanyimple-
                                                       imple-    toresistive random-access
                                                                 toresistive random - access memory
                                                                                             memory (MRAM),
                                                                                                    (MRAM ), resistive
                                                                                                                resistive ran-
                                                                                                                            ran
mented in
mented in various
          various ways     including as
                         , including    computer in
                                     as computer in any  of
                                                         of aa 5 dom-access
                                                                 dom - access memory
                                                                     5         memory (RRAM),
                                                                                         (RRAM ), Silicon-Oxide-Nitride-Ox-
                                                                                                  Silicon - Oxide -Nitride -Ox
variety of programming languages. An illustrative program
variety of programming languages. An illustrative program-                ide-Silicon
                                                                          ide - Silicon memory (SONOS),
                                                                                               ( SONOS ) , floating junction gate
ming language may be alower-level programming language
ming language may be a lower - level programming language                 random access memory (FJG RAM), Millipede memory,
such as an assembly language associated with aparticular
                                                                          random access memory (FJG RAM ), Millipede memory ,
such as an assembly language associated with a particular                 racetrack memory, and/or the like.
                                                                          racetrack memory , and/ or the like.
hardware architecture and/or operating system platform. A
hardware architecture and /or operating system platform . A                 In one embodiment, avolatile computer-readable storage
                                                                            In one embodiment, a volatile computer -readable storage
software component comprising assembly language instruc-
software component comprising assembly language instruc- 10
                                                         10               medium may include random access memory (RAM),
                                                                          medium may include random access memory (RAM ),
tions may require conversion into executable machine code
tions may require conversion into executable machine code                 dynamic random access memory (DRAM), static random
                                                                          dynamic random access memory (DRAM ), static random
by an assembler prior to execution by the hardware archi-
by an assembler prior to execution by the hardware archi                  access
                                                                          access memory ((SRAM),
                                                                                          SRAM ), fast
                                                                                                  fast page
                                                                                                       page mode
                                                                                                            mode dynamic random
                                                                                                                         random
tecture and /or platform . Another example programming
tecture and/or platform. Another example programming
language may be ahigher-level programming language that
language may be a higher- level programming language that                 access memory (FPM DRAM), extended data-out dynamic
                                                                          access memory (FPM DRAM ), extended data -out dynamic
may be portable across multiple architectures. A software 1515 random
may be portable across multiple architectures. A software      random access
                                                               dynamic
                                                                       access memory
                                                                       random
                                                                              memory (EDO
                                                                              access
                                                                                       ( EDO DRAM),
                                                                                     memory
                                                                                              DRAM ), synchronous
                                                                                             (SDRAM),
                                                                                                       synchronous
                                                                                                       double
component comprising higher -level programming language
component comprising higher-level programming language         dynamic random access memory  ( SDRAM )
                                                                                                     , double data
                                                                                                              data
instructions may require conversion to an intermediate rep-               rate synchronous dynamic random access memory (DDR
                                                                          rate synchronous dynamic random access memory (DDR
instructions may require conversion to an intermediate rep                SDRAM), double data rate type two synchronous dynamic
resentation by an interpreter or acompiler prior to execution.
resentation by an interpreter or a compiler prior to execution .          SDRAM ), double data rate type two synchronous dynamic
   Other examples of programming languages include, but
   Other examples of programming languages include, but                   random
                                                                          random access
                                                                                  access memory
                                                                                         memory (DDR2
                                                                                                ( DDR2 SDRAM),
                                                                                                        SDRAM ), double
                                                                                                                  double data
                                                                                                                         data rate
                                                                                                                              rate
are not limited to , a macro language, a shell or command 20 type
are not limited to, amacro language, a shell or command
language, a job control language, a script language, a
                                                             type three synchronous
                                                                  three
                                                                     20
                                                                        synchronous dynamic
                                                                                    dynamic random
                                                                                            random access
                                                                                                   access memory
                                                                                                          memory
                                                             (DDR3 SDRAM), Rambus dynamic random access memory
language, a job control language, a script language , a                   (DDR3 SDRAM ), Rambus dynamic random access memory
database query or search language, and/or areport writing
database query or search language , and / or a report writing             (RDRAM), Twin Transistor RAM (TTRAM), Thyristor
                                                                          (RDRAM ), Twin Transistor RAM ( TTRAM ), Thyristor
language. In one or more example embodiments, asoftware
language . In one or more example embodiments, a software                 RAM (T-RAM), Zero-capacitor (Z-RAM), Rambus in-line
                                                                          RAM ( T -RAM ), Zero -capacitor ( Z -RAM ), Rambus in - line
component comprising instructions in one of the foregoing
component comprising instructions in one of the foregoing                 memory module (RIMM), dual in-line memory module
                                                                          memory module ( RIMM ) , dual in -line memory module
examples of programming languages may be executed
examples of programming languages may be executed 25 (DIMM) , single in - line memory module ( SIMM) , video
                                                                     25   (DIMM), single in-line memory module (SIMM), video
directly by an operating system or other software component
directly by an operating system or other software component               random access memory (VRAM), cache memory (including
                                                                          random access memory ( VRAM ), cache memory ( including
without having to be first transformed into another form. A
without having to be first transformed into another form . A              various levels), flash memory, register memory, and/or the
                                                                          various levels ), flash memory, register memory, and / or the
software component may be stored as a file or other data
software component may be stored as a file or other data                  like.
storage construct. Software components of asimilar type or
                                                                          like . ItIt will
                                                                                      will be
                                                                                            be appreciated
                                                                                               appreciated that
                                                                                                            that where
                                                                                                                 where embodiments
                                                                                                                         embodiments are
                                                                                                                                       are
storage construct. Software components of a similar type or               described
                                                                          described to  to use
                                                                                           use a
                                                                                               a computer-readable
                                                                                                 computer -readable storage
                                                                                                                    storage medium,
                                                                                                                            medium , other
                                                                                                                                     other
functionally related may be stored together such as, for
functionally related may be stored together such as , for 3030 types
example, in aparticular directory, folder, or library. Software
                                                               types of
example , in a particular directory , folder, or library. Software   of computer -readable storage
                                                                        computer-readable          media may
                                                                                           storage media may be substi
                                                                                                             be substi-
                                                                          tuted for
                                                                          tuted for or
                                                                                    or used
                                                                                       used in
                                                                                            in addition
                                                                                               addition to
                                                                                                        to the
                                                                                                           the computer-readable
                                                                                                               computer -readable
components may be static (e.g., pre-established or fixed) or
components may be static (e.g. , pre - established or fixed ) or          storage media described above.
                                                                          storage media described above .
dynamic (e.g., created or modified at the time of execution).
dynamic ( e.g. , created or modified at the time of execution ).            As
                                                                            As should
                                                                                should be
                                                                                       be appreciated,
                                                                                           appreciated, various
                                                                                                        various embodiments
                                                                                                                embodiments of
                                                                                                                            of the
                                                                                                                               the
   A computer program product may include anon-transi-
toryA computer
      computer -program
                readable product
                         storage may include a non -transi
                                 medium   storing applica- 35 present
tory computer-readable storage medium storing applica-
tions, programs, program modules, scripts, source code,
                                                                          present invention may also be implemented as methods,
                                                                      invention may also be implemented as methods,
                                                                     35

                                                                          apparatus, systems, computing devices, computing entities,
                                                              apparatus, systems, computing devices, computing entities,
tions , programs, program modules, scripts, source code ,                 and/or the like. As such, embodiments of the present inven-
program code, object code, byte code, compiled code,
program code, object code , byte code , compiled code,                    and / or the like . As such , embodiments of the present inven
                                                                          tion may take the form of an apparatus, system, computing
interpreted code, machine code, executable instructions,
interpreted code, machine code, executable instructions,                  tion may take the form of an apparatus, system , computing
and / or the like (also referred to herein as executable instruc-
and/or the like (also referred to herein as executable instruc-           device, computing entity, and/or the like executing instruc-
                                                                          device, computing entity, and / or the like executing instruc
tions , instructions for execution , computer program prod- 40
tions, instructions for execution, computer program prod-            40   tions stored
                                                                          tions stored on
                                                                                        on aa computer-readable     storage medium
                                                                                              computer -readable storage    medium toto
ucts, program code, and/or similar terms used herein inter-
ucts , program code , and /or similar terms used herein inter-            perform
                                                                          perform certain
                                                                                   certain steps or operations.
                                                                                           steps or              Thus,, embodiments
                                                                                                    operations. Thus    embodiments of
                                                                                                                                     of
changeably). Such non-transitory computer-readable storage
changeably ). Such non - transitory computer - readable storage           the present invention may also take the form of an entirely
                                                                          the present invention may also take the form of an entirely
media may include all computer-readable media (including
media may include all computer-readable media ( including                 hardware embodiment, an entirely computer program prod-
                                                                          hardware embodiment, an entirely computer program prod
volatile and non-volatile media).
volatile and non - volatile media) .                                      uct embodiment, and/or an embodiment that comprises
                                                                          uct embodiment, and / or an embodiment that comprises
   In one embodiment, a non-volatile computer-readable
   In one embodiment, a non - volatile computer - readable 45             combination of computer program products and hardware
                                                                       45 combination of computer program products and hardware

storage medium may include a floppy disk, flexible disk,
storage medium may include a floppy disk , flexible disk ,                performing certain steps or operations.
                                                                          performing certain steps or operations.
hard disk, solid-state storage (SSS) (e.g., asolid state drive
hard disk , solid - state storage ( SSS ) ( e.g. , a solid state drive    Embodiments of the present invention are described below
                                                                          Embodiments of the present invention are described below
(SSD), solid state card (SSC), solid state module (SSM),
( SSD ) , solid state card ( SSC ) , solid state module ( SSM) ,          with reference to block diagrams and flowchart illustrations.
                                                                          with reference to block diagrams and flowchart illustrations.
enterprise flash drive, magnetic tape, or any other non-
enterprise flash drive, magnetic tape , or any other non-                 Thus, it should be understood that each block of the block
                                                                          Thus, it should be understood that each block of the block
transitory magnetic medium, and/or the like. A non-volatile
transitory magnetic medium , and / or the like . A non - volatile 50      diagrams and flowchart illustrations may be implemented in
                                                                  50 diagrams and flowchart illustrations may be implemented in
computer-readable storage medium may also may
computer -readable storage medium may also            include
                                                 may include a
punch card, paper tape, optical mark sheet (or any other
                                                              a      the form of a computer program product, an entirely hard
                                                                          the form of acomputer program product, an entirely hard-
                                                                          ware embodiment, acombination of hardware and computer
punch card , paper tape , optical mark sheet (or any other                ware embodiment, a combination of hardware and computer
physical medium with patterns of holes or other optically
physical medium with patterns of holes or other optically                 program products, and/or apparatus, systems, computing
                                                                          program products, and / or apparatus, systems , computing
recognizable indicia), compact disc read only memory (CD-
recognizable indicia ), compact disc read only memory (CD-                devices, computing entities, and/or the like carrying out
                                                                          devices, computing entities, and / or the like carrying out
ROM), compact disc-rewritable (CD-RW), digital versatile                  instructions, operations, steps, and similar words used inter-
ROM) , compact disc - rewritable ( CD -RW ), digital versatile 55 instructions, operations, steps , and similar words used inter
                                                                     55
disc (DVD), Blu-ray disc (BD), any other non-transitory
disc ( DVD ) , Blu -ray disc ( BD ) , any other non -transitory           changeably (e.g., the executable instructions, instructions
                                                                          changeably (e.g. , the executable instructions, instructions
optical medium, and/or the like. Such anon-volatile com-
optical medium , and / or the like . Such a non - volatile com-           for execution, program code, and/or the like) on acomputer-
                                                                          for execution , program code , and / or the like) on a computer
puter-readable storage medium may also may include read-
puter -readable storage medium may also may include read-                 readable storage medium for execution. For example,
                                                                          readable storage medium for execution . For example,
only memory (ROM), programmable read-only memory
only memory ( ROM ) , programmable read -only memory                      retrieval, loading, and execution of code may be performed
                                                                          retrieval, loading, and execution of code may be performed
(( PROM ), erasable programmable read -only memory 60 and
(PROM), erasable programmable read-only memory
(EPROM), electrically erasable programmable read-only
   EPROM ) , electrically erasable programmable read -only
                                                           sequentially
                                                                     60
                                                                        such that one instruction is retrieved, loaded ,
                                                                          sequentially such that one instruction is retrieved, loaded,
                                                                          and executed at atime. In some exemplary embodiments,
                                                                executed at a time . In some exemplary embodiments ,
memory (EEPROM), flash memory (e.g., Serial, NAND,
memory (EEPROM) , flash memory ( e.g. , Serial, NAND ,                    retrieval, loading, and/or execution may be performed in
                                                                          retrieval, loading , and / or execution may be performed in
NOR, and/or the like), multimedia memory cards (MMC),
NOR , and /or the like ) , multimedia memory cards (MMC) ,                parallel such that multiple instructions are retrieved, loaded,
                                                                          parallel such that multiple instructions are retrieved , loaded ,
secure digital (SD) memory cards, SmartMedia cards, Com-
secure digital ( SD ) memory cards, SmartMedia cards , Com-               and/or executed together. Thus, such embodiments can
                                                                          and /or executed together. Thus, such embodiments can
pactFlash (CF) cards, Memory Sticks, and/or the like. Fur-                produce specifically-configured machines performing the
pactFlash ( CF ) cards, Memory Sticks , and / or the like . Fur- 65 produce specifically -configured machines performing the
ther, anon-volatile computer-readable storage medium may
ther, a non - volatile computer -readable storage medium may              steps or operations specified in the block diagrams and
                                                                          steps or operations specified in the block diagrams and
also may
       may include conductive-bridging random access
               include conductive -bridging random access                 flowchart illustrations. Accordingly, the block diagrams and
                                                                          flowchart illustrations. Accordingly, the block diagrams and
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                                                      US 11,036,442 B2
                               9
                               9                                                                       10
                                                                                                       10
flowchart illustrations support various combinations of
flowchart illustrations support various combinations of                    In some embodiments, the computing entity 102 or a
                                                                          In some embodiments, the computing entity 102 or a
embodiments for performing the specified instructions,
embodiments for performing the specified instructions,                  component thereof can be configured to communicate with
                                                                        component thereof can be configured to communicate with
operations, or steps.
operations, or steps .                                                  the printing device 109 to provide instructions and/or data to
                                                              the printing device 109 to provide instructions and / or data to
   FIG. 1provides an overview of asystem 100 that can be
  FIG . 1 provides an overview of a system 100 that can be              the printing device 109. In some embodiments, such as in
                                                              the printing device 109. In some embodiments, such as in
used to practice embodiments of the present invention. In               response to instructions, a gesture, and/or another such
used to practice embodiments of the present invention . In 55 response to instructions, a gesture , and /or another such
some embodiments, the system 100 can include an assistive-
some embodiments, the system 100 can include an assistive-              command from a user, the computing entity 102 or a
                                                                        command from a user , the computing entity 102 or a
selection system 101 comprising a computing entity 102
selection system 101 comprising a computing entity 102                  component thereof can provide asignal or otherwise provide
                                                                        component thereof can provide a signal or otherwise provide
operably coupled to adocument retention device 107 and a
operably coupled to a document retention device 107 and a               acommend to the printing device 109 for the printing device
                                                                a commend to the printing device 109 for the printing device
printing device 109. In some embodiments, the computing
printing device 109. In some embodiments, the computing                 109 to mark the document disposed adjacent the transparent
                                                                109 to mark the document disposed adjacent the transparent
entity 102 can comprise aprocessor 103, amemory 104, and
entity 102 can comprise a processor 103 , a memory 104 , and 10         interface 108A.
                                                             10 interface 108A .
acomputer program code 105 stored on the memory 104. In
a computer program code 105 stored on the memory 104. In                   In some embodiments, the assistive- selection system 101
                                                                   In some embodiments, the assistive - selection system 101
some embodiments
       embodiments,, the computing entity 102 can comprise              interacts with one or more external networks 110 over a            a
a display 106 such that a user can view, modify, delete,
a display 106 such that a user can view , modify, delete,               communication network (not shown). The communication
                                                                        communication network (not shown ). The communication
and/or input data to the computing entity 102.
and / or input data to the computing entity 102 .                       network
                                                                        network may
                                                                                  may include
                                                                                        include any
                                                                                                any wired
                                                                                                     wired or
                                                                                                            or wireless
                                                                                                                wireless communication
                                                                                                                           communication
   In some embodiments, the document retention device 107               network including, for example, a wired or wireless local
  In some embodiments, the document retention device 107 1515 network including, for example, a wired or wireless local
can comprise atransparent interface 108A and/or an engage-
can comprise a transparent interface 108A and / or an engage-           area network (LAN), personal area network (PAN), metro-
                                                                        area network (LAN ), personal area network ( PAN ), metro
ment element 108B. In some embodiments, the document
ment element 108B . In some embodiments, the document                   politan area network (MAN), wide area network (WAN), or
                                                                        politan area network (MAN ), wide area network (WAN ), or
retention device 107 and/or acomponent thereof can be in
retention device 107 and /or a component thereof can be in              the like, as well as any hardware, software and/or firmware
                                                                        the like , as well as any hardware , software and / or firmware
operable communication with the computing entity 102
operable communication with the computing entity 102                    required to implement it (such as, e.g., network routers,
                                                                        required to implement it ( such as , e.g. , network routers ,
and/or the printing device 109. In some embodiments, the
and / or the printing device 109. In some embodiments , the 20
                                                            20          and/or the like).
                                                                        and / or the like) .
document retention device 107 can comprise atransparent
document retention device 107 can comprise a transparent                   In some embodiments, the processor 103 may include one
                                                                          In some embodiments, the processor 103 may include one
interface 108A and an engagement element 108B, and the
interface 108A and an engagement element 108B , and the                 or more microprocessors, central processors, main proces-
                                                                        or more microprocessors , central processors , main proces
document retention device 107 can be operably coupled to
document retention device 107 can be operably coupled to                sors, arithmetic logic units, integrated circuit chips, one or
                                                                        sors , arithmetic logic units , integrated circuit chips , one or
the computing entity 102 and the printing device 109. In
the computing entity 102 and the printing device 109. In                more complex programmable logic devices (CPLDs), multi-
                                                                        more complex programmable logic devices (CPLDs), multi
some embodiments, the document retention device 107 can                 core processors, coprocessing entities, application-specific
some embodiments, the document retention device 107 can 25 core processors , coprocessing entities, application - specific
be operably coupled to the computing entity 102, the com-
be operably coupled to the computing entity 102 , the com-              instruction-set processors (ASIPs), microcontrollers, and/or
                                                                        instruction -set processors (ASIPs ), microcontrollers, and / or
puting entity 102 comprising the transparent interface 108A
puting entity 102 comprising the transparent interface 108A             controllers. Further, the processor 103 may be embodied as
                                                                        controllers. Further, the processor 103 may be embodied as
and/or the engagement element 108B, and the computing
and / or the engagement element 108B , and the computing                one or more other processing devices or circuitry. The term
                                                                        one or more other processing devices or circuitry. The term
entity 102 and the document retention device 107 can be
entity 102 and the document retention device 107 can be                 circuitry may refer to an entirely hardware embodiment or a
                                                                        circuitry may refer to an entirely hardware embodiment or a
operably coupled to the printing device 109. In some
operably coupled to the printing device 109. In some 30     30          combination of hardware and computer program products.
                                                                        combination of hardware and computer program products.
embodiments, the computing entity 102, document retention
embodiments, the computing entity 102 , document retention              Thus, the processor 103 may be embodied as integrated
                                                                        Thus, the processor 103 may be embodied as integrated
device 107, transparent interface 108A, engagement element
device 107 , transparent interface 108A , engagement element            circuits, application specific integrated circuits (ASICs),
                                                                        circuits, application specific integrated circuits (ASICs ) ,
108B, and printing device 109 can be integrated into asingle
108B , and printing device 109 can be integrated into a single          field programmable gate arrays (FPGAs), programmable
                                                                        field programmable gate arrays ( FPGAs ), programmable
apparatus or device. In some embodiments, the transparent
apparatus or device . In some embodiments, the transparent              logic arrays (PLAs), hardware accelerators, other circuitry,
                                                                        logic arrays ( PLAs ) , hardware accelerators, other circuitry ,
interface 108A can be integrated with or acomponent of the
interface 108A can be integrated with or a component of the 35          and/or the like.
                                                            35 and / or the like .

engagement element 108B. In some embodiments, the docu-
engagement element 108B . In some embodiments, the docu-                   In some embodiments, the memory 104 may
                                                                    In some embodiments, the memory 104                  may include one
                                                                                                                          include one
ment retention device 107 can be configured to retain a
ment retention device 107 can be configured to retain a                 or more non-volatile storage or memory media including but
                                                                 or more non - volatile storage or memory media including but
document or any suitable material for recording an input
document or any suitable material for recording an input                not limited to hard disks, ROM, PROM, EPROM,
                                                                 not limited to hard disks, ROM , PROM , EPROM ,
from auser. In some embodiments, the document retention
from a user . In some embodiments , the document retention              EEPROM, flash memory, MMCs, SD memory cards,
                                                                 EEPROM , flash memory, MMCs , SD memory cards,
device 107 can be configured to retain aballot or other such
device 107 can be configured to retain a ballot or other such 40        Memory Sticks, CBRAM, PRAM, FeRAM, NYRAM,
                                                              40 Memory Sticks , CBRAM , PRAM , FeRAM , NVRAM ,

voting material during selection of ballot selections by the
voting material during selection of ballot selections by the            MRAM, RRAM, SONOS, FJG RAM, Millipede memory,
                                                                 MRAM , RRAM , SONOS , FJG RAM , Millipede memory,
user. For instance, the document retention device 107 can be
user . For instance, the document retention device 107 can be           racetrack memory, and/or the like.
                                                                 racetrack memory , and /or the like.
configured to retain adocument such that the document is
configured to retain a document such that the document is                  In some embodiments, the document can be any form,
                                                                    In some embodiments, the document can be any form ,
viewable through the transparent interface 108A. In some
viewable through the transparent interface 108A . In some               written or printed article, textual file, ballot, poll, voting file,
                                                                 written or printed article, textual file, ballot , poll , voting file ,
embodiments, such as when the engagement element 108B                   election document, survey, manuscript, bill, deed, informa-
embodiments , such as when the engagement element 108B 45 election document, survey, manuscript, bill , deed , informa
                                                                  45

is integrated into the transparent interface 108A, adocument
is integrated into the transparent interface 108A , a document          tional form, or any other such physical article to which a
                                                                        tional form , or any other such physical article to which a
may be retained within an inner volume or space of the
may be retained within an inner volume or space of the                  mark can be made or information affected. In some embodi-
                                                                        mark can be made or information affected . In some embodi
document retention device 107 such that the document is
document retention device 107 such that the document is                 ments, the document can be editable by addition to, modi-
                                                                        ments, the document can be editable by addition to , modi
viewable through the transparent interface 108A and such
viewable through the transparent interface 108A and such                fication of, or subtraction from the document. In some
                                                               fication of, or subtraction from the document. In some
that the user can interact with the engagement element 108B
that the user can interact with the engagement element 108B 50          embodiments, the document may comprise or define one or
                                                            50 embodiments, the document may comprise or define one or
in
in relation to
            to or
               or to cause
                     cause aachange to the
                                         the document
                                              document via the
                                                           the          more
                                                                        more fields
                                                                               fields where
                                                                                      where information
                                                                                             information oror an
                                                                                                              an indication
                                                                                                                  indication ofof selection
                                                                                                                                  selection
engagement element 108B. By way of example only, auser
engagement element 108B . By way of example only, a user                can be marked or otherwise recorded. For instance, in an
                                                                        can be marked or otherwise recorded . For instance , in an
can engage with the engagement element 108B of the                      embodiment in which the document is a        a ballot for election
document retention device 107, which may cause another
document retention device 107 , which may cause another                 of apublic official, afirst field can relate to afirst candidate
                                                                of a public official, a first field can relate to a first candidate
device such as the printing device 109, to make achange to
device such as the printing device 109 , to make a change to 55         and a second field can relate to a second candidate, the
                                                             55 and a second field can relate to a second candidate , the
or mark upon the document.
or mark upon the document.                                              document being configured to be marked in response to a
                                                                        document being configured to be marked in response to a
   In some embodiments, the computing entity 102 or a
  In some embodiments, the computing entity 102 or a                    user indication of acandidate. In some embodiments, auser
                                                                        user indication of a candidate . In some embodiments, a user
component thereof can be configured to communicate with
component thereof can be configured to communicate with                 can indicate the first candidate by selecting the first candi-
                                                                        can indicate the first candidate by selecting the first candi
the engagement element 108B such that the user can provide
the engagement element 108B such that the user can provide              date on the engagement element 108B with their finger or a
                                                               date on the engagement element 108B with their finger or a
instructions, inputs, data, gestures, or another indication
instructions, inputs, data, gestures, or another indication 60
                                                            60 stylist. stylist.
indicative of a command to be carried out by another
indicative of a command to be carried out by another                       In general, the terms computing entity, computer, entity,
                                                                  In general, the terms computing entity, computer, entity,
component or element such as the printing device 109. The               device, system, and/or similar words used herein inter-
component or element such as the printing device 109. The device, system , and /or similar words used herein inter
another way, in some embodiments, the user can make a
another way, in some embodiments, the user can make a                   changeably may refer to, for example, one or more com-
                                                              changeably may refer to , for example, one or more com
translational gesture or the like while engaging the engage-            puters, computing entities, desktops, mobile phones, tablets,
translational gesture or the like while engaging the engage- puters , computing entities, desktops, mobile phones , tablets ,
ment element 108B to indicate a selection of afield or an               phablets, notebooks, laptops, distributed systems, kiosks,
ment element 108B to indicate a selection of a field or an 65 phablets, notebooks , laptops, distributed systems , kiosks ,
                                                                   65
option from adrop-down menu, for instance, on the trans-                input terminals, servers or server networks, blades, gate-
option from a drop - down menu , for instance , on the trans- input terminals, servers or server networks, blades , gate
parent interface 108A and/or the display 106.
parent interface 108A and /or the display 106 .                         ways , switches , processing devices, processing entities, set
                                                                        ways, switches, processing devices, processing entities, set-
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                              11
                              11                                                                      12
                                                                                                      12
top boxes, relays, routers, network access points, base
top boxes , relays, routers, network access points, base                readable storage medium using one or more database mod-
                                                                        readable storage medium using one or more database mod
stations, the like, and/or any combination of devices or
stations , the like , and / or any combination of devices or            els, such as ahierarchical database model, network model,
                                                                        els , such as a hierarchical database model , network model ,
entities adapted to perform the functions, operations, and/or
entities adapted to perform the functions, operations, and /or          relational model, entity relationship model, object model,
                                                                        relational model, entity - relationship model , object model ,
processes described herein. Such functions, operations, and/
processes described herein . Such functions, operations, and /          document model, semantic model, graph model, and/or the
                                                                        document model , semantic model, graph model , and /or the
or processes may include, for example, transmitting, receiv-
or processes may include, for example, transmitting, receiv- 5 like .
                                                                   5    like.
ing , operating on , processing, displaying , storing , determin-
ing, operating on, processing, displaying, storing, determin-     In one embodiment, the computing entity 102 may further
                                                                           In one embodiment, the computing entity 102 may further
ing, creating/generating, monitoring, evaluating, comparing,
ing , creating /generating, monitoring, evaluating, comparing,          may include or be in communication with volatile media
                                                                        may include or be in communication with volatile media
and/or similar terms used herein interchangeably. In one
and / or similar terms used herein interchangeably. In one              (also referred to as volatile storage, memory, memory stor-
                                                                        (also referred to as volatile storage , memory, memory stor
embodiment , these functions, operations, and / or processes
embodiment, these functions, operations, and/or processes               age , memory circuitry and /or similar terms used herein
                                                                        age, memory circuitry and/or similar terms used herein
can be performed on data, content, information, and/or                  interchangeably). In one embodiment, the volatile storage or
can be performed on data , content, information , and / or 10 interchangeably ). In one embodiment, the volatile storage or
similar terms used herein interchangeably.
similar terms used herein interchangeably.                              memory may also may include one or more volatile storage
                                                                        memory may also may include one or more volatile storage
   As indicated, in some embodiments, the computing entity
  As indicated , in some embodiments, the computing entity              or memory media, including but not limited to RAM,
                                                                        or memory media, including but not limited to RAM ,
102 may also include one or more communications inter-
102 may also include one or more communications inter-                  DRAM, SRAM, FPM DRAM, EDO DRAM, SDRAM,
                                                                        DRAM , SRAM , FPM DRAM , EDO DRAM , SDRAM ,
faces (not shown) for communicating with various comput-
faces (not shown) for communicating with various comput-                DDR SDRAM, DDR2 SDRAM, DDR3 SDRAM, RDRAM,
                                                                        DDR SDRAM , DDR2 SDRAM , DDR3 SDRAM , RDRAM ,
ing entities, such as by communicating data, content, infor-            TTRAM, T-RAM, Z-RAM, RIMM, DIMM, SIMM,
ing entities, such as by communicating data ,content, infor- 15 VRAM
mation, and/or similar terms used herein interchangeably
mation , and / or similar terms used herein interchangeably
                                                                TTRAM, ,cache
                                                                   15
                                                                           T-RAM , Z -RAM , RIMM, DIMM , SIMM ,
                                                                        VRAM, cache memory, register memory, and/or the like. As
                                                                              memory, register memory , and / or the like . As
that can be transmitted, received, operated on, processed,
that can be transmitted , received , operated on , processed ,          will be recognized, the volatile storage or memory media
                                                                        will be recognized, the volatile storage or memory media
displayed, stored, and/or the like.
displayed , stored , and / or the like.                                 may be used to store at least portions of the databases,
                                                                        may be used to store at least portions of the databases ,
   In some embodiments, the computing entity 102 may
   In some embodiments, the computing entity 102 may          database instances , database management systems , data ,
                                                                        database instances, database management systems, data,
include or be in communication with one or more processing              applications, programs, program modules, scripts, source
include or be in communication with one or more processing 20 applications, programs, program modules, scripts, source
                                                                   20
elements (not shown; also referred to as processors, pro-
elements ( not shown ; also referred to as processors , pro-            code, object code, byte code, compiled code, interpreted
                                                                        code , object code , byte code, compiled code, interpreted
cessing circuitry, and/or similar terms used herein inter-
cessing circuitry, and / or similar terms used herein inter-            code, machine code, executable instructions, and/or the like
                                                                        code , machine code , executable instructions, and / or the like
changeably) that communicate with other elements within
changeably) that communicate with other elements within                 being executed by, for example, the processing element.
                                                                        being executed by, for example, the processing element.
the computing entity 102 via abus, for example. As will be
the computing entity 102 via a bus , for example. As will be            Thus, the databases, database instances, database manage-
                                                                        Thus, the databases , database instances, database manage
understood, the processing element may be embodied in a 25 ment systems, data , applications , programs, program mod
understood, the processing element may be embodied in a
number of different ways. For example, the processing
                                                                   25   ment systems, data, applications, programs, program mod-
                                                                        ules, scripts, source code, object code, byte code, compiled
number of different ways. For example, the processing                   ules , scripts, source code , object code, byte code , compiled
element may be embodied as one or more complex pro-
element may be embodied as one or more complex pro-                     code, interpreted code, machine code, executable instruc-
                                                                        code , interpreted code , machine code, executable instruc
grammable logic devices (CPLDs), microprocessors, multi-
grammable logic devices ( CPLDs ) , microprocessors, multi-             tions, and/or the like may be used to control certain aspects
                                                                        tions , and /or the like may be used to control certain aspects
core processors, coprocessing entities, application-specific
core processors , coprocessing entities, application -specific          of the operation of the computing entity 102 with the
                                                                      of the operation of the computing entity 102 with the
instruction-set processors (ASIPs), microcontrollers, and/or
instruction - set processors (ASIPs ) , microcontrollers, and / or 30   assistance of the processing element and operating system.
                                                                   30 assistance of the processing element and operating system .
controllers. Further, the processing element may be embod-
controllers. Further, the processing element may be embod-                 As indicated, in one embodiment, the computing entity
                                                                          As indicated, in one embodiment, the computing entity
ied as one or more other processing devices or circuitry. The
ied as one or more other processing devices or circuitry. The           102 may also may include one or more communications
                                                                        102 may also may include one or more communications
term circuitry may refer to an entirely hardware embodiment
term circuitry may refer to an entirely hardware embodiment             interfaces (not shown) for communicating with various
                                                                        interfaces ( not shown ) for communicating with various
or acombination of hardware and computer program prod-
or a combination of hardware and computer program prod-                 computing entities, such as by communicating data, content,
                                                                        computing entities, such as by communicating data , content,
ucts. Thus, the processing element may be embodied as                   information, and/or similar terms used herein interchange-
ucts . Thus, the processing element may be embodied as 35 information , and / or similar terms used herein interchange
integrated circuits, application specific integrated circuits
                                                                   35

                                                                        ably that can be transmitted, received, operated on, pro-
integrated circuits , application specific integrated circuits          ably that can be transmitted , received , operated on , pro
(ASICs), field programmable gate arrays (FPGAs), pro-
( ASICs ) , field programmable gate arrays ( FPGAs), pro-               cessed, displayed, stored, and/or the like. Such communi-
                                                                        cessed , displayed , stored , and / or the like . Such communi
grammable logic arrays (PLAs), hardware accelerators,
grammable logic arrays (PLAs ) , hardware accelerators,                 cation may be executed using a wired data transmission
                                                                        cation may be executed using a wired data transmission
other circuitry, and/or the like. As will therefore be under-
other circuitry, and / or the like . As will therefore be under-        protocol, such as fiber distributed data interface (FDDI),
                                                                        protocol, such as fiber distributed data interface (FDDI ) ,
stood, the processing element may be configured for a                   digital subscriber line (DSL), Ethernet, asynchronous trans-
stood , the processing element may be configured for a 40 digital subscriber line (DSL ) , Ethernet, asynchronous trans
                                                                   40

particular use or configured to execute instructions stored in
particular use or configured to execute instructions stored in          fer mode (ATM), frame relay, data over cable service
                                                                        fer mode (ATM ), frame relay, data over cable service
volatile or non-volatile media or otherwise accessible to the
volatile or non - volatile media or otherwise accessible to the         interface specification (DOCSIS), or any other wired trans-
                                                                        interface specification ( DOCSIS ) , or any other wired trans
processing element. As such, whether configured by hard-
processing element. As such , whether configured by hard-               mission protocol. Similarly, the computing entity 102 may
                                                                        mission protocol. Similarly, the computing entity 102 may
ware or computer program products, or by a combination
ware or computer program products, or by a combination                  be configured to communicate via wireless external com-
                                                                        be configured to communicate via wireless external com
thereof, the processing element may be capable of perform-              munication networks using any of a variety of protocols,
thereof, the processing element may be capable of perform- 45 munication networks using any of a variety of protocols ,
ing steps or operations according to embodiments of the
ing steps or operations according to embodiments of the                 such as general packet radio service (GPRS), Universal
                                                                        such as general packet radio service (GPRS ) , Universal
present invention when configured accordingly.
present invention when configured accordingly.                          Mobile Telecommunications System (TJMTS), Code Divi-
                                                                Mobile Telecommunications System (UMTS ), Code Divi
   In one embodiment, the computing entity 102 may further
   In one embodiment, the computing entity 102 may further              sion Multiple Access 2000 (CDMA2000), CDMA2000 lx
                                                                sion Multiple Access 2000 ( CDMA2000 ), CDMA2000 1x
may include or be in communication with non-volatile
may include or be in communication with non - volatile                  (1 xRTT), Wideband Code Division Multiple Access
                                                                ( 1xRTT ), Wideband Code Division Multiple Access
media (also referred to as non-volatile storage, memory,
media ( also referred to as non - volatile storage , memory, 50         (WCDMA), Global System for Mobile Communications
                                                             50 (WCDMA ), Global System for Mobile Communications
memory storage, memory circuitry and/or similar terms used
memory storage , memory circuitry and / or similar terms used           (GSM), Enhanced Data rates for GSM Evolution (EDGE),
                                                                        (GSM) , Enhanced Data rates for GSM Evolution ( EDGE) ,
herein interchangeably). In one embodiment, the non-vola-
herein interchangeably ). In one embodiment, the non -vola-             Time Division-Synchronous Code Division Multiple Access
                                                                        Time Division - Synchronous Code Division Multiple Access
tile storage or memory may include one or more non-volatile
tile storage or memory may include one or more non -volatile            (TD-SCDMA), Long Term Evolution (LTE), Evolved Uni-
                                                                        ( TD - SCDMA ), Long Term Evolution (LTE ), Evolved Uni
storage or memory media (not shown), including but not
storage or memory media (not shown) , including but not                 versal Terrestrial Radio Access Network (E-UTRAN), Evo-
                                                                        versal Terrestrial Radio Access Network ( E -UTRAN ), Evo
limited to hard disks, ROM, PROM, EPROM, EEPROM,
limited to hard disks , ROM , PROM , EPROM , EEPROM , 55                lution-Data Optimized (EVDO), High Speed Packet Access
                                                       55 lution - Data Optimized ( EVDO ) , High Speed Packet Access
flash memory, MMCs, SD memory cards, Memory Sticks,
flash memory , MMCs , SD memory cards, Memory Sticks ,                  (HSPA), High-Speed Downlink Packet Access (HSDPA),
                                                          (HSPA ), High- Speed Downlink Packet Access (HSDPA ),
CBRAM, PRAM, FeRAM, NYRAM, MRAM, RRAM,
CBRAM , PRAM , FRAM , NVRAM , MRAM , RRAM ,                             IEEE 802.11 (Wi-Fi), Wi-Fi Direct, 802.16 (WiMAX), ultra-
                                                                        IEEE 802.11 ( Wi-Fi), Wi-Fi Direct, 802.16 ( WiMAX ), ultra
SONOS, FJG RAM, Millipede memory, racetrack memory,
SONOS , FJG RAM , Millipede memory, racetrack memory ,                  wideband (TJWB), infrared (IR) protocols, near field com-
                                                                        wideband (UWB ), infrared (IR) protocols , near field com
and/or the like. As will be recognized, the non-volatile
and / or the like. As will be recognized, the non - volatile            munication (NFC) protocols, Wibree, Bluetooth protocols,
                                                                munication (NFC ) protocols, Wibree, Bluetooth protocols ,
storage or memory media may store databases, database
storage or memory media may store databases, database 60                wireless universal serial bus (USB) protocols, and/or any
                                                             60 wireless universal serial bus (USB ) protocols , and /or any
instances, database management systems, data, applications,
instances, database management systems , data, applications,            other wireless protocol.
                                                                other wireless protocol .
programs, program modules, scripts, source code, object
programs, program modules, scripts , source code , object                  Although not shown, the computing entity 102 may
                                                                          Although not shown , the computing entity 102 may
code, byte code, compiled code, interpreted code, machine
code , byte code , compiled code , interpreted code , machine           include or be in communication with one or more input
                                                                        include or be in communication with one or more input
code, executable instructions, and/or the like. The term
code , executable instructions, and / or the like . The term            elements, such as akeyboard input, amouse input, atouch
                                                                elements, such as a keyboard input, a mouse input, a touch
database, database instance, database management system,
database , database instance , database management system , 65          screen/display input, motion input, movement input, audio
                                                             65 screen /display input, motion input, movement input, audio
and/or similar terms used herein interchangeably may refer
and / or similar terms used herein interchangeably may refer            input, pointing device input, joystick input, keypad input,
                                                                input, pointing device input, joystick input, keypad input,
to acollection of records or data that is stored in acomputer-
to a collection of records or data that is stored in a computer-        and/or the like. The computing entity 102 may also may
                                                                        and / or the like . The computing entity 102 may also may
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                              13                                                                       14
                                                                                                       14
include or be in communication with one or more output
include or be in communication with one or more output                   the document while the document remains disposed to the
                                                              the document while the document remains disposed to the
elements (not shown), such as audio output, video output,
elements (not shown ), such as audio output , video output,              inner space defined by at least the first and second surfaces
                                                              inner space defined by at least the first and second surfaces
screen/display output, motion output, movement output,
screen /display output, motion output, movement output,                  of the document retention device 107. In some embodi-
                                                              of the document retention device 107. In some embodi
and/or        like..
and / or the like                                                        ments, the printing device 109 can be at least partly disposed
                                                              ments, the printing device 109 can be at least partly disposed
   In some embodiments, the transparent interface 108A and               within the inner space of the document retention device 107.
   In some embodiments, the transparent interface 108A and 55 within the inner space of the document retention device 107 .
the engagement element 108B can be components of a
the engagement element 108B can be components of a                       In some embodiments, the printing device 109 can be
                                                              In some embodiments, the printing device 109 can be
transparent interactive display, such as the document reten-
transparent interactive display, such as the document reten-             coupled to or at least partly disposed within the first surface
                                                                         coupled to or at least partly disposed within the first surface
tion device 10. In some embodiments, the document reten-
tion device 10. In some embodiments, the document reten-                 of the document retention device 107. In some embodi-
                                                                         of the document retention device 107. In some embodi
tion device 107 can include afirst surface spaced adistance
tion device 107 can include a first surface spaced a distance            ments, the engagement element 108B can be disposed on or
                                                                 ments, the engagement element 108B can be disposed on or
from asecond surface and defining an inner space. In some
from a second surface and defining an inner space . In some 10           an integral part of athird surface of the document retention
                                                              10 an integral part of a third surface of the document retention
embodiments, the surfaces of the document retention device
embodiments, the surfaces of the document retention device               device 107 opposite the first surface. In some embodiments,
                                                                 device 107 opposite the first surface . In some embodiments,
107 can be configured to retain adocument or other such
107 can be configured to retain a document or other such                 the first surface can be the transparent interface 108A and the
                                                                 the first surface can be the transparent interface 108A and the
material within the inner space. In some embodiments, the
material within the inner space . In some embodiments, the               third surface can be the engagement element 108B.
                                                                 third surface can be the engagement element 108B .
first surface can be at least partially transparent or translu-
first surface can be at least partially transparent or translu-             In some embodiments, the engagement element 108B
                                                                           In some embodiments , the engagement element 108B
cent such that adocument disposed within the inner space of              (such as the transparent interactive display) can be config-
cent such that a document disposed within the inner space of 15 ( such as the transparent interactive display ) can be config
                                                                    15
the document retention device 107 can be visible there-
the document retention device 107 can be visible there-                  ured to display information such as one or more fields, ballot
                                                                         ured to display information such as one or more fields, ballot
through. In some embodiments, the first surface can also
through. In some embodiments, the first surface can also                 information, bar codes, serial numbers, demographic infor-
                                                                         information, bar codes , serial numbers, demographic infor
comprise an interactive portion, such as the engagement
comprise an interactive portion , such as the engagement                 mation related to the user, information related to the docu-
                                                                         mation related to the user, information related to the docu
element 10813, that can be digitally engaged, gesturally
element 108B , that can be digitally engaged, gesturally                 ment and one or more selections that can be made by
                                                                     ment and one or more selections that can be made by
engaged, operably engaged, or otherwise engaged such that
engaged , operably engaged, or otherwise engaged such that 20            marking the document, or the like. In some embodiments,
                                                                  20 marking the document, or the like . In some embodiments,
acommand, indication, information, or the like can be input
a command, indication , information, or the like can be input            the engagement element 108B can be configured to present
                                                                     the engagement element 108B can be configured to present
to, indicated to, communicated to, or transmitted to the
to , indicated to , communicated to , or transmitted to the              an augmented reality representation of at least aportion of
                                                                     an augmented reality representation of at least a portion of
interactive portion. In other words, a document can be
interactive portion . In other words, a document can be                  the document or another similar representation to the user. In
                                                                     the document or another similar representation to the user . In
disposed, e.g., slidably disposed, into the inner space of the
disposed , e.g. , slidably disposed , into the inner space of the        some embodiments, the transparent interactive display or
                                                                     some embodiments, the transparent interactive display or
document retention device 107, the user can make aselec-                 engagement element 108B can comprise a transparent or
document retention device 107 , the user can make a selec- 25 engagement element 108B can comprise a transparent or
tion or input information via the engagement element 108B
tion or input information via the engagement element 108B                partially transparent liquid crystal display (LCD) screen, a
                                                                     partially transparent liquid crystal display (LCD ) screen , a
or other similar components, and the document retention
or other similar components , and the document retention                 transparent or partially transparent organic light emitting
                                                                         transparent or partially transparent organic light emitting
device 107
device     107 can
                can cause   the selection
                     cause the  selection or  information to
                                          or information    to be
                                                               be        diode
                                                                         diode (OLED)
                                                                                 (OLED ) screen,
                                                                                           screen , or
                                                                                                    or the
                                                                                                       the like.
                                                                                                           like . In
                                                                                                                  In some
                                                                                                                     some embodiments,
                                                                                                                          embodiments , the
                                                                                                                                        the
printed on or input to the document, such as via the printing
printed on or input to the document, such as via the printing            transparent or partially transparent screen can comprise a
                                                           transparent or partially transparent screen can comprise a
device
device 109.
          109 .                                                          resistive substrate operable to detect voltage changes due to
                                                        30 resistive substrate operable to detect voltage changes due to
                                                                    30

   In some embodiments, the computing entity 102 can be
  In some embodiments , the computing entity 102 can be                  auser engaging the resistive substrate with afinger, stylist,
                                                           a user engaging the resistive substrate with a finger, stylist,
operably coupled to the printing device 109 such that the
operably coupled to the printing device 109 such that the                or the like. In some embodiments, the transparent or par-
                                                                         or the like . In some embodiments , the transparent or par
computing entity 102 can cause the printing device 109 to
computing entity 102 can cause the printing device 109 to                tially transparent screen can comprise a surface acoustic
                                                                    tially transparent screen can comprise a surface acoustic
print aselection or information onto the document, such as
print a selection or information onto the document, such as              wave substrate operable to detect changes, due to a user
                                                                    wave substrate operable to detect changes , due to a user
in aparticular field of the document. In some embodiments,
in a particular field of the document. In some embodiments, 35           engaging the resistive substrate with afinger, stylist, or the
                                                                 35 engaging the resistive substrate with a finger, stylist, or the

the printing device 109 can be caused to print afirst selection
the printing device 109 can be caused to print a first selection         like, to an ultrasonic or acoustic wave being passed across
                                                                    like , to an ultrasonic or acoustic wave being passed across
or aa first
      first information
            information onto
                         onto the
                              the document after
                                            after the user makes         the
                                                                         the substrate.
                                                                               substrate . In
                                                                                           In some
                                                                                               some embodiments,
                                                                                                       embodiments , thethe transparent
                                                                                                                             transparent or
                                                                                                                                         or
the first selection or inputs the first information via the
the first selection or inputs the first information via the              partially transparent screen can comprise acapacitive sub-
                                                                         partially transparent screen can comprise a capacitive sub
engagement element 10813, such as within apredetermined
engagement element 108B , such as within a predetermined                 strate operable to detect changes, due to auser engaging the
                                                                    strate operable to detect changes, due to a user engaging the
time of the user making the first selection or inputting the
time of the user making the first selection or inputting the 40          resistive substrate with a finger, stylist, or the like, to an
                                                                 40 resistive substrate with a finger, stylist, or the like, to an

first information, the user subsequently makes a second                  electrostatic field, measured as achange in capacitance, of
first information , the user subsequently makes a second electrostatic field , measured as a change in capacitance, of
selection or inputs second information, and the printing
selection or inputs second information , and the printing                the resistive substrate. In some embodiments, the transparent
                                                                    the resistive substrate . In some embodiments, the transparent
device 109 can be caused to print the second selection or the
device 109 can be caused to print the second selection or the            or partially transparent screen can comprise ainfrared grid
                                                                    or partially transparent screen can comprise a infrared grid
second information to the document in response to the user               operable to detect disruptions to a pattern of LED beams
second information to the document in response to the user operable to detect disruptions to a pattern of LED beams
making the second selection or inputting the second infor-               receivable by photodetectors, due to a user engaging the
making the second selection or inputting the second infor- 45 receivable by photodetectors , due to a user engaging the
mation. In other words, the printing device 109 can be
mation . In other words , the printing device 109 can be                 infrared grid with a finger, stylist, or the like. In some
                                                                    infrared grid with a finger, stylist , or the like . In some
caused to print input selections or information in real-time or
caused to print input selections or information in real -time or         embodiments, the transparent or partially transparent screen
                                                                    embodiments, the transparent or partially transparent screen
near real-time following the user inputting the information
near real - time following the user inputting the information            can comprise an infrared acrylic projection touchscreen, an
                                                                    can comprise an infrared acrylic projection touchscreen, an
or making the selection. In some embodiments, the printing
or making the selection . In some embodiments, the printing              optical imaging touchscreen, an optical imaging touch-
                                                                         optical imaging touchscreen, an optical imaging touch
device 109 can be caused to print after two or more
device 109 can be caused to print after two or more 50                   screen, a dispersive signal technology, an acoustic pulse
                                                               50 screen , a dispersive signal technology, an acoustic pulse
selections or inputs from the user. In other words, in some
selections or inputs from the user . In other words, in some             recognition, or another such equipment or device.
                                                                  recognition, or another such equipment or device.
embodiments, the printing device 109 can be caused to print
embodiments, the printing device 109 can be caused to print                 In some embodiments, the engagement element 108B can
                                                                     In some embodiments, the engagement element 108B can
after every selection or input from the user or can wait until
after every selection or input from the user or can wait until           be operably coupled to the computing entity 102 or a
                                                                  be operably coupled to the computing entity 102 or a
multiple selections or inputs from the user before printing all
multiple selections or inputs from the user before printing all          component thereof, e.g., the processor 103, such that when
                                                                         component thereof, e.g. , the processor 103 , such that when
selections or inputs on the document. In some embodiments, 55 the user engages the engagement element 108B , the engage
selections or inputs on the document. In some embodiments,
the computing entity 102 can be configured to cause the
                                                                    55   the user engages the engagement element 10813, the engage-
                                                                         ment element 108B can transmit information indicative of
printing device 109 to print selections or information onto
printing device 109 to print selections or information onto              the user's engagement of the engagement element 108B to
                                                                         the user's engagement of the engagement element 108B to
the document based on inputs or selections made by the user
the document based on inputs or selections made by the user              the computing entity 102 or acomponent thereof. In some
                                                                         the computing entity 102 or a component thereof. In some
through operable engagement of the engagement element
through operable engagement of the engagement element                    embodiments, the memory 104 can be configured to, with
                                                                         embodiments, the memory 104 can be configured to , with
108B.
108B .                                                                   the processor 103 and using the computer program code 105,
                                                                    60 the processor 103 and using the computer program code 105 ,
                                                                    60
   In some embodiments, the printing device 109 can be
   In some embodiments, the printing device 109 can be                   receive an indication that auser has engaged the engagement
                                                                         receive an indication that a user has engaged the engagement
interoperable with the document retention device 107 such
interoperable with the document retention device 107 such                element 108B in a particular area or portion, or in a
                                                                         element 108B in a particular area or portion , or in a
that the user can engage the engagement element 108B or
that the user can engage the engagement element 108B or                  particular manner. In other words, the engagement element
                                                                 particular manner . In other words , the engagement element
other such components of the assistive-selection system 101
other such components of the assistive - selection system 101            108B or another such component of the document retention
                                                                 108B or another such component of the document retention
without disruption of the printing being carried out by the
without disruption of the printing being carried out by the 65           device 107 can be configured such that the user can make a
                                                              65 device 107 can be configured such that the user can make a
printing device 109. In some embodiments, the printing
printing device 109. In some embodiments, the printing                   selection on aform or document or print information onto
                                                                 selection on a form or document or print information onto
device 109 can be configured to print onto or otherwise mark             the form or document by operably engaging the engagement
device 109 can be configured to print onto or otherwise mark the form or document by operably engaging the engagement
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                              15
                              15                                                                       16
                                                                                                       16
element 108B or other such component. In some embodi-
element 108B or other such component. In some embodi-                      In some embodiments, the computing entity 102 may be
                                                                          In some embodiments, the computing entity 102 may be
ments, the user can operably engage the engagement ele-
ments, the user can operably engage the engagement ele-                 configured to perform a process 20 in accordance with the
                                                                        configured to perform aprocess 20 in accordance with the
ment 108B by touching the engagement element 108B with
ment 108B by touching the engagement element 108B with                  various steps/operations depicted in FIG. 2. The process 20
                                                                        various steps /operations depicted in FIG . 2. The process 20
one or more fingers, astylus, marking tool, pen, active pen,
one or more fingers, a stylus , marking tool , pen, active pen ,        depicted in FIG. 2 comprises receiving, by the computing
                                                                        depicted in FIG . 2 comprises receiving, by the computing
positional pen, capacitive pen, or the like. In some embodi-            entity 102, in response to agesture or other such engagement
positional pen, capacitive pen, or the like . In some embodi- 55 entity 102 , in response to a gesture or other such engagement
ments, engagement of the engagement element 108B or
ments , engagement of the engagement element 108B or                    or input by a user, an indication related to a region of a
                                                                        or input by a user, an indication related to a region of a
another such component by the user can cause generation of
another such component by the user can cause generation of              transparent interactive display, at 21. In some embodiments,
                                                                        transparent interactive display, at 21. In some embodiments,
atouch control signal, and the touch control signal can be
a touch control signal , and the touch control signal can be            the region of the interactive display can correspond to a
                                                                        the region of the interactive display can correspond to a
sent to the computing entity 102 or acomponent thereof. In
sent to the computing entity 102 or a component thereof. In             region of a document that is viewable by the user and
                                                                        region of a document that is viewable by the user and
some embodiments, upon receiving the touch control signal
some embodiments, upon receiving the touch control signal 10            corresponds, e.g., spatially, to the transparent interactive
                                                                        corresponds, e.g. , spatially, to the transparent interactive
associated with the user's engagement of the engagement
associated with the user's engagement of the engagement                 display. In some embodiments, the document can be view-
                                                                        display . In some embodiments, the document can be view
element 108B, the computing entity 102 can cause the
element 108B , the computing entity 102 can cause the                   able by the user through the transparent interactive display.
                                                                        able by the user through the transparent interactive display.
printing device 109 to print an appropriate corresponding
printing device 109 to print an appropriate corresponding                  The process 20 is further depicted in FIG. 2as comprising
                                                                          The process 20 is further depicted in FIG . 2 as comprising
selection
selection or information
              information onto
                            onto the  document..
                                  the document                          determining, using the computing entity 102, based at least
                                                                        determining, using the computing entity 102 , based at least
   In some embodiments, the document can be subdivided                  upon the indication, one or more fields of the document
  In some embodiments, the document can be subdivided 1515 upon the indication , one or more fields of the document
into one, two or more portions and one or more fields in
into one , two or more portions and one or more fields in               associated with the indication and input information asso-
                                                                        associated with the indication and input information asso
which aselection can be made and/or information input. For
which a selection can be made and / or information input. For           ciated with the one or more fields of the document, at 22. In
                                                                        ciated with the one or more fields of the document, at 22. In
instance, in some embodiments, the document can be a
instance, in some embodiments , the document can be a                   other words, the computing entity 102 can be configured to
                                                                        other words, the computing entity 102 can be configured to
ballot
ballot for
       for aafirst
             first election
                   election or
                            or contest and aasecond
                                             second election or
                                                             or         review
                                                                        review a a document,
                                                                                   document, e.g.,
                                                                                                e.g. , a
                                                                                                       a document
                                                                                                         document disposed
                                                                                                                      disposed adjacent
                                                                                                                               adjacent the
                                                                                                                                         the
contest, and the document can comprise afirst field associ-
contest, and the document can comprise a first field associ- 20         transparent interactive display on a side opposite the user,
                                                             20 transparent interactive display on a side opposite the user ,
ated with the
            the first election or contest and
                                            and aa second field
                                                          field         identify
                                                                        identify one
                                                                                  one or
                                                                                       or more
                                                                                          more regions
                                                                                                 regions ofof the
                                                                                                              the document
                                                                                                                    document and/or
                                                                                                                              and /or one
                                                                                                                                      one or
                                                                                                                                          or
associated with the second election or contest. In some
associated with the second election or contest. In some                 more fields on the document, and determine what informa-
                                                                        more fields on the document, and determine what informa
embodiments, the document can be associated with aplu-
embodiments , the document can be associated with a plu-                tion can be input to the fields. For instance, in some
                                                                        tion can be input to the fields. For instance , in some
rality of contests, such as two, three, four, five, or more
rality of contests , such as two , three, four, five , or more          embodiments, the computing entity 102 can determine the
                                                                        embodiments, the computing entity 102 can determine the
contests. In some embodiments, each of the plurality of                 contents of the document based upon any information con-
contests . In some embodiments, each of the plurality of 25 contents of the document based upon any information con
                                                                   25
contests can comprise one or more candidates, such as two,
contests can comprise one or more candidates, such as two,              tained on the document, based upon an indication or gesture
                                                                        tained on the document, based upon an indication or gesture
three, four, five or more candidates, from which the user can
three , four, five or more candidates, from which the user can          or the like from the voter, and/or based upon metadata
                                                                        or the like from the voter, and / or based upon metadata
select at least one candidate. In some embodiments, the user
select at least one candidate. In some embodiments , the user           associated with the document and provided to and/or
                                                                        associated with the document and provided to and /or
can engage the engagement element 108B in a particular
can engage the engagement element 108B in a particular                  received by the computing entity 102.
                                                                        received by the computing entity 102 .
location or region or portion associated with a particular
location or region or portion associated with a particular 30
                                                           30              The process 20 is further depicted in FIG. 2as comprising
                                                                          The process 20 is further depicted in FIG . 2 as comprising
candidate of the plurality of candidates in order to select the
candidate of the plurality of candidates in order to select the         transmitting, using the computing entity 102, asignal indica-
                                                                        transmitting , using the computing entity 102, a signal indica
particular candidate, and the engagement by the user can
particular candidate, and the engagement by the user can                tive of the one or more fields of the document and the input
                                                                        tive of the one or more fields of the document and the input
cause the engagement element 108B to generate and trans-
cause the engagement element 108B to generate and trans-                information to a printing device, at 23. In some embodi-
                                                                        information to a printing device, at 23. In some embodi
mit the touch control signal or the like to the computing
mit the touch control signal or the like to the computing               ments, the computing entity 102 can also transmit input
                                                              ments, the computing entity 102 can also transmit input
entity 102 or acomponent thereof, the computer entity 102
entity 102 or a component thereof, the computer entity 102 35           information to aprinting device. In some embodiments, the
                                                           35 information to a printing device . In some embodiments , the

or component thereof configured to interpret the touch
or component thereof configured to interpret the touch                  printing device can be configured to print the input infor-
                                                                        printing device can be configured to print the input infor
control signal and to interpret the the user's selection based          mation
                                                                        mation inin the
                                                                                    the one
                                                                                         one or
                                                                                              or more
                                                                                                 more fields
                                                                                                         fields of
                                                                                                                of the
                                                                                                                     the document.
                                                                                                                         document.
upon the user's engagement of the engagement element
upon the user's engagement of the engagement element                       The process 20 is further depicted in FIG. 2as, optionally,
                                                                   The process 20 is further depicted in FIG . 2 as , optionally,
108B and to cause the printing device 109 to mark the user's
108B and to cause the printing device 109 to mark the user's            comprising causing, using the computing entity 102, the
                                                                comprising causing, using the computing entity 102 , the
selection for the particular contest on the document in the
selection for the particular contest on the document in the 40          printing device to print the input information in the one or
                                                             40 printing device to print the input information in the one or

field associated with that particular contest.
field associated with that particular contest .                         more
                                                                        more fields
                                                                               fields of
                                                                                      of the
                                                                                          the document,
                                                                                              document, at  at 24.
                                                                                                               24 .
   In some
   In        embodiments,, the
      some embodiments        the document   can be
                                  document can   be subdivided
                                                    subdivided             As
                                                                           As illustrated
                                                                               illustrated in
                                                                                            in FIGS.
                                                                                                FIGS . 3A-3C,
                                                                                                         3A - 3C , the
                                                                                                                    the document
                                                                                                                        document retention
                                                                                                                                   retention
by markings or other indicia present on the document or by
by markings or other indicia present on the document or by              device 107 is illustrated, according to an embodiment of the
                                                                        device 107 is illustrated, according to an embodiment of the
relative spatial assignments of subdivisions and correspond-
relative spatial assignments of subdivisions and correspond-            present invention. In some embodiments, the document
                                                                        present invention . In some embodiments, the document
ing regions determined by the computing entity 102 or a
ing regions determined by the computing entity 102 or a 45              retention device 107 can be configured such that adocument
                                                                45 retention device 107 can be configured such that a document

component thereof. In other words, in some embodiments
component thereof. In other words , in some embodiments                 such as described herein can be disposed within an inner
                                                                   such as described herein can be disposed within an inner
the document initially comprises one or more contests and
the document initially comprises one or more contests and               space of the document retention device 107. In some
                                                                   space of the document retention device 107. In some
corresponding fields for the user to select acandidate, input
corresponding fields for the user to select a candidate , input         embodiments, the document can be slidably disposed within
                                                                   embodiments, the document can be slidably disposed within
acandidate, or otherwise indicate the user's selection for the
a candidate, or otherwise indicate the user's selection for the         the inner space such that a front side of the document is
                                                                   the inner space such that a front side of the document is
corresponding contest, and user selection of acandidate can
corresponding contest, and user selection of a candidate can 50         visible through the engagement element 108B and retained
                                                                50 visible through the engagement element 108B and retained
cause the printing device 109 or other suitable device to
cause the printing device 109 or other suitable device to               within the inner space at least in part by the transparent
                                                                        within the inner space at least in part by the transparent
mark or print the user's selection into the corresponding
mark or print the user's selection into the corresponding               interface 108A and/or the engagement element 108B. In
                                                                        interface 108A and / or the engagement element 108B . In
field of the document. In other embodiments, the document
field of the document. In other embodiments, the document               some embodiments, such as illustrated in FIG. 4, the trans-
                                                                        some embodiments, such as illustrated in FIG . 4 , the trans
can be initially blank and as the user selects acontest and
can be initially blank and as the user selects a contest and            parent interface 108A and/or the engagement element 108B
                                                                parent interface 108A and / or the engagement element 108B
subsequently indicates their selected candidate for the
subsequently indicates their selected candidate for the 55              can be caused to present information viewable by the user,
                                                             55 can be caused to present information viewable by the user,
selected contest, the computing entity 102 can be configured
selected contest, the computing entity 102 can be configured            such as information related to asurvey, ballot, application,
                                                                such as information related to a survey , ballot , application ,
to cause the printing device 109 or other suitable device to
to cause the printing device 109 or other suitable device to            or the like. By way of example only, in some embodiments,
                                                                or the like . By way of example only, in some embodiments,
mark, print, or otherwise indicate the selected context and
mark , print, or otherwise indicate the selected context and            the computing entity 102 can communicate information
                                                                the computing entity 102 can communicate information
selected
selected candidate
          candidate for the
                         the selected contest on
                                              on the document.
                                                     document.          related
                                                                        related to
                                                                                 to the
                                                                                    the document
                                                                                         document to   to the
                                                                                                          the transparent
                                                                                                               transparent interface
                                                                                                                            interface 108A
                                                                                                                                       108A
The another way, the user touches or otherwise indicates a
The another way, the user touches or otherwise indicates a 60           and/or the engagement element 108B and the transparent
                                                           60 and / or the engagement element 108B and the transparent
contest and/or indicates aselected candidate, the computing
contest and / or indicates a selected candidate , the computing         interface 108A and/or the engagement element 108B can be
                                                                        interface 108A and / or the engagement element 108B can be
entity 102 interprets the user's touch engagement of the
entity 102 interprets the user's touch engagement of the                caused to present the information to the user in visual form.
                                                                        caused to present the information to the user in visual form .
engagement element 108B and sends asignal indicative of
engagement element 108B and sends a signal indicative of                In some embodiments, the information can comprise one or
                                                                        In some embodiments, the information can comprise one or
aprinting or other such marking command to the printing
a printing or other such marking command to the printing                more fields such as aparticular electoral contest or the like,
                                                                   more fields such as a particular electoral contest or the like,
device 109, and the printing device 109 is caused to print the
device 109 , and the printing device 109 is caused to print the 65      and the user can select acontest by engaging the transparent
                                                                65 and the user can select a contest by engaging the transparent
contest and/or the selected candidate on the document, such
contest and /or the selected candidate on the document, such            interface 108A and/or the engagement element 108B the
                                                                   interface 108A and /or the engagement element 108B the
as in adesignated field, region, or portion of the document.
as in a designated field , region, or portion of the document.          transparent interface 108A and/or the engagement element
                                                                        transparent interface 108A and / or the engagement element
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                               17                                                                      18
                                                                                                       18
108B in aregion or area associated with the contest. By way
108B in a region or area associated with the contest. By way               system 101, carrying out other processes or procedures as
                                                                           system 101 , carrying out other processes or procedures as
of example only, as illustrated in FIG. 313, the user can select
of example only, as illustrated in FIG . 3B , the user can select          required to complete the voting process, and securing the
                                                                           required to complete the voting process , and securing the
a
a U.S. Senate contest by touching with their finger the region             ballot in paper form.
                                                                           ballot in paper form .
of the transparent interface 108A and and/or
                                           /or the engagement                 In some embodiments, the assistive-selection system,
                                                                              In some embodiments , the assistive - selection system ,
                                                                           such as the assistive-selection system 101 described herein
element 108B associated with the U.S. Senate contest, 5 such as the assistive - selection system 101 described herein
element 108B associated with the U.S. Senate contest,                 5

                                                                           can be configured such that the user's (e.g., the voter's)
                                               and/or
which can cause the transparent interface 108A and / or the                can be configured such that the user's ( e.g. , the voter’s )
engagement element 108B to transmit asignal to the com-                    selections
                                                                           selections and/or
                                                                                        and / or information
                                                                                                  information indicated
                                                                                                               indicated onon the
                                                                                                                              the document
                                                                                                                                   document
engagement element 108B to transmit a signal to the com                    through marking of the document, can be stored digitally as
                                                                           through marking of the document, can be stored digitally as
puting entity 102 indicative of the user's touch selection of
puting entity 102 indicative of the user's touch selection of              voter selection information, for example on a memory
                                                                           voter selection information, for example on a memory
the U.S.
    U.S. Senate
         Senate contest.
                contest. The
                         The computing
                             computing entity 102 can
                                                  can then                 device such as the memory 104. In some embodiments, the
transmit information about the candidate for the selected 10 device
transmit information about the candidate for the selected            such as the memory 104. In some embodiments, the
                                                                      10

                                                                           assistive-selection system 101 can be further configured to
                                                             assistive - selection system 101 can be further configured to
contest to the transparent interface 108A and/or the engage-
contest to the transparent interface 108A and / or the engage              communicate with and/or transmit voter selection informa-
                                                                           communicate with and / or transmit voter selection informa
ment element 108B and the transparent interface 108A
ment element 108B and the transparent interface 108A                       tion
                                                                           tion or
                                                                                or the
                                                                                   the like
                                                                                       like to
                                                                                            to the
                                                                                                the one
                                                                                                    one or
                                                                                                         or more
                                                                                                            more external
                                                                                                                 external networks
                                                                                                                          networks 110
                                                                                                                                    110 such
                                                                                                                                        such
and/or
and / or the
         the engagement
             engagement element
                        element 108B can
                                     can be
                                         be caused to
                                                   to                      that voter selection information from disparate polling loca-
                                                                           that voter selection information from disparate polling loca
present the candidates associated with the contest on the
present the interface
            candidates108A
transparent interface
                        associated
                            and/or
                            and
                                     with the contestelement
                                                      on the 15 tions can be collated to a central server or other suitable
                                / or the engagement element
                                                                      15   tions can be collated to a central server or other suitable
                                                                           storage and processing center. In some embodiments, the
                                                                           storage and processing center. In some embodiments, the
108B. The user can then select one or more of the candidates
108B . The user can then select one or more of the candidates              assistive-selection system 101 can further comprise imaging
                                                                           assistive - selection system 101 can further comprise imaging
associated with the selected contest, which causes the trans-
associated with the selected contest, which causes the trans               and/or camera devices suitable to capture an image of the
                                                                           and / or camera devices suitable to capture an image of the
parent interface 108A and/or the engagement element 108B
parent interface 108A and / or the engagement element 108B                 document once the user has input all selections and/or
                                                                           document once the user has input all selections and / or
toto transmit the user's
     transmit the user's subsequent
                         subsequent selection
                                    selection of the one
                                              of the one or                printed any suitable information on the document such that
                                                         or 20 printed any suitable information on the document such that
                                                                      20

more candidates to
                to the computing        102,, the computing
                       computing entity 102       computing                adigital image of the finished document can be stored and/or
                                                                        a digital image of the finished document can be stored and /or
entity
entity 102 then causing
                causing the printing
                            printing device
                                     device 109 to print
                                                     print or
                                                           or              transmitted, such as by the computing entity 102 or a
                                                                        transmitted, such as by the computing entity 102 or a
otherwise
otherwise mark the the document
                        document withwith the user's
                                                 user's candidate          component thereof.
                                                                        component thereof.
selection and/or
          and /or the associated contest
                                   contest,, as illustrated in FIG.
                                                               FIG .          Referring now to FIG. 5, asystem 200 can be provided
                                                                           Referring now to FIG . 5 , a system 200 can be provided
3C..
3C                                                                         that comprises acomputing entity 202, adocument retention
                                                                     25 that comprises a computing entity 202 , a document retention
   Referring now to FIG.
                      FIG . 4,
                            4, a
                               a process 30 for assisting a  a user        device 207, a printing device 209 configured to print ink
                                                                        device 207 , a printing device 209 configured to print ink
in                                                                         onto aphysical document 212, and agaze tracking system
                                                                        onto a physical document 212 , and a gaze tracking system
in voting at
          at a
             a polling location can bebe carried
                                         carried out
                                                   out with
                                                       with the use        214. The computing entity 202 can be similar to or the same
of the system
of the system 100
                100 comprising
                    comprising thethe assistive-selection
                                      assistive - selection system
                                                            system      214. The computing entity 202 can be similar to or the same
101.                                                                       as the computing entity 102 described above with regard to
                                                                        as the computing entity 102 described above with regard to
101. In
      In some embodiments,
                embodiments, thethe process 30 30 can comprise a  a        FIG. 1. Likewise, the document retention device 207 can be
voter being escorted to an assistive-selection system 101 at 30 FIG. 1. Likewise, the document retention device 207 can be
voter being escorted to an assistive-selection system 101 at
a polling location,
                                                                      30

                                                                           similar
                                                                           similar to
                                                                                    to or
                                                                                       or the
                                                                                          the same
                                                                                               same asas the
                                                                                                         the document
                                                                                                             document retention
                                                                                                                       retention device
                                                                                                                                  device 107
                                                                                                                                         107
a polling location , at 31. In
                     at 31.     some embodiments
                            In some    embodiments,, the
                                                       the process
                                                           process
                                                                           described above with regard to FIG. 1. Furthermore, the
                                                                           described above with regard to FIG . 1. Furthermore, the
30 can
    can further
         further comprise
                 comprise the useruser or aa poll worker
                                                   worker at the
                                                               the         printing device 209 can be similar to or the same as the
                                                                           printing device 209 can be similar to or the same as the
polling location
polling location initiating
                 initiating aaballot
                               ballot process,  such as
                                      process , such as a software
                                                        a software         printing device 109 described above with regard to FIG. 1.
                                                                           printing device 109 described above with regard to FIG . 1 .
program or the like, on the assistive-selection system 101, at
program
32.
         or theembodiments
    In some
32. In
                 like, on the,assistive
       some embodiments,
                                        -selection
                               the process
                               the process 3030 can
                                                   system 101com
                                                can further
                                                              , at 35 As such, at least some elements, features, and functions of
                                                    further com-
                                                                      35   As such, at least some elements, features, and functions of
                                                                           the computing entity 202, document retention device 207,
                                                                           the computing entity 202 , document retention device 207 ,
prise avoter selecting a contest and then selecting one or
prise a voter selecting a contest and then selecting one or                and printing device 209 are not described in further detail
                                                                           and printing device 209 are not described in further detail
more candidates
       candidates on the engagement elementelement 108B
                                                   108B of the
                                                            the            herein, and should be considered identical or substantially
                                                                           herein , and should be considered identical or substantially
assistive-selection
assistive - selection system 101,, at
                      system 101   at 33. In some
                                      33. In some embodiments,
                                                  embodiments ,            similar, respectively, to the computing entity 102, document
                                                                           similar, respectively , to the computing entity 102 , document
the process
the process 30 can further
            30 can further comprise
                           comprise printing
                                    printing,, using
                                               using the
                                                     the 40 retention device 107 , and printing device 109 unless explic
                                                                      40   retention device 107, and printing device 109 unless explic-
printing device
printing device 109,
                109 , the
                      the selected
                           selected contest
                                    contest and    selected one
                                              and selected   one or
                                                                 or        itly described differently.
                                                                           itly described differently.
more candidates
more  candidates on  the ballot
                 on the   ballot (e.g.,  the document
                                 (e.g. , the document),), at
                                                          at 34.
                                                             34. In
                                                                 In           In some embodiments, the gaze tracking system 214 can
                                                                              In some embodiments, the gaze tracking system 214 can
some  embodiments,, the process
some embodiments          process 30 can can further comprise
                                                     comprise the
                                                                the        be used to verify that the user, e.g., avoter, has viewed the
                                                                           be used to verify that the user, e.g. , a voter, has viewed the
voter visually confirming
voter visually              that the
                confirming that  the contest
                                     contest and
                                              and candidate
                                                   candidate               information printed on the physical document 212, e.g.,
                                                                information printed on the physical document 212 , e.g. ,
printed on
        on the ballot
               ballot properly
                      properly correspond
                               correspond to
                                          to the contest and               ballot. According to some embodiments of the system 200,
                                                         and 45 ballot . According to some embodiments of the system 200 ,
candidate the
candidate   the user    previously selected,
                 user previously     selected , atat 35.
                                                     35. In
                                                          In some
                                                              some         the document retention device 207 can comprise atranspar-
                                                                           the document retention device 207 can comprise a transpar
embodiments,
embodiments, in in an
                   an instance   in which
                       instance in  which the
                                           the voter
                                                voter determines
                                                        determines         ent interactive printing interface (TIPI). In some embodi-
                                                                           ent interactive printing interface ( TIPI ) . In some embodi
that the contest
that the contest and/or
                 and / or candidate printed on
                          candidate printed on the
                                                 the ballot  do not
                                                      ballot do not        ments, the printing device 209 can be positioned behind the
                                                                           ments, the printing device 209 can be positioned behind the
correspond with the contest and and candidate selected by the              TIPI. In some embodiments, the gaze tracking system 214
                                                                           TIPI . In some embodiments, the gaze tracking system 214
user,, the
user       user can
       the user     indicate the
                can indicate the same to the
                                 same to     poll worker
                                         the poll worker and/or
                                                         and / or 50       can be positioned in front of the user nearby, on, behind, or
                                                                  50 can be positioned in front of the user nearby, on, behind, or
indicate the
         the same
             same through engagement of
                                     of the assistive-
                                            assistive-                     in front of the TIPI . In some embodiments, the gaze tracking
                                                                           in front of the TIPI. In some embodiments, the gaze tracking
selection system 101 so as to discontinue polling using the
selection system 101 so as to discontinue polling using the                system 214 can capture images of the face of the user/voter.
                                                                           system 214 can capture images of the face of the user /voter.
current ballot and restart the process 30 with anew ballot.
current ballot and restart the process 30 with a new ballot .              In some embodiments, the gaze tracking system 214 can
                                                                 In some embodiments, the gaze tracking system 214 can
In some embodiments, in an instance in which the voter
In some embodiments, in an instance in which the voter                     comprise one or more cameras configured to capture the
                                                                 comprise one or more cameras configured to capture the
determines that the contest and/or candidate printed on the
determines that the contest and / or candidate printed on the 55           images of the user's face. In some embodiments, the gaze
                                                              55 images of the user's face. In some embodiments, the gaze
ballot does correspond with the contest and candidate
ballot does correspond with the contest and candidate                      tracking system 214 can comprise one or more processors
                                                                 tracking system 214 can comprise one or more processors
selected by the user, the user can engage the assistive-
selected by the user, the user can engage the assistive-                   (not shown) and/or can be in communication with the
                                                                           (not shown ) and / or can be in communication with the
selection system 101 or a component thereof to indicate
selection system 101 or a component thereof to indicate                    computing entity 202 for purposes of processing the images
                                                                           computing entity 202 for purposes of processing the images
another contest and/or candidate until the voting process is
another contest and /or candidate until the voting process is              and determining adirection of viewing by the user. In some
                                                                           and determining a direction of viewing by the user . In some
complete and the voter is satisfied that one or more of the
complete and the voter is satisfied that one or more of the 60             embodiments, the gaze tracking system 214 can comprise an
                                                            60 embodiments, the gaze tracking system 214 can comprise an
candidates for each contest has been properly selected as
candidates for each contest has been properly selected as                  application programming interface (API) that stores com-
                                                                           application programming interface (API) that stores com
desired by the voter, as illustrated by the arrow between box
desired by the voter, as illustrated by the arrow between box              puter instructions, code, software, an application, or the like
                                                                   puter instructions, code , software , an application, or the like
35 and box 33 in FIG. 4. In some embodiments, the process
35 and box 33 in FIG . 4. In some embodiments, the process                 that tracks the user's eyes. In some embodiments, the gaze
                                                                   that tracks the user's eyes. In some embodiments, the gaze
30 can further comprise, once the voter is satisfied that the
30 can further comprise, once the voter is satisfied that the              tracking system 214 can comprise an API that is configured
                                                                   tracking system 214 can comprise an API that is configured
printed ballot accurately reflects their desired selections for
printed ballot accurately reflects their desired selections for 65         to interpret or determine adirection of viewing by the user
                                                                65 to interpret or determine a direction of viewing by the user
each contest available to the voter, the voter or poll worker
each contest available to the voter, the voter or poll worker              and thereby control movement of amouse or other pointer
                                                                   and thereby control movement of a mouse or other pointer
removing the printed ballot from the assistive-selection
removing the printed ballot from the assistive - selection                 on the TIPI using movements and direction of viewing of the
                                                                   on the TIPI using movements and direction of viewing of the
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                                                                     B2
                               19
                               19                                                                            20
                                                                                                             20
user's eyes. Said otherwise, wherever the user looks, the
user's eyes . Said otherwise , wherever the user looks , the                in the one or more fields of the document, at 45. In some
                                                                            in the one or more fields of the document, at 45. In some
mouse will follow, such that the user can shift their gaze in
mouse will follow , such that the user can shift their gaze in              embodiments, the method 40 can, optionally, further com-
                                                                            embodiments, the method 40 can, optionally, further com
order
order to cause
          cause translational motion
                                 motion ofof the mouse
                                                  mouse across the
                                                                the         prise
                                                                            prise in
                                                                                  in an
                                                                                     an instance
                                                                                        instance inin which
                                                                                                      which itit is
                                                                                                                 is determined
                                                                                                                    determined that
                                                                                                                                that the
                                                                                                                                     the user
                                                                                                                                          user has
                                                                                                                                                has
display, TIPI, or the like.
display , TIPI , or the like .                                              reviewed the printed input, approving the input information
                                                           reviewed the printed input, approving the input information
   In some embodiments, one or more fields on adocument                     printed in the one or more fields of the document, at 46. In
  In some embodiments, one or more fields on a document 55 printed in the one or more fields of the document, at 46. In
held within or  or behind
                   behind thethe TIPI interface
                                       interface can be selected            some
                                                                            some embodiments,
                                                                                   embodiments, the  the method
                                                                                                         method 40   40 can,
                                                                                                                        can, optionally,
                                                                                                                             optionally, further
                                                                                                                                            further
using the gaze tracking system or another such gesture or
using the gaze tracking system or another such gesture or                   comprise in an instance in which it is determined that the
                                                                            comprise in an instance in which it is determined that the
touch by the user. For example, the user can touch the screen
touch by the user . For example, the user can touch the screen              user has not reviewed the printed input, causing areminder
                                                                            user has not reviewed the printed input, causing a reminder
to make their field or drop-down list selections. In some
to make their field or drop -down list selections . In some                 to be provided to the user.
                                                                            to be provided to the user .
embodiments, once the user makes their selection, the screen
embodiments , once the user makes their selection, the screen 1010             Provided herein are systems, methods, apparatuses, com-
                                                                               Provided herein are systems, methods, apparatuses, com
can fade and the selections are then printed on the physical
can fade and the selections are then printed on the physical                puter program products, and systems for transparent, inter-
                                                                            puter program products, and systems for transparent, inter
document beneath the TIPI. In some embodiments, adelin-
document beneath the TIPI . In some embodiments, a delin-                   active printing interfaces for ballot-processing. Certain
                                                                            active printing interfaces for ballot -processing. Certain
eation of aportion of the document can be made, such as by
eation of a portion of the document can be made, such as by                 embodiments utilize systems, methods, and computer pro-
                                                                            embodiments utilize systems , methods, and computer pro
placing an invisible rectangle or other suitable outline
placing an invisible rectangle or other suitable outline                    gram products that enable auser to select aballot decision
                                                                            gram products that enable a user to select a ballot decision
around the printed selections on the screen or TIPI. In some                for aparticular field on the transparent interactive printing
around the printed selections on the screen or TIPI . In some 15 for a particular field on the transparent interactive printing
                                                                       15
embodiments, when the user looks at the printed selections,
embodiments, when the user looks at the printed selections ,                interface, resulting in real-time printing on apaper ballot or
                                                                            interface , resulting in real- time printing on a paper ballot or
the gaze tracking system 214 can cause the mouse to follow
the gaze tracking system 214 can cause the mouse to follow                  the like positioned behind the transparent interactive print-
                                                                            the like positioned behind the transparent interactive print
the user's gaze over to the rectangle. In some embodiments,
the user's gaze over to the rectangle . In some embodiments ,               ing interface.
                                                                            ing interface .
the rectangle can be flagged or otherwise configured as an
the rectangle can be flagged or otherwise configured as an                     In accordance with some embodiments, a method is
                                                                              In accordance with some embodiments, a method is
active event listener for OnMouseOver. Said otherwise,                      provided. In one embodiment, the method can be a com-
active event listener for OnMouseOver. Said otherwise, 20 puter
when the mouse goes over the rectangle, it will call up a
when the mouse goes over the rectangle , it will call up a
                                                          provided  . In one embodiment, the method can be a com
                                                                       20
                                                                            puter-implemented method comprising receiving, in
                                                                - implemented method comprising receiving , in
function, which may be called aOnMouseOverFunction. In
function , which may be called a OnMouseOverFunction . In                   response to a gesture by auser, an indication related to a
                                                                            response to a gesture by a user, an indication related to a
some embodiments, the OnMouseOverFunction will make
some embodiments, the OnMouseOverFunction will make                         region of atransparent interactive display, the region of the
                                                                            region of a transparent interactive display, the region of the
the rectangle visible with amore overt border, e.g., aBlack
the rectangle visible with a more overt border, e.g. , a Black              transparent interactive display corresponding to aregion of
                                                                            transparent interactive display corresponding to a region of
border. In some embodiments, an OnMouseClick listener
border. In some embodiments, an OnMouseClick listener 25       25           a document viewable by the user through the transparent
                                                                            a document viewable by the user through the transparent
function can then be assigned to the more overt rectangle
function can then be assigned to the more overt rectangle                   interactive display. In some embodiments, the computer-
                                                                            interactive display. In some embodiments, the computer
now that it is now visible to the user. Then, the OnMou-
now that it is now visible to the user. Then , the OnMou-                   implemented method can further comprise determining,
                                                                            implemented method can further comprise determining,
seOverFunction can also show text below the rectangle
seOverFunction can also show text below the rectangle                       based at least upon the indication, one or more fields of the
                                                                            based at least upon the indication , one or more fields of the
instructing the user/voter to touch the screen or display to
instructing the user / voter to touch the screen or display to              document associated with the indication and input informa-
                                                                            document associated with the indication and input informa
indicate their    selection.. When the
           their selection                 user/voter
                                      the user / voter touches the
                                                                the    30
                                                                       30   tion
                                                                            tion associated
                                                                                 associated with
                                                                                             with the
                                                                                                    the one
                                                                                                        one or
                                                                                                             or more
                                                                                                                  more fields
                                                                                                                        fields of
                                                                                                                               of the
                                                                                                                                  the document.
                                                                                                                                        document.
rectangle that is over their selections, the OnMouseClick-
rectangle that is over their selections , the OnMouseClick-                 In some embodiments, the computer-implemented method
                                                                            In some embodiments , the computer - implemented method
Function is called up, which will cause the printing device
Function is called up , which will cause the printing device                can further comprise transmitting asignal indicative of the
                                                                            can further comprise transmitting a signal indicative of the
209 to print the selections. In some embodiments, adocu-
209 to print the selections . In some embodim its, a docu-                  one or more fields of the document and the input information
                                                                            one or more fields of the document and the input information
ment can be presented to the user in any number of portions,
ment can be presented to the user in any number of portions,                to aprinting device, the printing device configured to print
                                                                            to a printing device , the printing device configured to print
such as in third. In other words, afirst delineation, such as
such as in third . In other words, a first delineation , such as 35
                                                                 35         the input information in the one or more fields of the
                                                                            the input information in the one or more fields of the
an invisible triangle, can be placed about afirst third of the
an invisible triangle, can be placed about a first third of the             document. In some embodiments, the document can be one
                                                                            document. In some embodiments, the document can be one
document and the user can make their selections or enter                    of a
                                                                               a voting ballot,
                                                                                         ballot , a
                                                                                                  a survey,
                                                                                                    survey, an application,
                                                                                                                  application, a
                                                                                                                               a poll,
                                                                                                                                 poll , a
                                                                                                                                        a canvass,
                                                                                                                                          canvass ,
their information. Then, after the first or second third of the
their information . Then , after the first or second third of the           an assessment, adeclaration, awritten oath, aform, abill,
                                                                     an assessment, a declaration , a written oath , a form , a bill ,
document prints to the document, the screen can fade again,
document prints to the document, the screen can fade again ,                acheck, astatement, adeed, amanuscript, and acertificate.
                                                                     a check , a statement, a deed , a manuscript, and a certificate .
the rectangle can become invisible again for the second or
the rectangle can become invisible again for the second or 40               In some embodiments, the computer-implemented method
                                                                  40 In some embodiments, the computer - implemented method

third portion of the document, and the OnMouseOver lis-
third portion of the document, and the OnMouseOver lis-                     can further comprise causing the printing device to print the
                                                                            can further comprise causing the printing device to print the
tener is activated for the fields within the delineated portion
tener is activated for the fields within the delineated portion             input information in the one or more fields of the document.
                                                                            input information in the one or more fields of the document.
of the document. This process will repeat until the user, e.g.,
of the document. This process will repeat until the user, e.g. ,               In accordance with other embodiments, acomputer pro-
                                                                              In accordance with other embodiments, a computer pro
voter has printed the entire document, e.g., ballot.
voter has printed the entire document, e.g. , ballot .                      gram product is provided. The computer program product
                                                                 gram product is provided . The computer program product
   Referring now to FIG. 6, amethod 40 can be carried out,                  may comprise at least one computer-readable storage
   Referring now to FIG . 6 , a method 40 can be carried out, 45 may comprise at least one computer - readable storage
for instance using all or aportion of the system 200. The
for instance using all or a portion of the system 200. The                  medium having computer-readable program code portions
                                                                 medium having computer -readable program code portions
method 40 can comprise receiving, in response to one or
method 40 can comprise receiving, in response to one or                     stored therein, the computer-readable program code portions
                                                                            stored therein , the computer -readable program code portions
more gestures made by a user, one or more indications
more gestures made by a user, one or more indications                       comprising executable portions configured to carry out a
                                                                            comprising executable portions configured to carry out a
related to aregion of atransparent interactive display, the
related to a region of a transparent interactive display, the               process, such as acomputer-implemented method. In some
                                                                            process, such as a computer-implemented method . In some
region of the transparent interactive display corresponding
region of the transparent interactive display corresponding 50              embodiments, the computer program product can comprise
                                                            50 embodiments, the computer program product can comprise
to aregion of aphysical document disposed within or behind
to a region of a physical document disposed within or behind                a non-transitory computer storage medium comprising
                                                                            a non - transitory computer storage medium comprising
the transparent interactive display, at 41. In some embodi-
the transparent interactive display, at 41. In some embodi-                 instructions configured to cause one or more processors to at
                                                                            instructions configured to cause one or more processors to at
ments, the method 40 can further comprise determining,
ments, the method 40 can further comprise determining,                      least perform receiving, in response to agesture by auser,
                                                                            least perform receiving, in response to a gesture by a user,
based at least upon the indication, one or more fields of the
based at least upon the indication, one or more fields of the               an indication related to aregion of atransparent interactive
                                                                 an indication related to a region of a transparent interactive
document associated with the indication and input informa-
document associated with the indication and input informa- 55               display, the region of the transparent interactive display
                                                              55 display, the region of the transparent interactive display
tion associated with the one or more fields of the document,
tion associated with the one or more fields of the document,                corresponding to aregion of a document viewable by the
                                                                            corresponding to a region of a document viewable by the
at 42. In some embodiments, the method 40 can further
at 42. In some embodiments, the method 40 can further                       user through the transparent interactive display. In some
                                                                            user through the transparent interactive display. In some
comprise transmitting asignal indicative of the one or more
comprise transmitting a signal indicative of the one or more                embodiments, the computer program product can comprise
                                                                            embodiments, the computer program product can comprise
fields of the document and the input information to aprinting
fields of the document and the input information to a printing              a non-transitory computer storage medium comprising
                                                                            a non - transitory computer storage medium comprising
device, the printing device configured to print the input
device, the printing device configured to print the input 60                instructions configured to cause one or more processors to at
                                                          60 instructions configured to cause one or more processors to at
information in the one or more fields of the document, at 43.
information in the one or more fields of the document, at 43 .              least perform determining, based at least upon the indica-
                                                                            least perform determining, based at least upon the indica
In some embodiments, the method 40 can, optionally, further
In some embodiments, the method 40 can, optionally, further                 tion, one or more fields of the document associated with the
                                                                            tion , one or more fields of the document associated with the
comprise causing the printing device to print the input
comprise causing the printing device to print the input                     indication and input information associated with the one or
                                                                            indication and input information associated with the one or
information
information in in the
                  the one or more
                      one or        fields of
                              more fields     the document,
                                           of the  document, at
                                                             at 44.
                                                                44 .        more
                                                                            more fields
                                                                                   fields of
                                                                                           of the
                                                                                              the document.
                                                                                                    document. In    In some
                                                                                                                       some embodiments,
                                                                                                                             embodiments, the   the
In some embodiments, the method 40 can, optionally, further                 computer program product can comprise a non-transitory
In some embodiments, the method 40 can, optionally, further 65 computer program product can comprise a non - transitory
comprise determining, using a gaze tracking system,
comprise determining, using a gaze tracking system ,                        computer storage medium comprising instructions config-
                                                                            computer storage medium comprising instructions config
whether the user has reviewed the printed input information
whether the user has reviewed the printed input information                 ured to cause one or more processors to at least perform
                                                                            ured to cause one or more processors to at least perform
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                               21
                               21                                                                       22
                                                                                                        22
transmitting asignal indicative of the one or more fields of
transmitting a signal indicative of the one or more fields of             amanuscript, and a certificate. In some embodiments, the
                                                                          a manuscript, and a certificate. In some embodiments, the
the document and the input information to aprinting device,
the document and the input information to a printing device ,             apparatus can further comprise means for causing the print-
                                                                          apparatus can further comprise means for causing the print
the printing device configured to print the input information
the printing device configured to print the input information             ing device to print the input information in the one or more
                                                                          ing device to print the input information in the one or more
 in the one or more fields of the document. In some embodi-
in the one or more fields of the document. In some embodi-                fields of the document.
                                                                          fields of the document.
ments, the document is one of avoting ballot, asurvey, an 55
ments, the document is one of a voting ballot , a survey, an                 In accordance with still another embodiment, amethod
                                                                            In accordance with still another embodiment, a method
application, apoll, acanvass, an assessment, adeclaration,
application, a poll , a canvass, an assessment, a declaration ,           can be carried out that comprises: receiving, in response to
                                                                          can be carried out that comprises: receiving, in response to
awritten oath, aform, abill, acheck, astatement, adeed,
a written oath , a form , a bill , a check , a statement, a deed ,        one or more gestures made by auser, one or more indica-
                                                                          one or more gestures made by a user, one or more indica
amanuscript, and a certificate. In some embodiments, the
a manuscript, and a certificate . In some embodiments, the                tions related to aregion of atransparent interactive display,
                                                                          tions related to a region of a transparent interactive display,
computer program product can comprise a non - transitory
 computer program product can comprise a non-transitory                   the region of the transparent interactive display correspond
                                                                          the region of the transparent interactive display correspond-
 computer storage medium comprising instructions config- 10               ing to aregion of aphysical document disposed within or
computer storage medium comprising instructions config- 10 ing to a region of a physical document disposed within or
ured to cause one or more processors to at least perform
ured to cause one or more processors to at least perform                  behind the transparent interactive display; determining,
                                                              behind the transparent interactive display; determining,
causing the printing device to print the input information in
causing the printing device to print the input information in             based at least upon the indication, one or more fields of the
                                                              based at least upon the indication, one or more fields of the
the one
      one or more                    document..
              more fields of the document                                 document associated with the indication and input informa-
                                                                          document associated with the indication and input informa
     In accordance with yet other embodiments, an apparatus
  In accordance with yet other embodiments, an apparatus                  tion associated with the one or more fields of the document;
                                                                          tion associated with the one or more fields of the document;
comprising a transparent, interactive interface operably 15               and transmitting asignal indicative of the one or more fields
comprising a transparent, interactive interface operably 15 of
coupled to a printing device and configured to retain a
coupled to a printing device and configured to retain a
                                                            andthe
                                                                transmitting a signal indicative of the one or more fields
                                                                          of the document and the input information to a printing
                                                                    document and the input information to a printing
printing substrate within or behind the transparent, interac-
printing substrate within or behind the transparent, interac-             device, the printing device configured to print the input
                                                                          device , the printing device configured to print the input
tive interface is provided.
                    provided . In one embodiment,
                                        embodiment, the apparatus         information in the one or more fields of the document.
                                                                                                                              document. In
may be configured to carry out a computer-implemented
may be configured to carry out a computer-implemented                     some embodiments, the document is one of avoting ballot,
                                                            some embodiments, the document is one of a voting ballot ,
method. In some embodiments, the apparatus can be con- 20                 asurvey, an application, apoll, acanvass, an assessment, a
method . In some embodiments , the apparatus can be con- 20 a survey, an application , a poll , a canvass , an assessment, a
figured to carry out acomputer-implemented method com-
figured to carry out a computer- implemented method com-                  declaration, a written oath, a form, a bill, a check, a
                                                                          declaration , a written oath , a form , a bill , a check , a
prising receiving, in response to a gesture by a user, an
prising receiving , in response to a gesture by a user, an                statement, adeed, amanuscript, and acertificate. In some
                                                                          statement, a deed, a manuscript, and a certificate . In some
indication related to a region of a transparent interactive
indication related to a region of a transparent interactive               embodiments, the region of the physical document is view-
                                                                          embodiments, the region of the physical document is view
 display, the region of the transparent interactive display
display, the region of the transparent interactive display                able by the user through the transparent interactive display.
                                                           able by the user through the transparent interactive display.
corresponding to aregion of a document viewable by the 25                 In some embodiments, the method can further comprise:
corresponding to a region of a document viewable by the 25 In some embodiments, the method can further comprise:
user through the transparent interactive display. In some
user through the transparent interactive display. In some                 causing the printing device to print the input information in
                                                           causing the printing device to print the input information in
embodiments, the apparatus can be configured to carry out
embodiments, the apparatus can be configured to carry out                 the one or more fields of the document. In some embodi-
                                                                          the one or more fields of the document . In some embodi
acomputer-implemented method further comprising deter-
a computer - implemented method further comprising deter-                 ments, the method can further comprise: receiving, in
                                                                          ments, the method can further comprise : receiving , in
mining, based at least upon the indication, one or more fields
mining, based at least upon the indication , one or more fields           response to a second gesture made by the user, a second
                                                            response to a second gesture made by the user, a second
of the document associated with the indication and input 30               indication related to a second region of the transparent
of the document associated with the indication and input 30 indication related to a second region of the transparent
 information associated with the one or more fields of the                interactive display;
                                                                                       display ; determining,
                                                                                                 determining, based at least upon the
document. In some embodiments, the apparatus can be
document. In some embodiments, the apparatus can be                       second indication, one or more second fields of the docu-
                                                                          second indication , one or more second fields of the docu
configured to carry out a computer-implemented method
configured to carry out a computer- implemented method                    ment associated with the second indication and second input
                                                                          ment associated with the second indication and second input
 further comprising transmitting asignal indicative of the one
further comprising transmitting a signal indicative of the one            information associated with the one or more second fields of
                                                               information associated with the one or more second fields of
 or more fields of the document and the input information to 35           the document; and transmitting asecond signal indicative of
or more fields of the document and the input information to 35 the document; and transmitting a second signal indicative of
a
a printing device
             device,, the printing device configured to print the         the one or more second fields of the document and the
 input information in the one or more fields of the document.
input information in the one or more fields of the document.              second input information to the printing device, thereby
                                                                          second input information to the printing device, thereby
 In some embodiments, the document can be one of avoting
In some embodiments , the document can be one of a voting                 causing the printing device to print the second input infor-
                                                                          causing the printing device to print the second input infor
ballot, asurvey, an application, apoll, acanvass, an assess-
ballot , a survey, an application , a poll , a canvass , an assess-       mation in the one or more second fields of the document. In
                                                                          mation in the one or more second fields of the document . In
ment, adeclaration, awritten oath, aform, abill, acheck, a 40             some embodiments, the transparent interactive display com-
ment, a declaration, a written oath , a form , a bill , a check , a 40 some embodiments, the transparent interactive display com
 statement, adeed, amanuscript, and acertificate. In some
statement, a deed , a manuscript, and a certificate. In some              prises atouch-sensitive display. In some embodiments, the
                                                                          prises a touch - sensitive display. In some embodiments, the
embodiments, the apparatus can be further configured to
embodiments, the apparatus can be further configured to                   one or more gestures made by the user comprise atouch, a
                                                                          one or more gestures made by the user comprise a touch , a
carry out acomputer-implemented method further compris-
carry out a computer - implemented method further compris-                tap, aswipe, or atranslational motion by afinger of the user
                                                                         tap , a swipe , or a translational motion by a finger of the user
 ing causing the printing device to print the input information
ing causing the printing device to print the input information            on the touch-sensitive display. In some embodiments, the
                                                                         on the touch -sensitive display. In some embodiments , the
 in                                     document..
 in the one or more fields of the document                                method can further comprise: determining, using a gaze
                                                                      45 method can further comprise : determining, using a gaze
                                                                     45

     In accordance with still other embodiments, an apparatus
  In accordance with still other embodiments , an apparatus               tracking system, whether the user has reviewed the printed
                                                                          tracking system , whether the user has reviewed the printed
 can comprise means, such as at least one processor and at
can comprise means , such as at least one processor and at                input information in the one or more fields of the document;
                                                                          input information in the one or more fields of the document;
least
 least one   memory including
        one memory                   computer program
                        including computer      program code
                                                          code,, for
                                                                 for      in
                                                                          in an
                                                                              an instance
                                                                                 instance in
                                                                                           in which
                                                                                              which itit isis determined
                                                                                                              determined that
                                                                                                                          that the
                                                                                                                               the user
                                                                                                                                    user has
                                                                                                                                         has
 carrying out a computer-implemented method. In some
carrying out a computer- implemented method . In some                     reviewed the printed input, approving the input information
                                                                reviewed the printed input, approving the input information
embodiments, the apparatus can comprise means for receiv- 50              printed in the one or more fields of the document; and/or, in
embodiments, the apparatus can comprise means for receiv- 50 printed in the one or more fields of the document; and /or, in
 ing, in response to agesture by auser, an indication related
ing , in response to a gesture by a user, an indication related           an instance in which it is determined that the user has not
                                                                an instance in which it is determined that the user has not
to aregion of atransparent interactive display, the region of
to a region of a transparent interactive display, the region of           reviewed the printed input, causing areminder to be pro-
                                                                          reviewed the printed input, causing a reminder to be pro
the transparent interactive display corresponding to aregion
the transparent interactive display corresponding to a region             vided to the user. In some embodiments, the gaze tracking
                                                                          vided to the user . In some embodiments , the gaze tracking
of adocument viewable by the user through the transparent
of a document viewable by the user through the transparent                system comprises one or more cameras configured to cap-
                                                                          system comprises one or more cameras configured to cap
interactive display. In some embodiments, the apparatus can 55            ture images of the user's face, and one or more processors
interactive display . In some embodiments, the apparatus can 55 ture images of the user's face, and one or more processors
 further comprise means for determining, based at least upon
further comprise means for determining, based at least upon               configured to determine adirection of viewing based at least
                                                                configured to determine a direction of viewing based at least
the indication, one or more fields of the document associated
the indication, one or more fields of the document associated             upon the images of the user's face and determine if the
                                                                upon the images of the user's face and determine if the
with the indication and input information associated with the
with the indication and input information associated with the             direction of viewing corresponds to the one or more fields of
                                                                direction of viewing corresponds to the one or more fields of
one
 one or more
          more fields          document.. In
                fields of the document      In some embodiments,
                                                     embodiments ,        the
                                                                          the document.
                                                                               document.
the apparatus can further comprise means for transmitting a 60
the apparatus can further comprise means for transmitting a 60               According to yet another embodiment, an apparatus can
                                                                            According to yet another embodiment, an apparatus can
 signal indicative of the one or more fields of the document
signal indicative of the one or more fields of the document               be provided that comprises: at least one processor; and at
                                                                          be provided that comprises: at least one processor; and at
and the input information to aprinting device, the printing
and the input information to a printing device, the printing              least one non-transitory memory comprising program code,
                                                                          least one non -transitory memory comprising program code,
 device configured to print the input information in the one or
device configured to print the input information in the one or            wherein the at least one non-transitory memory and the
                                                                          wherein the at least one non -transitory memory and the
more fields of the document. In some embodiments, the
more fields of the document. In some embodiments, the                     program code are configured to, with the at least one
                                                                          program code are configured to , with the at least one
document can be one of a voting ballot, a survey, an 65
document can be one of a voting ballot , a survey , an 65                 processor, cause the apparatus to: receive, in response to a
                                                                          processor, cause the apparatus to : receive , in response to a
application, apoll, acanvass, an assessment, adeclaration,
application, a poll , a canvass , an assessment, a declaration ,          gesture by a user, an indication related to a region of a
                                                                          gesture by a user, an indication related to a region of a
aawritten
    written oath,
            oath , aaform,
                     form , aabill,
                              bill , aacheck,
                                       check , a
                                               a statement,
                                                 statement, aadeed,
                                                              deed ,      transparent
                                                                          transparent interactive
                                                                                       interactive display,
                                                                                                   display, thethe region
                                                                                                                   region of
                                                                                                                          of the
                                                                                                                             the transparent
                                                                                                                                 transparent
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                               23                                                                  24
                                                                                                   24
interactive
interactive display corresponding to   to aaregion
                                            region of
                                                    of aadocument
                                                         document     indicative
                                                                      indicative of
                                                                                  of the
                                                                                     the one
                                                                                         one or
                                                                                              or more
                                                                                                 more fields
                                                                                                       fields of
                                                                                                              of the
                                                                                                                 the document
                                                                                                                     document and
                                                                                                                               and the
                                                                                                                                   the
viewable by the user through the transparent interactive
viewable by the user through the transparent interactive              input information to aprinting device, the printing device
                                                                      input information to a printing device , the printing device
display; determine, based at least upon the indication, one or
display; determine, based at least upon the indication, one or        configured to print the input information in the one or more
                                                                      configured to print the input information in the one or more
more fields of the document associated with the indication
more fields of the document associated with the indication            fields of the document. In some embodiments, the non-
                                                                      fields of the document. In some embodiments, the non
and input information associated with the one or more fields
and input information associated with the one or more fields 55       transitory computer storage medium can further comprise
                                                                      transitory computer storage medium can further comprise
of the document; and transmit asignal indicative of the one
of the document; and transmit a signal indicative of the one          instructions configured to cause the one or more processors
                                                                      instructions configured to cause the one or more processors
or more fields of the document and the input information to
or more fields of the document and the input information to           to at least perform: causing the printing device to print the
                                                                      to at least perform : causing the printing device to print the
aprinting device, the printing device configured to print the
a printing device, the printing device configured to print the        input information in the one or more fields of the document.
                                                                      input information in the one or more fields of the document.
input information in the one or more fields of the document.
input information in the one or more fields of the document.          In some embodiments, the non-transitory computer storage
                                                                      In some embodiments, the non -transitory computer storage
In some embodiments, the document is one of: a voting
In some embodiments, the document is one of: a voting 10              medium can further comprise instructions configured to
                                                                      medium can further comprise instructions configured to
ballot, asurvey, an application, apoll, acanvass, an assess-
ballot , a survey, an application, a poll , a canvass, an assess-     cause the one or more processors to at least perform:
                                                                      cause the one or more processors to at least perform :
ment, adeclaration, awritten oath, aform, abill, acheck, a
ment, a declaration, a written oath , a form , a bill , a check , a   determine, using agaze tracking system, whether the user
                                                                      determine , using a gaze tracking system , whether the user
statement, a deed, a manuscript, or a certificate. In some
statement, a deed , a manuscript, or a certificate . In some          has reviewed the printed input information in the one or
                                                                      has reviewed the printed input information in the one or
embodiments, the region of the physical document is view-
embodiments, the region of the physical document is view-             more fields of the document; in an instance in which it is
                                                                      more fields of the document; in an instance in which it is
able by the user through the transparent interactive display.         determined that the user has reviewed the printed input,
able by the user through the transparent interactive display. 15 determined that the user has reviewed the printed input,
In some embodiments, the at least one non-transitory
In some embodiments, the at least one non - transitory                approve the input information printed in the one or more
                                                                   approve the input information printed in the one or more
memory and the program code are further configured to,
memory and the program code are further configured to ,               fields of the document; and, in an instance in which it is
                                                                   fields of the document; and , in an instance in which it is
with the at least one processor, cause the apparatus to: cause
with the at least one processor, cause the apparatus to : cause       determined that the user has not reviewed the printed input,
                                                                   determined that the user has not reviewed the printed input,
the printing device to print the input information in the one
the printing device to print the input information in the one         cause a reminder to be provided to the user. In some
                                                                   cause a reminder to be provided to the user. In some
or more fields of the document. In some embodiments, the
or more fields of the document. In some embodiments, the 20           embodiments, the document is one of: a voting ballot, a
                                                                20 embodiments, the document is one of: a voting ballot , a
at least one non-transitory memory and the program code are
at least one non - transitory memory and the program code are         survey, an application, apoll, a canvass, an assessment, a
                                                                   survey, an application, a poll , a canvass , an assessment, a
further configured to, with the at least one processor, cause
further configured to , with the at least one processor, cause        declaration, a written oath, a form, a bill, a check, a
                                                                   declaration , a written oath , a form , a bill , a check , a
the apparatus to: receive, in response to a second gesture
the apparatus to : receive, in response to a second gesture           statement, a deed, a manuscript, or a certificate. In some
                                                                   statement, a deed, a manuscript, or a certificate . In some
made by the user, a second indication related to a second
made by the user, a second indication related to a second             embodiments, the region of the physical document is view-
                                                                      embodiments, the region of the physical document is view
region of the transparent interactive display; determine,             able by the user through the transparent interactive display.
region of the transparent interactive display ; determine, 25 able by the user through the transparent interactive display.
based at least upon the second indication, one or more
based at least upon the second indication , one or more               In some embodiments, the non-transitory computer storage
                                                              In some embodiments , the non -transitory computer storage
second fields of the document associated with the second              medium can further comprise instructions configured to
indication and second input information associated with the
indication and second input information associated with the           cause the one or more processors to at least perform: cause
                                                                cause the one or more processors to at least perform : cause
one or more second fields of the document; and transmit a
one or more second fields of the document; and transmit a             the printing device to print the input information in the one
                                                                the printing device to print the input information in the one
second signal indicative of the one or more second fields of
second signal indicative of the one or more second fields of 30       or more fields of the document. In some embodiments, the
                                                             30 or more fields of the document. In some embodiments , the
the document and the second input information to the
the document and the second input information to the                  non-transitory computer storage medium can further com-
                                                                      non - transitory computer storage medium can further com
printing device, thereby causing the printing device to print
printing device, thereby causing the printing device to print         prise instructions configured to cause the one or more
                                                                      prise instructions configured to cause the one or more
the second input information in the one or more second
the second input information in the one or more second                processors to at least perform: receive, in response to a
                                                                      processors to at least perform : receive , in response to a
fields of the document. In some embodiments, the transpar-
fields of the document. In some embodiments, the transpar-            second gesture made by the user, asecond indication related
                                                                      second gesture made by the user, a second indication related
ent interactive display comprises atouch-sensitive display.           to a second region of the transparent interactive display;
ent interactive display comprises a touch - sensitive display. 35 to a second region of the transparent interactive display ;
In some embodiments, the one or more gestures made by the
In some embodiments, the one or more gestures made by the             determine, based at least upon the second indication, one or
                                                                  determine, based at least upon the second indication, one or
user comprise aa touch
                    touch,, aa tap
                               tap,, aa swipe
                                        swipe,, or aa translational   more second fields of the document associated with the
motion by afinger of the user on the touch-sensitive display.
motion by a finger of the user on the touch - sensitive display.      second indication and second input information associated
                                                                    second indication and second input information associated
In some embodiments, the at least one non-transitory
In some embodiments, the at least one non - transitory                with the one or more second fields of the document; and
                                                                    with the one or more second fields of the document; and
memory and the program code are further configured to,
memory and the program code are further configured to , 40            transmit asecond signal indicative of the one or more second
                                                                 40 transmit a second signal indicative of the one or more second

with the at least one processor, cause the apparatus to:
with the at least one processor, cause the apparatus to :             fields of the document and the second input information to
                                                                      fields of the document and the second input information to
determine, using agaze tracking system, whether the user
determine, using a gaze tracking system , whether the user            the printing device, thereby causing the printing device to
                                                                      the printing device, thereby causing the printing device to
has reviewed the printed input information in the one or
has reviewed the printed input information in the one or              print the second input information in the one or more second
                                                                      print the second input information in the one or more second
more fields of the document; in an instance in which it is
more fields of the document; in an instance in which it is            fields of the document. In some embodiments, the transpar-
                                                                      fields of the document. In some embodiments, the transpar
determined that the user has reviewed the printed input,
determined that the user has reviewed the printed input, 45           ent interactive display comprises atouch-sensitive display.
                                                             45 ent interactive display comprises a touch - sensitive display .

approving the input information printed in the one or more
approving the input information printed in the one or more            In some embodiments, the one or more gestures made by the
                                                                In some embodiments, the one or more gestures made by the
fields of the document; and, in an instance in which it is
fields of the document; and, in an instance in which it is            user comprise a touch, a tap, a swipe, or a translational
                                                                user comprise a touch , a tap , a swipe , or a translational
determined that the user has not reviewed the printed input,
determined that the user has not reviewed the printed input,          motion by afinger of the user on the touch-sensitive display.
                                                                motion by a finger of the user on the touch - sensitive display.
causing a reminder to be provided to the user. In some
causing     reminder to be provided to the user. In some              In some embodiments, the non-transitory computer storage
                                                                      In some embodiments, the non - transitory computer storage
embodiments, the gaze tracking system comprises one or
embodiments , the gaze tracking system comprises one or 50            medium can further comprise instructions configured to
                                                        50 medium can further comprise instructions configured to
more cameras configured to capture images of the user's
more cameras configured to capture images of the user's               cause the one or more processors to at least perform:
                                                           cause the one or more processors to at least perform :
face, and one or more processors configured to determine a
face, and one or more processors configured to determine a            determine, using agaze tracking system, whether the user
                                                                      determine, using a gaze tracking system , whether the user
direction of viewing based at least upon the images of the
direction of viewing based at least upon the images of the            has reviewed the printed input information in the one or
                                                                 has reviewed the printed input information in the one or
user's face and determine if the direction of viewing corre-
user's face and determine if the direction of viewing corre-          more fields of the document; in an instance in which it is
                                                                 more fields of the document; in an instance in which it is
sponds to the one or more fields of the document.
sponds to the one or more fields of the document.             55      determined that the user has reviewed the printed input,
                                                              55 determined that the user has reviewed the printed input ,
   According to still another embodiment, anon-transitory
   According to still another embodiment, a non - transitory          approving the input information printed in the one or more
                                                                 approving the input information printed in the one or more
computer storage medium can be provided that comprises
computer storage medium can be provided that comprises                fields of the document; and, in an instance in which it is
                                                                 fields of the document; and, in an instance in which it is
instructions configured to cause one or more processors to at
instructions configured to cause one or more processors to at         determined that the user has not reviewed the printed input,
                                                                 determined that the user has not reviewed the printed input,
least at least perform: receiving, in response to one or more
least at least perform : receiving, in response to one or more        causing a reminder to be provided to the user. In some
                                                                      causing a reminder to be provided to the user . In some
gestures made by auser, one or more indications related to
gestures made by a user, one or more indications related to 60        embodiments, the gaze tracking system comprises one or
                                                                 60 embodiments, the gaze tracking system comprises one or
aregion of atransparent interactive display, the region of the
a region of a transparent interactive display, the region of the      more cameras configured to capture images of the user's
                                                                    more cameras configured to capture images of the user's
transparent interactive display corresponding to aregion of
transparent interactive display corresponding to a region of          face, and one or more processors configured to determine a
                                                                    face , and one or more processors configured to determine a
a physical document disposed within or behind the trans-
a physical document disposed within or behind the trans-              direction of viewing based at least upon the images of the
                                                                      direction of viewing based at least upon the images of the
parent interactive display; determining, based at least upon
parent interactive display ; determining, based at least upon         user's face and determine if the direction of viewing corre-
                                                                      user's face and determine if the direction of viewing corre
the indication, one or more fields of the document associated
the indication , one or more fields of the document associated 65     sponds to the one or more fields of the document.
                                                               65 sponds to the one or more fields of the document.
with the indication and input information associated with the
with the indication and input information associated with the            Many modifications and other embodiments will come to
                                                                    Many modifications and other embodiments will come to
one
one or more
        more fields of      document;; and
                     of the document     and transmitting aasignal    mind
                                                                      mind toto one
                                                                                 one skilled
                                                                                       skilled in
                                                                                               in the
                                                                                                   the art
                                                                                                        art to
                                                                                                            to which
                                                                                                                which this
                                                                                                                       this disclosure
                                                                                                                            disclosure
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pertains having the
                the benefit of
                            of the
                               the teachings
                                   teachings presented
                                             presented in
                                                       in the
                                                          the             considered supplementary to that of this document; for
                                                                          considered supplementary to that of this document; for
foregoing descriptions and the associated drawings. There-
foregoing descriptions and the associated drawings . There-               irreconcilable inconsistencies, the usage in this document
                                                                          irreconcilable inconsistencies , the usage in this document
fore,
fore, itit is
           is to be
                 be understood that the
                                      the disclosure is not to
                                                             to be
                                                                be        controls.
                                                                          controls .
limited to the specific embodiments disclosed and that
limited to the specific embodiments disclosed and that                       In this document, the terms "a" or "an" are used, as is
                                                                             In this document, the terms “ a” or “ an ” are used , as is
modifications
modifications and other other embodiments are intended
                                                  intended to bebe   55   common
                                                                          common in   in patent
                                                                                         patent documents,
                                                                                                 documents , to  to include
                                                                                                                     include one
                                                                                                                              one oror more
                                                                                                                                        more than
                                                                                                                                                than
included within the scope of the appended claims. Although
included within the scope of the appended claims. Although                one, independent of any other instances or usages of "at least
                                                                          one , independent of any other instances or usages of “ at least
specific terms are employed herein, they are used in a
specific terms are employed herein , they are used in a                   one" or "one or more." In this document, the term "or" is
                                                                          one” or “ one or more .” In this document, the term “ or ” is
                                                                                                      ??


generic and descriptive sense only and not for purposes of
generic and descriptive sense only and not for purposes of                used to refer to a nonexclusive or, such that "A or B"
                                                                          used to refer to a nonexclusive or, such that " A or B ”
limitation..
limitation                                                                includes
                                                                          includes "Abut
                                                                                     “ A but not
                                                                                             not B,"
                                                                                                 B , ” "B
                                                                                                       “ B but
                                                                                                           but not
                                                                                                               not A,"
                                                                                                                    A , ” and
                                                                                                                          and "A
                                                                                                                              “ A and
                                                                                                                                  and B,"
                                                                                                                                        B , ” unless
   To provide an overall understanding, certain illustrative
  To provide an overall understanding, certain illustrative 10            otherwise indicated. In this document, the terms "including"
                                                            10 otherwise indicated . In this document, the terms “ including ”
embodiments have been described; however, it will be
embodiments have been described ; however, it will be                     and "in which" are used as the plain-English equivalents of
                                                               and “ in which ” are used as the plain - English equivalents of
understood by one of ordinary skill in the art that systems,
understood by one of ordinary skill in the art that systems,              the respective terms "comprising" and "wherein." Also, in
                                                                          the respective terms " comprising” and “ wherein . ” Also , in
apparatuses, and methods described herein can be adapted
apparatuses, and methods described herein can be adapted                  the following claims, the terms "including" and "compris-
                                                                          the following claims , the terms “ including ” and “ compris
and modified to provide systems, apparatuses, and methods
and modified to provide systems, apparatuses , and methods                ing" are open-ended, that is, a system, device, article, or
                                                                          ing ” are open -ended, that is , a system , device , article , or
for other suitable applications and that other additions and              process that includes elements in addition to those listed
for other suitable applications and that other additions and 1515 process that includes elements in addition to those listed
modifications
modifications can be   be made
                          made without departing from
                                                  from the
                                                         the scope        after
                                                                          after such
                                                                                such a a term
                                                                                         term in
                                                                                              in a
                                                                                                 a claim
                                                                                                   claim areare still
                                                                                                                still deemed
                                                                                                                      deemed to to fall
                                                                                                                                   fall within
                                                                                                                                        within the
                                                                                                                                                 the
of systems , apparatuses, and methods described herein .
of systems, apparatuses, and methods described herein.                    scope of that claim. Moreover, in the following claims, the
                                                                          scope of that claim . Moreover, in the following claims , the
   The embodiments described herein have been particularly
  The embodiments described herein have been particularly                 terms "first," "second," and "third," etc. are used merely as
                                                                          terms “ first,” “ second, ” and “ third,” etc. are used merely as
shown and described, but it will be understood that various
shown and described , but it will be understood that various              labels, and are not intended to impose numerical require-
                                                                          labels , and are not intended to impose numerical require
changes in form and details may be made. Unless otherwise
changes in form and details may be made . Unless otherwise 20             ments or any relative order of operations or organization on
                                                            20 ments or any relative order of operations or organization on
specified, the illustrated embodiments can be understood as
specified, the illustrated embodiments can be understood as               their objects.
                                                               their objects.
providing exemplary features of varying detail of certain
providing exemplary features of varying detail of certain                    The above description is intended to be illustrative, and
                                                                             The above description is intended to be illustrative , and
embodiments, and therefore, unless otherwise specified,
embodiments , and therefore , unless otherwise specified,                 not restrictive. For example, the above-described examples
                                                                          not restrictive. For example , the above -described examples
features, components, modules, and/or aspects of the illus-
features, components, modules, and / or aspects of the illus-             (or one or more aspects thereof) may be used in combination
                                                                          (or one or more aspects thereof) may be used in combination
trations can be otherwise combined, separated, inter-
trations can be otherwise combined , separated , inter- 25                with each other. Other embodiments may be used, such as by
                                                        25 with each other. Other embodiments may be used , such as by
changed, and/or rearranged without departing from the dis-
changed, and / or rearranged without departing from the dis-              one of ordinary skill in the art upon reviewing the above
                                                                          one of ordinary skill in the art upon reviewing the above
closed systems or methods. Additionally, the shapes and
closed systems or methods. Additionally, the shapes and                   description. The Abstract is provided to comply with 37
                                                                          description . The Abstract is provided to comply with 37
sizes of components are also exemplary and unless other-
sizes of components are also exemplary and unless other-                  C.F.R. §1.72(b), to allow the reader to quickly ascertain the
                                                                          C.F.R. § 1.72 ( b ), to allow the reader to quickly ascertain the
wise specified,
      specified, can be altered without affecting the scope of            nature of the technical disclosure and is submitted with the
the disclosed and exemplary systems, apparatuses, or meth-
the disclosed and exemplary systems, apparatuses, or meth- 30             understanding that it will not be used to interpret or limit the
                                                           30 understanding that it will not be used to interpret or limit the
ods of the present disclosure.
ods of the present disclosure .                                           scope or meaning of the claims.
                                                              scope or meaning of the claims .
   Conventional terms in the field of computer science,
   Conventional terms in the field of computer science ,                     In this Detailed Description, various features may have
                                                                     In this Detailed Description, various features may have
electrical engineering, and software engineering have been
electrical engineering, and software engineering have been                been grouped together to streamline the disclosure. This
                                                                  been grouped together to streamline the disclosure . This
used herein. The terms are known in the art and are provided
used herein . The terms are known in the art and are provided             should not be interpreted as intending that an unclaimed
                                                                  should not be interpreted as intending that an unclaimed
only as anon-limiting example for convenience purposes.
only as a non - limiting example for convenience purposes. 35             disclosed feature is essential to any claim. Rather, inventive
                                                               35 disclosed feature is essential to any claim . Rather, inventive

Accordingly, the interpretation of the corresponding terms in
Accordingly, the interpretation of the corresponding terms in             subject matter may lie in less than all features of aparticular
                                                                  subject matter may lie in less than all features of a particular
the claims, unless stated otherwise, is not limited to any
the claims , unless stated otherwise , is not limited to any              disclosed embodiment. Thus, the following claims are
                                                                  disclosed embodiment. Thus, the following claims are
particular definition. Thus, the terms used in the claims
particular definition . Thus, the terms used in the claims                hereby incorporated into the Detailed Description, with each
                                                                  hereby incorporated into the Detailed Description, with each
should be given their broadest reasonable interpretation.
should be given their broadest reasonable interpretation.                 claim standing on its own as aseparate embodiment, and it
                                                                  claim standing on its own as a separate embodiment, and it
   Although specific embodiments have been illustrated and
   Although specific embodiments have been illustrated and 40             is contemplated that such embodiments may be combined
                                                               40 is contemplated that such embodiments may be combined

described herein, it will be appreciated by those of ordinary
described herein , it will be appreciated by those of ordinary            with each other in various combinations or permutations.
                                                                  with each other in various combinations or permutations.
skill in the art that any arrangement that is adapted to
skill in the art that any arrangement that is adapted to                  The scope of the embodiments should be determined with
                                                                  The scope of the embodiments should be determined with
achieve the same purpose may be substituted for the specific
achieve the same purpose may be substituted for the specific              reference to the appended claims, along with the full scope
                                                                  reference to the appended claims , along with the full scope
embodiments shown. Many adaptations will be apparent to
embodiments shown . Many adaptations will be apparent to                  of equivalents to which such claims are entitled.
                                                                          of equivalents to which such claims are entitled .
those of ordinary skill in the art.    Accordingly,, this applica-
                                  art. Accordingly                   45      The invention claimed is:    is :
tion is intended to cover any adaptations or variations.
tion is intended to cover any adaptations or variations.                     1. A method comprising:
                                                                             1. A method comprising:
   The above detailed description includes references to the
  The above detailed description includes references to the                  causing presentation, in a first region of a transparent
                                                                             causing presentation , in a first region of a transparent
accompanying drawings, which form apart of the detailed
accompanying drawings, which form a part of the detailed                        interactive display associated with a first region of a
                                                                                interactive display associated with a first region of a
description. The drawings show, by way of illustration,
description . The drawings show , by way of illustration ,                      physical ballot disposed behind the transparent inter-
                                                                                physical ballot disposed behind the transparent inter
specific embodiments that may be practiced. These embodi-
specific embodiments that may be practiced . These embodi- 50
                                                           50                   active display and viewable through the transparent
                                                                                active display and viewable through the transparent
ments are also referred to herein as "examples." Such
ments are also referred to herein as “ examples . ” Such                        interactive display, of afirst set of candidate informa-
                                                                                interactive display, of a first set of candidate informa
examples may include elements in addition to those shown
examples may include elements in addition to those shown                        tion
                                                                                tion or
                                                                                      or measure
                                                                                         measure information
                                                                                                   information associated
                                                                                                                    associated with
                                                                                                                                 with a a first
                                                                                                                                          first race
                                                                                                                                                race
or described. However, the present inventors also contem-
or described . However, the present inventors also contem                       or
                                                                                or ballot
                                                                                   ballot measure;
                                                                                           measure ;
plate examples in which only those elements shown or
plate examples in which only those elements shown or                         determining, in response to one or more first user inter-
                                                                             determining, in response to one or more first user inter
described are provided. Moreover, the present inventors also
described are provided . Moreover, the present inventors also 55
                                                              55                actions with the transparent interactive display within
                                                                                actions with the transparent interactive display within
contemplate examples using any combination or permuta
contemplate examples using any combination or permuta-                          the first region of the transparent interactive display,
                                                                                the first region of the transparent interactive display,
tion of those elements shown or described (or one or more
tion of those elements shown or described ( or one or more                      one or more selections being selected by auser from
                                                                                one or more selections being selected by a user from
aspects thereof), either with respect to aparticular example
aspects thereof), either with respect to a particular example                   among the first set of candidate information or measure
                                                                                among the first set of candidate information or measure
(or one or more aspects thereof), or with respect to other
( or one or more aspects thereof), or with respect to other                     information;
                                                                                information ;
examples (or one or more aspects thereof) shown or
examples (or one or more aspects thereof) shown or 60                60      transmitting asignal indicative of the one or more selec-
                                                                             transmitting a signal indicative of the one or more selec
described herein
described     herein..                                                          tions and instructions for printing the one or more
                                                                                tions and instructions for printing the one or more
   All publications, patents, and patent documents referred
  All publications, patents, and patent documents referred                      selections within the first region of the physical ballot
                                                                                selections within the first region of the physical ballot
to in this document are incorporated by reference herein in
to in this document are incorporated by reference herein in                     to aprinting device, thereby causing the printing device
                                                                                to a printing device , thereby causing the printing device
their entirety, as though individually incorporated by refer
their entirety, as though individually incorporated by refer-                   to print, based at least on the signal, the one or more
                                                                                to print, based at least on the signal , the one or more
ence. In the event of inconsistent usages between this
ence . In the event of inconsistent usages between this 6565                    selections in the first region of the physical ballot;
                                                                                selections in the first region of the physical ballot ;
document and those documents so incorporated by refer-
document and those documents so incorporated by refer-                       once the printing device has printed the one or more
                                                                             once the printing device has printed the one or more
ence, the usage in the incorporated reference(s) should be
ence, the usage in the incorporated reference ( s) should be                    selections on the physical ballot in said first region of
                                                                                selections on the physical ballot in said first region of
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                                27
                                27                                                                       28
                                                                                                         28
     the physical ballot , causing presentation of a confirma-
      the physical ballot, causing presentation of aconfirma-               7. An apparatus comprising:
                                                                          7. An apparatus comprising:
      tion prompt in a second region of the transparent
     tion prompt in a second region of the transparent                    at least one processor; and
                                                                            at least one processor ; and
      interactive display; and
     interactive display ; and                                              at least one non - transitory memory comprising program
                                                                          at least one non-transitory memory comprising program
  in response to detecting one or more second user inter
   in response to detecting one or more second user inter-                   code, wherein the at least one non-transitory memory
                                                                               code , wherein the at least one non - transitory memory
      actions with a portion of the second region of the 5
     actions with a portion of the second region of the              5       and the program code are configured to, with the at
                                                                               and the program code are configured to , with the at
     transparent interactive display associated with a con
      transparent interactive display associated with a con-                 least one processor, cause the apparatus to:
                                                                               least one processor, cause the apparatus to :
      firmation that the one or more selections printed in the
     firmation that the one or more selections printed in the                cause presentation, in a first region of a transparent
                                                                               cause presentation , in a first region of a transparent
      first region of the physical ballot correctly reflects the
     first region of the physical ballot correctly reflects the                 interactive display associated with afirst region of a
      user's intended one or more selections from among the
                                                                                 interactive display associated with a first region of a
     user's intended one or more selections from among the                       physical ballot disposed behind the transparent inter
                                                                                physical ballot disposed behind the transparent inter-
      first set of
                of candidate
                   candidate information
                              information oror measure informa- 10              active display and viewable through the transparent
      tion associated with the first race or ballot measure,
     tion associated with the first race or ballot measure ,
                                                                     10          active display and viewable through the transparent
                                                                                interactive display, of afirst set of candidate infor-
                                                                                 interactive display, of a first set of candidate infor
      advancing the physical ballot along apath behind the
     advancing the physical ballot along a path behind the                      mation
                                                                                mation   or
                                                                                         or measure
                                                                                            measure information
                                                                                                      information associated
                                                                                                                      associated with
                                                                                                                                 with aa first
                                                                                                                                         first
      transparent interactive display such that a second
     transparent interactive display such that a second                         race
                                                                                race  or
                                                                                      or ballot
                                                                                         ballot  measure;
                                                                                                 measure   ;
      region of the physical ballot overlaps with or is aligned
     region of the physical ballot overlaps with or is aligned       15      determine, in response to one or more first user inter-
                                                                               determine, in response to one or more first user inter
      with the first region of the transparent interactive
     with the first region of the transparent interactive 15                    actions with the transparent interactive display
                                                                                 actions with the transparent interactive display
     display, and causing presentation of a second set of
      display, and causing presentation of a second set of
      candidate information or measure information associ-                      within the first region of the transparent interactive
                                                                                 within the first region of the transparent interactive
     candidate information or measure information associ                        display, one or more selections being selected by a
                                                                                 display, one or more selections being selected by a
      ated with aa second race or ballot measure in the   the first
                                                               first
     region of the transparent interactive display .
      region of the transparent interactive display.                            user from among the first set of candidate informa-
                                                                                 user from among the first set of candidate informa
   2. The method of claim 1, further comprising:
  2. The method of claim 1 , further comprising:                     20
                                                                     20         tion
                                                                                tion or
                                                                                      or measure
                                                                                         measure information;
                                                                                                    information;
   determining, in response to one or more third user inter-
  determining, in response to one or more third user inter-                  transmit a signal indicative of the one or more selec-
                                                                               transmit a signal indicative of the one or more selec
      actions with the transparent interactive display within
     actions with the transparent interactive display within                    tions and instructions for printing the one or more
                                                                                 tions and instructions for printing the one or more
      the first region of the transparent interactive display
     the first region of the transparent interactive display                    selections within the first region of the physical
                                                                                 selections within the first region of the physical
      during a time in which the second set of candidate
     during a time in which the second set of candidate                         ballot, thereby causing the printing device to print,
                                                                                 ballot , thereby causing the printing device to print,
      information or measure information is presented 25
     information or measure information is presented 25                         based at least on the signal, the one or more selec-
                                                                                 based at least on the signal , the one or more selec
      therein, one or more second selections being selected
     therein , one or more second selections being selected                     tions in the first region of the physical ballot;
                                                                                 tions in the first region of the physical ballot ;
      by the user from among the second set of candidate
     by the user from among the second set of candidate                      once the printing device has printed the one or more
                                                                               once the printing device has printed the one or more
      information
      information oror measure
                       measure information;      and
                                   information ; and                            selections on the physical ballot in said first region of
                                                                                 selections on the physical ballot in said first region of
   transmitting asecond signal indicative of the one or more
  transmitting a second signal indicative of the one or more                    the physical ballot, cause presentation of a confir-
                                                                                 the physical ballot , cause presentation of a confir
      selections and instructions for printing the one or more 30
     selections and instructions for printing the one or more 30                mation prompt in asecond region of the transparent
                                                                                 mation prompt in a second region of the transparent
      selections within the second region of the physical
     selections within the second region of the physical                        interactive display; and
                                                                                 interactive display; and
      ballot to the printing device, thereby causing the print-
     ballot to the printing device, thereby causing the print-               in response to detecting one or more second user
                                                                               in response to detecting one or more second user
      ing device to print, based at least on the second signal,
     ing device to print, based at least on the second signal,                  interactions with aportion of the second region of
                                                                                 interactions with a portion of the second region of
      the one or more selections in the second region of the
     the one or more selections in the second region of the                     the transparent interactive display associated with a
                                                                                 the transparent interactive display associated with a
      physical ballot.
     physical ballot .                                               35         confirmation that the one or more selections printed
                                                                                 confirmation that the one or more selections printed
   3. The method of claim 1, wherein the transparent inter-
  3. The method of claim 1 , wherein the transparent inter                      in the first region of the physical ballot correctly
                                                                                 in the first region of the physical ballot correctly
active display comprises atouch-sensitive display.
active display comprises a touch - sensitive display.                           reflects
                                                                                reflects the
                                                                                          the user's
                                                                                              user's intended
                                                                                                       intended oneone or
                                                                                                                        or more
                                                                                                                           more selections
                                                                                                                                  selections
   4.
   4. The
      The method
            method of   claim 11,, wherein
                     of claim      wherein the
                                            the one
                                                 one or more first
                                                     or more   first            from among the first set of candidate information or
                                                                                 from among the first set of candidate information or
user interactions with the transparent interactive display
user interactions with the transparent interactive display                      measure
                                                                                measure information
                                                                                           information associated
                                                                                                         associated with
                                                                                                                       with the
                                                                                                                            the first
                                                                                                                                first race
                                                                                                                                      race or
                                                                                                                                           or
comprise one or more of: a touch, a tap, a swipe, or a 40
comprise one or more of: a touch, a tap , a swipe , or a 40                     ballot measure, advance the physical ballot along a
                                                                                 ballot measure , advance the physical ballot along a
translational motion by afinger of the user in the first region
translational motion by a finger of the user in the first region                path behind the transparent interactive display such
                                                                                 path behind the transparent interactive display such
of the transparent interactive display.
of the transparent interactive display.                                         that asecond region of the physical ballot overlaps
                                                                                 that a second region of the physical ballot overlaps
   5. The method of claim 1, further comprising:
  5. The method of claim 1 , further comprising:                                with or is aligned with the first region of the trans-
                                                                                 with or is aligned with the first region of the trans
   determining, using a gaze tracking system, whether the
  determining, using a gaze tracking system , whether the                       parent interactive display, and cause presentation of
                                                                                 parent interactive display, and cause presentation of
      user has reviewed the one or more selections printed on 45
    user has reviewed the one or more selections printed on 45                  a
                                                                                a second
                                                                                   second set
                                                                                            set of
                                                                                                 of candidate
                                                                                                     candidate information
                                                                                                                  information oror measure
                                                                                                                                    measure
      the physical ballot in said first region of the physical
    the physical ballot in said first region of the physical                    information
                                                                                information associated
                                                                                               associated with
                                                                                                             with aa second
                                                                                                                      second race
                                                                                                                              race or
                                                                                                                                    or ballot
                                                                                                                                       ballot
      ballot;
    ballot;                                                                     measure in the first region of the transparent inter-
                                                                                 measure in the first region of the transparent inter
   in an
   in an instance
          instance in
                    in which  it is
                       which it      determined that
                                  is determined  that the user has
                                                      the user  has             active display.
                                                                                 active display.
      reviewed the one or more selections printed on the
     reviewed the one or more selections printed on the                   8. The apparatus of claim 7, wherein the at least one
                                                                        8. The apparatus of claim 7 , wherein the at least one
      physical ballot in said first region of the physical ballot, 50 non-transitory memory and the program code are further
     physical ballot in said first region of the physical ballot , 50 non -transitory memory and the program code are further
      approving the one or more selections printed on the
     approving the one or more selections printed on the                configured to, with the at least one processor, cause the
                                                                         configured to , with the at least one processor, cause the
      physical ballot in said first region of the physical ballot;
     physical ballot in said first region of the physical ballot ;      apparatus to:
                                                                         apparatus to :
      and
      and                                                                 determine, in response to one or more third user interac-
                                                                            determine, in response to one or more third user interac
   in an
   in an instance
          instance in
                    in which  it is
                       which it      determined that
                                  is determined  that the user has
                                                      the user  has          tions with the transparent interactive display within the
                                                                               tions with the transparent interactive display within the
      not reviewed the one or more selections printed on the 55
     not reviewed the one or more selections printed on the 55               first region of the transparent interactive display during
                                                                               first region of the transparent interactive display during
      physical ballot in said first region of the physical ballot,
     physical ballot in said first region of the physical ballot ,           a
                                                                             a time
                                                                               time in
                                                                                     in which
                                                                                        which the
                                                                                                the second
                                                                                                    second setset of
                                                                                                                  of candidate
                                                                                                                     candidate information
                                                                                                                                information
      causing areminder to be provided to the user to review
     causing a reminder to be provided to the user to review                 or measure information is presented therein, one or
                                                                               or measure information is presented therein , one or
      and approve said one or more selections printed on the
      and approve said one or more selections printed on the                 more second selections being selected by the user from
                                                                              more second selections being selected by the user from
      physical ballot in said first region of the physical ballot.
      physical ballot in said first region of the physical ballot .          among the second set of candidate information or
                                                                               among the second set of candidate information or
   6. The method of claim 5, wherein the gaze tracking 60
   6. The method of claim 5 , wherein the gaze tracking 60                   measure information; and
                                                                              measure information ; and
system comprises one or more cameras configured to cap-
system comprises one or more cameras configured to cap-                   transmit a second signal indicative of the one or more
                                                                            transmit a second signal indicative of the one or more
ture images of the user's face, and one or more processors
ture images of the user's face , and one or more processors                  selections and instructions for printing the one or more
                                                                               selections and instructions for printing the one or more
configured to determine adirection of viewing based at least
configured to determine a direction of viewing based at least                selections within the second region of the physical
                                                                               selections within the second region of the physical
upon the images of the user's face and determine if the
upon the images of the user's face and determine if the                      ballot to the printing device, thereby causing the print-
                                                                              ballot to the printing device, thereby causing the print
direction of viewing corresponds to the one or more selec- 65
direction of viewing corresponds to the one or more selec- 65                ing device to print, based at least on the second signal,
                                                                               ing device to print, based at least on the second signal ,
tions printed on the physical ballot in said first region of the
tions printed on the physical ballot in said first region of the             the one or more selections in the second region of the
                                                                               the one or more selections in the second region of the
physical ballot.
physical ballot .                                                            physical ballot.
                                                                              physical ballot .
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                                                                     B2
                               29
                               29                                                                      30
                                                                                                       30
   9. The apparatus of claim 7, wherein the transparent
  9. The apparatus of claim 7 , wherein the transparent                       first set of candidate information or measure informa-
                                                                              first set of candidate information or measure informa
interactive display comprises atouch-sensitive display.
interactive display comprises a touch -sensitive display .                    tion associated with the first race or ballot measure,
                                                                                                                                 measure ,
   10. The apparatus of claim 7, wherein the one or more first
   10. The apparatus of claim 7 , wherein the one or more first               advancing the physical ballot along apath behind the
                                                                             advancing the physical ballot along a path behind the
user interactions with the transparent interactive display
user interactions with the transparent interactive display                    transparent interactive display such that a second
                                                                             transparent interactive display such that a second
comprise one or more of: a touch, a tap, a swipe, or a 5
comprise one or more of: a touch, a tap , a swipe , or a 5                    region of the physical ballot overlaps with or is aligned
                                                                             region of the physical ballot overlaps with or is aligned
translational motion by afinger of the user in the first region
translational motion by a finger of the user in the first region              with the first region of the transparent interactive
                                                                             with the first region of the transparent interactive
of the transparent interactive display.
of the transparent interactive display.                                       display, and causing presentation of a second set of
                                                                             display, and causing presentation of a second set of
   11. The apparatus of claim 7, wherein the at least one
   11. The apparatus of claim 7 , wherein the at least one                    candidate information or measure information associ-
                                                                             candidate information or measure information associ
non-transitory memory and the program code are further
non - transitory memory and the program code are further                      ated
                                                                              ated with
                                                                                     with aa second
                                                                                             second race
                                                                                                      race or
                                                                                                            or ballot
                                                                                                               ballot measure
                                                                                                                      measure in
                                                                                                                               in the
                                                                                                                                  the first
                                                                                                                                       first
configured to, with the at least one processor, cause the 10
configured to , with the at least one processor, cause the 10                 region of the transparent interactive display.
                                                                              region of the transparent interactive display.
apparatus to to::                                                          14. The non-transitory computer storage medium of claim
                                                                           14. The non -transitory computer storage medium of claim
   determine, using agaze tracking system, whether the user
  determine, using a gaze tracking system , whether the user            13, further comprising instructions configured to cause the
                                                                        13 , further comprising instructions configured to cause the
      has reviewed the one or more selections printed on the
    has reviewed the one or more selections printed on the              one or more processors to at least perform:
                                                                        one or more processors to at least perform :
      physical ballot in said first region of the physical ballot;
    physical ballot in said first region of the physical ballot ;          determine, using agaze tracking system, whether the user
                                                                           determine, using a gaze tracking system , whether the user
   in an
      an instance
           instance in
                     in which
                        which it is
                                 is determined that the
                                                     the user has
                                                                has 15        has
                                                                              has reviewed
                                                                                   reviewed thethe one
                                                                                                   one or
                                                                                                        or more
                                                                                                           more selections
                                                                                                                 selections printed
                                                                                                                            printed on
                                                                                                                                    on the
                                                                                                                                        the
      reviewed the one or more selections printed on the
     reviewed the one or more selections printed on the                       physical ballot in said first region of the physical ballot;
                                                                             physical ballot in said first region of the physical ballot ;
      physical ballot in said first region of the physical ballot
                                                            ballot,,       in an instance in which it is determined that the user has
      approve the one or more selections printed on the
     approve the one or more selections printed on the                        reviewed the one or more selections printed on the
                                                                             reviewed the one or more selections printed on the
      physical ballot in said first region of the physical ballot;
     physical ballot in said first region of the physical ballot ;            physical ballot in said first region of the physical ballot,
                                                                             physical ballot in said first region of the physical ballot ,
      and
      and                                                            20       approve the one or more selections printed on the
                                                                              approve the one or more selections printed on the
   in an
      an instance
           instance in
                     in which
                        which it is
                                 is determined that the
                                                     the user has
                                                                has           physical ballot in said first region of the physical ballot;
                                                                             physical ballot in said first region of the physical ballot ;
      not reviewed the one or more selections printed on the
     not reviewed the one or more selections printed on the                   and
      physical ballot in said first region of the physical ballot
                                                            ballot,,       in an instance in which it is determined that the user has
      cause areminder to be provided to the user to review
      cause a reminder to be provided to the user to review                   not reviewed the one or more selections printed on the
                                                                             not reviewed the one or more selections printed on the
      and approve said one or more selections printed on the 25
      and approve said one or more selections printed on the 25               physical ballot in said first region of the physical ballot,
                                                                             physical ballot in said first region of the physical ballot ,
      physical ballot in said first region of the physical ballot.
      physical ballot in said first region of the physical ballot .           cause areminder to be provided to the user to review
                                                                             cause a reminder to be provided to the user to review
   12. The apparatus of claim 11, wherein the gaze tracking
   12. The apparatus of claim 11 , wherein the gaze tracking                  and approve said one or more selections printed on the
                                                                             and approve said one or more selections printed on the
system comprises one or more cameras configured to cap-
system comprises one or more cameras configured to cap                        physical ballot in said first region of the physical ballot.
                                                                             physical ballot in said first region of the physical ballot .
ture images of the user's face, and one or more processors
ture images of the user's face, and one or more processors                 15. The non-transitory computer storage medium of claim
                                                                           15. The non - transitory computer storage medium of claim
configured to determine adirection of viewing based at least 30 13, wherein the gaze tracking system comprises one or more
configured to determine a direction of viewing based at least 30 13 , wherein the gaze tracking system comprises one or more
upon the images of the user's face and determine if the
upon the images of the user's face and determine if the                 cameras configured to capture images of the user's face, and
                                                                 cameras configured to capture images of the user's face, and
direction of viewing corresponds to the one or more selec-
direction of viewing corresponds to the one or more selec-              one or more processors configured to determine adirection
                                                                        one or more processors configured to determine a direction
tions printed on the physical ballot in said first region of the
tions printed on the physical ballot in said first region of the        of viewing based at least upon the images of the user's face
                                                                        of viewing based at least upon the images of the user's face
physical ballot.
physical ballot .                                                       and determine if the direction of viewing corresponds to the
                                                                        and determine if the direction of viewing corresponds to the
   13. A non-transitory computer storage medium compris- 35 one or more selections printed on the physical ballot in said
   13. A non - transitory computer storage medium compris- 35 one or more selections printed on the physical ballot in said
ing instructions configured to cause one or more processors
ing instructions configured to cause one or more processors             first region of the physical ballot.
                                                                        first region of the physical ballot .
to at least perform:
to at least perform :                                                      16. The non-transitory computer storage medium of claim
                                                                 16. The non - transitory computer storage medium of claim
   causing presentation, in a first region of a transparent
  causing presentation, in a first region of a transparent              13, wherein the one or more first user interactions with the
                                                              13 , wherein the one or more first user interactions with the
      interactive display associated with a first region of a
    interactive display associated with a first region of a             transparent interactive display comprise one or more of: a
                                                              transparent interactive display comprise one or more of: a
      physical ballot disposed behind the transparent inter- 40 touch, atap, aswipe, or atranslational motion by afinger of
    physical ballot disposed behind the transparent inter- 40 touch , a tap , a swipe , or a translational motion by a finger of
      active display and viewable through the transparent
     active display and viewable through the transparent                the user in the first region of the transparent interactive
                                                                        the user in the first region of the transparent interactive
      interactive display, of afirst set of candidate informa-
     interactive display, of a first set of candidate informa-          display.
                                                                        display .
      tion or measure information associated with a    a first race        17. A voting system comprising:
                                                                                                    comprising:
      or ballot
      or  ballot measure
                  measure;;                                                atransparent interactive display;
                                                                           a transparent interactive display;
   determining, in response to one or more first user inter- 45
  determining, in response to one or more first user inter- 45             a printing device configured to retain a physical ballot
                                                                           a printing device configured to retain a physical ballot
      actions with the transparent interactive display within
    actions with the transparent interactive display within                   behind the transparent interactive display such that the
                                                                             behind the transparent interactive display such that the
      the first region of the transparent interactive display,
    the first region of the transparent interactive display,                  physical ballot is viewable through the transparent
                                                                             physical ballot is viewable through the transparent
      one or more selections being selected by auser from
    one or more selections being selected by a user from                      interactive display;
                                                                             interactive display;
      among the first set of candidate information or measure
    among the first set of candidate information or measure                at least one processor in operable communication with the
                                                                           at least one processor in operable communication with the
      information;
    information;                                                     50
                                                                     50       transparent interactive display and the printing device;
                                                                              transparent interactive display and the printing device ;
   transmitting asignal indicative of the one or more selec-
  transmitting a signal indicative of the one or more selec                   and
                                                                              and
      tions and instructions for printing the one or more
    tions and instructions for printing the one or more                    at least one non-transitory memory comprising program
                                                                           at least one non -transitory memory comprising program
      selections within the first region of the physical ballot
     selections within the first region of the physical ballot                code, wherein the at least one non-transitory memory
                                                                             code , wherein the at least one non - transitory memory
      to aprinting device, thereby causing the printing device
     to a printing device, thereby causing the printing device                and the program code are configured to, with the at
                                                                             and the program code are configured to , with the at
      to print, based at least on the signal, the one or more 55
     to print, based at least on the signal , the one or more 55              least one processor, the transparent interactive display,
                                                                             least one processor, the transparent interactive display,
      selections in the first region of the physical ballot;
     selections in the first region of the physical ballot ;                  and the printing device, cause the apparatus at least to:
                                                                             and the printing device , cause the apparatus at least to :
   once the printing device has printed the one or more
  once the printing device has printed the one or more                        cause presentation, in afirst region of the transparent
                                                                             cause presentation, in a first region of the transparent
      selections on the physical ballot in said first region of
    selections on the physical ballot in said first region of                    interactive display associated with afirst region of
                                                                               interactive display associated with a first region of
     the physical ballot , causing presentation of a confirma
      the physical ballot, causing presentation of aconfirma-                    the physical ballot disposed behind the transparent
                                                                                the physical ballot disposed behind the transparent
      tion prompt in a second region of the transparent 60
     tion prompt in a second region of the transparent 60                        interactive display and viewable through the trans-
                                                                                interactive display and viewable through the trans
      interactive display; and
     interactive display ; and                                                   parent interactive display, of afirst set of candidate
                                                                                parent interactive display, of a first set of candidate
   in response to detecting one or more second user inter-
  in response to detecting one or more second user inter                         information
                                                                                 information or or measure
                                                                                                   measure information
                                                                                                              information associated
                                                                                                                          associated with
                                                                                                                                      with
      actions with a portion of the second region of the
     actions with a portion of the second region of the                          a
                                                                                 a first
                                                                                    first race
                                                                                          race or
                                                                                               or ballot
                                                                                                  ballot measure;
                                                                                                          measure ;
      transparent interactive display associated with a con-
     transparent interactive display associated with a con-                   determine, in response to one or more first user inter-
                                                                              determine, in response to one or more first user inter
      firmation that the one or more selections printed in the 65
     firmation that the one or more selections printed in the 65                 actions with the transparent interactive display
                                                                                actions with the transparent interactive display
      first region of the physical ballot correctly reflects the
     first region of the physical ballot correctly reflects the                  within the first region of the transparent interactive
                                                                                within the first region of the transparent interactive
      user's intended one or more selections from among the
     user's intended one or more selections from among the                       display, one or more selections being selected by a
                                                                                display, one or more selections being selected by a
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                                                                  B2
                             31
                             31                                                                         32
                                                                                                        32
       user from among the first set of candidate informa-
       user from among the first set of candidate informa-                 19. The voting system of claim 17, wherein the one or
                                                                          19. The voting system of claim 17 , wherein the one or
       tion or measure information;
                       information ;                                    more first user interactions with the transparent interactive
                                                                        more first user interactions with the transparent interactive
     transmit a signal indicative of the one or more selec-
     transmit a signal indicative of the one or more selec-             display comprise one or more of: atouch, atap, aswipe, or
                                                                        display comprise one or more of: a touch , a tap , a swipe , or
       tions and instructions
                  instructions for printing the one or more
                                                       more             a translational motion by a finger of the user in the first
                                                                        a translational motion by a finger of the user in the first
                                                                        region of the transparent interactive display.
       selections within the first region of the physical 5 region of the transparent interactive display.
       selections within the first region of the physical          5

                                                                           20. The voting system of claim 17, wherein the at least
       ballot;
       ballot ;                                                           20. The voting system of claim 17 , wherein the at least
     print, using said printing device, based at least on said          one non-transitory memory and the program code are further
                                                                        one non - transitory memory and the program code are further
     print, using said printing device , based at least on said         configured to, with the at least one processor, cause the
        signal, the one or more selections within the first
        signal , the one or more selections within the first            configured to , with the at least one processor, cause the
                                                                        apparatus to:
                                                                                   to :
       region of the physical ballot;
       region of the physical ballot;
                                                                   10      determine, using agaze tracking system, whether the user
                                                                          determine , using a gaze tracking system , whether the user
     once the
          the printing
              printing device has
                               has printed the one or more more               has reviewed the one or more selections printed on the
       selections
       selections on
                  on the
                     the physical
                         physical ballot
                                  ballot in said first region
                                                       region of
                                                              of            has reviewed the one or more selections printed on the
                                                                              physical ballot in said first region of the physical ballot;
                                                                            physical ballot in said first region of the physical ballot ;
        the physical ballot, cause presentation of a confir-
       the physical ballot , cause presentation of a confir                in
                                                                           in an
                                                                              an instance
                                                                                 instance in
                                                                                           in which
                                                                                              which itit is
                                                                                                         is determined
                                                                                                            determined that
                                                                                                                        that the
                                                                                                                             the user
                                                                                                                                 user has
                                                                                                                                      has
        mation prompt in asecond region of the transparent
       mation prompt in a second region of the transparent                    reviewed the one or more selections printed on the
                                                                             reviewed the one or more selections printed on the
         interactive display; and
       interactive display ; and                                              physical ballot in said first region of the physical ballot,
                                                                             physical ballot in said first region of the physical ballot ,
      in response to detecting one or more second user 15
     in response to detecting one or more second user                         approve the one or more selections printed on the
                                                                             approve the one or more selections printed on the
         interactions with aportion of the second region of
       interactions with a portion of the second region of                    physical ballot in said first region of the physical ballot;
                                                                             physical ballot in said first region of the physical ballot ;
        the transparent interactive display associated with a
       the transparent interactive display associated with a
        confirmation that the one or more selections printed                  and
       confirmation that the one or more selections printed                in
                                                                           in an
                                                                              an instance
                                                                                 instance in
                                                                                           in which
                                                                                              which itit is
                                                                                                         is determined
                                                                                                            determined that
                                                                                                                        that the
                                                                                                                             the user
                                                                                                                                 user has
                                                                                                                                      has
         in the first region of the physical ballot correctly
       in the first region of the physical ballot correctly                   not reviewed the one or more selections printed on the
                                                                             not reviewed the one or more selections printed on the
        reflects the
        reflects  the user's
                      user's intended
                             intended one  or more
                                       one or        selections 20
                                              more selections
                                                                              physical ballot in said first region of the physical ballot,
                                                                             physical ballot in said first region of the physical ballot ,
         from among the first set of candidate information or
       from among the first set of candidate information or                   cause areminder to be provided to the user to review
                                                                             cause a reminder to be provided to the user to review
        measure information
                   information associated with
                                          with the first
                                                   first race
                                                         race or
                                                              or
                                                                              and approve said one or more selections printed on the
                                                                             and approve said one or more selections printed on the
        ballot measure, advance the physical ballot along a
       ballot measure , advance the physical ballot along a                   physical ballot in said first region of the physical ballot.
                                                                             physical ballot in said first region of the physical ballot .
        path behind the transparent interactive display such
       path behind the transparent interactive display such                21. The voting system of claim 20, wherein the gaze
                                                                          21. The voting system of claim 20 , wherein the gaze
        that asecond region of the physical ballot overlaps 25
       that a second region of the physical ballot overlaps             tracking system comprises one or more cameras configured
                                                                        tracking system comprises one or more cameras configured
        with or is aligned with the first region of the trans-
       with or is aligned with the first region of the trans            to capture images of the user's face, and one or more
                                                                        to capture images of the user's face , and one or more
        parent interactive display, and cause presentation of
       parent interactive display, and cause presentation of            processors configured to determine a direction of viewing
                                                                        processors configured to determine a direction of viewing
        aa second set of candidate information or measure               based at least upon the images of the user's face and
         information
         information associated
                      associated with
                                  with aasecond
                                         second race oror ballot
                                                          ballot        based at least upon the images of the user's face and
                                                                        determine if the direction of viewing corresponds to the one
       measure in the first region of the transparent inter- 30 determine
        measure in the first region of the transparent inter-
         active display.
                                                                 30
                                                                          if the direction of viewing corresponds to the one
                                                                        or more selections printed on the physical ballot in said first
                                                                or more selections printed on the physical ballot in said first
       active display.                                                  region of the physical ballot.
                                                                        region of the physical ballot .
   18. The voting system of claim 17, wherein the transpar-
  18. The voting system of claim 17 , wherein the transpar
ent interactive display comprises atouch-sensitive display.
ent interactive display comprises a touch - sensitive display.                                  *   *     *   *
